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            UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

KELVIN GRADDY, an individual,           )
KAVELLE FIELDS, an individual, 4K       )
COIN, LLC, a Georgia limited liability  )
company, KVG INVESTMENTS LLC, a         ) CIVIL ACTION FILE NO.:
Utah limited liability company, and THE )
KD9 GROUP, LLC, a Georgia limited       ) ________________________
liability company,                      )
                                        )
       Plaintiffs,                      ) JURY TRIAL DEMANDED
                                        )
v.                                      )
                                        )
CARNEGIE ACADEMY, LLC, d/b/a            )
PROSOURCE TAX LIENS a/d/b/a TAX         )
LIEN TOUR, a Utah limited liability     )
company, SPROUT CF FUND, INC., a        )
Utah corporation, SPROUT IRA, LLC, a    )
Utah limited liability company, SPROUT  )
FINANCIAL, LLC, d/b/a SPROUT            )
ADVISORS a/d/b/a SPROUT ADVISERS, )
a/d/b/a SPROUT IRA, a Utah limited      )
liability company, SPROUT               )
INVESTMENT PARTNERS, LLC, a Utah )
limited liability company, SPROUT       )
RESIDENTIAL FUND, LLC, a Utah           )
limited liability company, SEED         )
CONSULTING, LLC d/b/a SEED              )
CAPITAL CORP., a Nevada limited         )
liability company, JOSHUA CARR,         )
individually and in his capacity as an  )
owner/member/executive/alter ego of REI )
HOLDINGS, LLC, EDWARD STEWART, )
individually and in his capacity as an  )
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owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, and REI HOLDINGS,                )
LLC, a Utah limited liability company,          )
SLICKROCK, LLC, a Nevada limited                )
liability company, SILVERSTRAND, LLC,           )
d/b/a SAVILE CUSTOM CLOTHIERS,                  )
a/d/b/a SAVILE ROW, a/d/b/a SAVILE              )
TAILORS, a Utah limited liability               )
company, TONYA NEFF, individually and           )
in her capacity as an                           )
owner/member/executive/alter ego of NEFF        )
COMPANIES, INC., a Utah corporation,            )
ZULU MARKETING d/b/a TAX LIEN                   )
BUYERS CLUB a/d/b/a TAX LIEN                    )
VAULT a/d/b/a MELTDOWN                          )
MILLIONAIRE a/d/b/a TAX LIEN                    )
OFFICE, a Utah limited liability company,       )
SUPERSTAR LLC, d/b/a SUPERSTAR                  )
INC., a/d/b/a SUPERSTAR LLC, a Utah             )
limited liability company, MAN MADE             )
LLC, d/b/a NINES CLOTHING a/d/b/a               )
CANVAS CLOTHING a/d/b/a CANVAS                  )
CLOTHIERS, a Utah limited liability             )
company, and KEYSTONE                           )
INVESTMENT GROUP, LLC, a Georgia                )
limited liability company,                      )
                                                )
       Defendants.                              )
                                                )

                          VERIFIED COMPLAINT

      COMES NOW, Kelvin Graddy, Kavelle Fields, 4K Coin, LLC, KVG

Investments LLC, and The KD9 Group LLC, (collectively the “Plaintiffs”) by and

through its undersigned counsel, bring this Verified Complaint against defendants


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Carnegie Academy LLC d/b/a ProSource Tax Liens, a/d/b/a, Tax Lien Tour, Sprout

CF Fund Inc., Sprout IRA, LLC, Sprout Financial, LLC, d/b/a Sprout Advisors,

a/d/b/a Sprout Advisers, a/d/b/a Sprout IRA, Sprout Investment Partners, LLC,

Sprout Residential Fund, LLC, Seed Consulting LLC, d/b/a Seed Capital Corp., REI

Holdings, LLC, d/b/a REI Holdings, f/k/a Neff Companies, LLC, Neff Companies

Inc., Slickrock LLC, Silverstand, LLC, d/b/a Savile Custom Clothiers, a/d/b/a Savile

Row, a/d/b/a Savile Tailors, Zulu Marketing, LLC, d/b/a Tax Lien Buyers Club,

a/d/b/a Tax Lien Vault, a/d/b/a Meltdown Millionaire, a/d/b/a Tax Lien Office,

Superstar LLC d/b/a Superstar Inc., a/d/b/a Superstar LLC, Man Made LLC, d/b/a

Nines Clothing, a/d/b/a Canvas Clothing, a/d/b/a Canvas Clothiers, Keystone

Investment Group, LLC, Joshua Carr, Edward Stewart, and Tonya Neff, alleges,

upon personal knowledge as to its own actions, and upon information and belief as

to all other matters, complain and allege as follows:

                                     PARTIES

      1.     Plaintiff Kelvin Graddy (hereinafter referred to as “Mr. Graddy”), is

an adult resident of the State of Georgia and is domiciled in Gwinnett County,

Georgia, within this District.




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      2.     Plaintiff Kavelle Fields (hereinafter referred to as “Ms. Fields”), is an

adult resident of the State of Georgia and is domiciled in Gwinnett County, Georgia,

within this District.

      3.     Plaintiff 4K Coin, LLC, (hereinafter referred to as “4K”), is a limited

liability company formed under the laws of the State of Georgia.

      4.     Plaintiff KVG Investments LLC, (hereinafter referred to as “KVG”) is

a limited liability company formed under the laws of the State of Utah.

      5.     Plaintiff The KD9 Group LLC, (hereinafter referred to as “KD9”) is a

limited liability company formed under the laws of the State of Georgia.

      6.     Defendant Carnegie Academy, LLC d/b/a ProSource Tax Liens, d/b/a

Tax Lien Tour (hereinafter referred to as “ProSource”), is a Utah limited liability

company that was administratively dissolved and whose principal office address is

881 West Traverse Parkway, Suite E 245, Lehi, Utah 84043. ProSource may be

served through its registered agent in the State of Utah, NCS Partners, LLC, at 1881

West Traverse Parkway, Suite E 245, Lehi, Utah 84043. ProSource, at all times

material hereto, transacted substantial and continuous business in the State of

Georgia.

      7.     Defendant Sprout CF Fund, Inc. (hereinafter referred to as “CF Fund”),

is a Utah for-profit corporation whose principal office address is 2912 West


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Executive Parkway, Suite 120, Lehi, Utah 84043. CF Fund may be served through

its registered agent in the State of Utah, Shumway Van LLC, at 8 East Broadway

Street #550, Salt Lake City, Utah 84111. CF Fund, at all times material hereto,

transacted substantial and continuous business in the State of Georgia.

      8.    Defendant Sprout IRA, LLC (hereinafter referred to as “Sprout IRA”),

is a Utah limited liability company whose principal office address is 2912 Executive

Parkway, Suite 120, Lehi, Utah 84043. Sprout IRA may be served through its

registered agent in the State of Utah, Sprout RA Services, LLC, at 2912 Executive

Parkway, Suite 120, Lehi, Utah 84043. Sprout IRA, at all times material hereto,

transacted substantial and continuous business in the State of Georgia.

      9.    Defendant Sprout Financial, LLC, d/b/a Sprout Advisors, d/b/a Sprout

Advisers, d/b/a Sprout IRA (hereinafter “Sprout Financial”), is a Utah limited

liability company whose principal office address is 2912 Executive Parkway, Suite

120, Lehi, Utah 84043. Sprout Financial may be served through its registered agent

in the State of Utah, Sprout RA Services, LLC, at 2912 Executive Parkway, Suite

120, Lehi, Utah 84043. Sprout Financial, at all times material hereto, transacted

substantial and continuous business in the State of Georgia.

      10.   Defendant Sprout Investment Partners, LLC, (hereinafter “Sprout

Investment Partners”) is a Utah limited liability company whose principal office


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address is 2912 Executive Parkway, Suite 120, Lehi, Utah 84043. Sprout Financial

may be served through its registered agent in the State of Utah, Shumway Van LLC,

at 8 East Broadway Street #550, Salt Lake City, Utah 84111. Sprout Investment

Partners at all times material hereto, transacted substantial and continuous business

in the State of Georgia.

      11.    Defendant Sprout Residential Fund, LLC (hereinafter “Sprout

Residential”) is a Utah limited liability company whose principal office address is

2912 Executive Parkway, Suite 120, Lehi, Utah 84043. Sprout Financial may be

served through its registered agent in the State of Utah, Shumway Van LLC, at 8

East Broadway Street #550, Salt Lake City, Utah 84111. Sprout Residential at all

times material hereto, transacted substantial and continuous business in the State of

Georgia.

      12.    Defendant Seed Consulting LLC d/b/a Seed Capital Corp., (hereinafter

referred to as “Seed Capital”), is a Nevada limited liability company whose

principal office address is 1707 Village Center Circle, Suite 200-250, Las Vegas,

Nevada 89134. Seed Capital may be served through its registered agent in the State

of Nevada, Marquis Aurbach Coffing, at 10001 Park Run Drive, Las Vegas, Nevada

89145. Seed Capital, at all times material hereto, transacted substantial and

continuous business in the State of Georgia.


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      13.    Defendant REI Holdings, LLC d/b/a REI Holdings, f/k/a Neff

Companies, LLC, (hereinafter “REI”), is a Utah limited liability company whose

principal address is 2912 Executive Parkway, Suite 120, Lehi, Utah 84043. REI may

be served through its registered agent in the State of Utah, Sprout RA Services, LLC,

at 2912 Executive Parkway, Suite 120, Lehi, Utah 84043. REI, at all times material

hereto, transacted substantial and continuous business in the State of Georgia.

      14.    Defendant Neff Companies Inc., (hereinafter “Neff Inc.”) is a Utah for-

profit corporation whose principal office address is 3291 Millville Street, South

Jordan, Utah 84095. Neff Inc. may be served through its registered agent in the State

of Utah, Sprout RA Services, LLC, at 2912 West Executive Parkway, Suite 120,

Lehi, Utah 84043. Neff Inc. at all times material hereto, transacted substantial and

continuous business in the State of Georgia.

      15.    Defendant Joshua Carr is an executive/founder/owner/member for

Defendants REI Holdings, LLC, Sprout Residential Fund LLC, Carnegie Academy

LLC, and Zulu Marketing, LLC. He may be served with a summons and a copy of

the Complaint at 1155 W Park Meadows Drive, Mapleton, Utah 84664, or at his

place of business located at 2912 Executive Parkway, Suite 120, Lehi, Utah 84043.

      16.    Defendant Edward Stewart is an executive/founder/owner/member for

Defendants Carnegie Academy, LLC, REI Holdings, LLC, Sprout Residential Fund,


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LLC, Sprout Investment Partners, LLC, and Zulu Marketing. He may be served with

a summons and copy of the Complaint at 2349 Commerce Street, Alpharetta,

Georgia 30009, or at his place of business located at 2912 Executive Parkway, Suite

120, Lehi, Utah 84043.

      17.   Defendant Tonya Neff is an executive/founder/owner/member for

Sprout Investment Partners, LLC, Sprout Residential Fund, LLC, Sprout CF Fund,

LLC. She may be served with a summons and copy of the Complaint at 3291 W

Millville Street, South Jordan, Utah 84095, or at her place of business located at

2912 Executive Parkway, Suite 120, Lehi, Utah 84043.

      18.   Defendant Slickrock LLC (hereinafter “Slickrock”) is a Nevada

limited liability company that was administratively dissolved and whose principal

address is 2831 St. Rose Parkway, Suite 200, Henderson, Nevada 89052. Slickrock

may be served through its registered agent in the State of Nevada, Registered Agents

Inc., at 401 Ryland Street, Suite 200-A, Reno, Nevada 89502. Slickrock, at all times

material hereto, transacted substantial and continuous business in the State of

Georgia.

      19.   Defendant Silverstrand, LLC d/b/a Savile Custom Clothiers, d/b/a

Savile Row, and d/b/a Savile Tailors (hereinafter “Silverstrand”), is a Utah limited

liability company whose principal address is 1180 South 400 East Salt Lake City,


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Utah 84111. Silverstrand may be served through its registered agent in the State of

Utah, Edward Stewart, at 1180 South 400 East, Salt Lake City, Utah 84111.

Silverstrand, at all times material hereto, transacted substantial and continuous

business in the State of Georgia.

      20.    Defendant Zulu Marketing, LLC d/b/a Tax Lien Buyers Club, d/b/a Tax

Lien Vault, d/b/a Meltdown Millionaire, and d/b/a Tax Lien Office (hereinafter

“Zulu”), is a Utah limited liability company whose principal address is 654 North

800 East, Suite 322, Spanish Fork, Utah 84660. Zulu may be served through its

registered agent in the State of Utah, Silverstrand, LLC, at 1180 South 400 East, Salt

Lake City, Utah 84111. Zulu, at all times material hereto, transacted substantial and

continuous business in the State of Georgia.

      21.    Defendant Superstar LLC d/b/a Superstar Inc., d/b/a Superstar LLC

d/b/a (hereinafter “Superstar”), is a Utah limited liability company whose principal

address is 1155 W Park Meadows Drive, Mapleton, Utah 84664. Superstar may be

served through its registered agent in the State of Utah, Josh Carr, at 1155 Park

Meadows Drive, Mapleton, Utah 84664. Superstar, at all times material hereto,

transacted substantial and continuous business in the State of Georgia.

      22.    Defendant Man Made LLC d/b/a Nines Clothing, d/b/a Canvas

Clothing d/b/a Canvas Clothiers (hereinafter “Man Made”), is a Utah limited


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liability company that was administratively dissolved and whose principal office

address is 1180 S 400 E Salt Lake City, Utah 84111. Man Made may be served

through its registered agent in the State of Utah, Silverstrand, LLC, at 1180 S 400 E

Salt Lake City, Utah 84111. Man Made, at all times material hereto, transacted

substantial and continuous business in the State of Georgia.

      23.    Defendant Keystone Investment Group, LLC (hereinafter “Keystone”)

is a domestic limited liability company registered under and subject to the laws of

the state of Georgia. Defendant Keystone has its principal office and otherwise

conducts business in Fulton County, Georgia. Defendant Keystone can be served

with process through its Registered Agent, Edward Stewart, at 2349 Commerce

Street, Alpharetta, Georgia 30009.

      24.    At all times alleged herein, the above-named Defendants include and

included any and all parent companies, subsidiaries, affiliates, divisions, franchises,

partners, joint venturers, and organizational units of any kind, their predecessors,

successors, and assigns and their officers, directors, employees, agents,

representatives, and any and all other persons acting on their behalf.

      25.    All at times herein mentioned, each of the above-mentioned Defendants

were the agents, servants, partners, predecessors in interest, and joint venturers of




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each other, and were at all times operating and acting with the purpose and scope of

said agency, service, employment, partnership, joint enterprise, and/or joint venture.

                                    JURISDICTION

       26.      This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1964

and 28 U.S.C. § 1331, as the claims asserted herein arise, inter alia, under and

pursuant to 18 U.S.C. 1961, et seq; and 28 U.S.C. § 1367, which provides

jurisdiction for Plaintiffs’ supplemental state law claims.

       27.      This action also contains counts originating in the common law of the

State of Georgia concerning fraud and from the Defendants’ violations of the

Georgia Fair Business Practices Act (hereinafter “GFBPA”) O.C.G.A. § 10-1-390 et

seq.

       28.      Personal jurisdiction comports with due process under the United States

Constitution, the long-arm statute of Georgia, O.C.G.A. § 9-10-91, and the

provisions of 18 U.S.C. § 1965(b) and (d).

       29.      Without limiting the generality of the foregoing, each Defendant

(directly or though agents who were at the time acting with actual and/or apparent

authority and within the scope of such authority) has:

             (a) transacted business in Georgia;

             (b) contracted to supply products and services in Georgia;


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  (c) availed themselves intentionally of the benefits of doing business in

     Georgia;

  (d) promoted, sold, marketed, and or/distributed their products and/or

     services in Georgia and, thereby, have purposefully profited from their

     access to markets in Georgia;

  (e) caused tortious damage by act or omission in Georgia;

  (f) caused tortious damage in Georgia by acts or omissions committed

     outside such jurisdiction while (i) regularly doing business or soliciting

     business in such jurisdiction, and/or (ii) engaging in other persistent

     courses of conduct within such jurisdiction, and/or (iii) deriving

     substantial revenue from goods used or consumed or services rendered

     in such jurisdiction;

  (g) committed acts and omissions that Defendants knew or should have

     known would cause damage (and, in fact, did cause damage) in Georgia

     to Plaintiffs and Georgia consumers while (i) regularly doing or

     soliciting business in such jurisdiction, and/or (ii) engaging in other

     persistent courses of conduct within such jurisdiction, and/or (iii)

     deriving such substantial revenue from goods used or consumed or

     services rendered in such jurisdiction;


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             (h) engaged in a conspiracy with others doing business in Georgia that

                caused tortious damage in Georgia; and/or

             (i) otherwise had the requisite minimum contacts with Georgia such that,

                under the circumstances, it is fair and reasonable to require Defendants

                to come to Court to defend this action.

                                         VENUE

       30.      Venue is proper under 28 U.S.C. § 1391(b)(2), because, inter alia, a

substantial part of the events or acts giving rise to the causes of action alleged in this

Complaint arose in, among other places, this District, and the harmful effects of

Defendants fraud and wrongful conspiracy were felt in, amount other places, this

District. In addition, venue is proper under 18 U.S.C. § 1965 because all Plaintiffs

reside in this District.

                             FACTUAL BACKGROUND

       31.      In early January of 2019, Mr. Graddy first learned of a tax lien

presentation opportunity when he heard Carnegie’s radio advertisement playing on

either V-103.3 or V 107.5.

       32.      The radio advertisement invited listeners interested in making active

and passive income each month by flipping real estate tax liens to call the provided

number.


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      33.    The advertisement provided that Carnegie had over one-hundred years

of experience, and that Carnegie would teach listeners how to flip tax liens.

      34.    Mr. Graddy called the number provided in the advertisement and signed

up for an upcoming seminar on January 29, 2019.

      35.    On January 29, 2019, Mr. Graddy and Ms. Fields attended the free one-

day tax lien seminar held by ProSource where they agreed to purchase a three-day

Tax Lien Investing Education Course (the “Workshop”) for $597.00. This agreement

was memorialized in a “Carnegie Prosource Tax Lien Program” order form. A true

and correct copy of the order form is attached hereto and incorporated herein by this

reference as Exhibit “A”.

      36.    On or about January 29, 2019, Mr. Graddy filled out a Sprout IRA

questionnaire entitled “LLC Entity Setup Questionnaire” and a Self-Directed IRA

setup form entitled “Self Directed IRA Setup Summary.” A true and correct copy of

the questionnaire and setup form are attached hereto and incorporated herein by this

reference as Exhibit “B” and “C” respectively.

      37.    On January 29, 2019, Mr. Graddy signed an agreement with Defendant

Sprout IRA in which Sprout IRA agreed to create and register KVG Investments,

LLC (the “IRA Agreement”) in exchange for $949.10. KVG Investments, LLC was

created as a self-directed IRA retirement account and to purchase tax lines. This


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agreement was memorialized in a Sprout “IRA Setup Agreement” form. A true and

correct copy of the form is attached hereto and incorporated herein by this reference

as Exhibit “D”.

      38.      Between January 29, 2019 and February 6, 2019, Sprout IRA created

the limited liability company KVG Investments, LLC on behalf of Mr. Graddy in

the State of Utah. A true and correct copy of the Certificate of Organization is

attached hereto and incorporated herein by this reference as Exhibit “E”.

      39.      Between January 29, 2019 and February 8, 2019, Mr. Graddy received

an Admission Certificate for the Workshop. A true and correct copy of the

Admission Certificate is attached hereto and incorporated herein by this reference as

Exhibit “F”.

      40.      On February 8, 2019 through February 10, 2019, Mr. Graddy and Ms.

Fields attended the Workshop provided by ProSource at the Atlanta Marriot

Perimeter Center, 246 Perimeter Center Parkway Northeast, Atlanta, GA 30346.

      41.      During the Workshop, ProSource speakers and representatives

provided some tax lien education and then switched into its deceptive upsell

practices, misrepresenting its products and services, by making it seem to attendees

and Mr. Graddy and Ms. Fields that they were missing out on massive financial




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opportunities unless they took advantage of its offers of additional training, products,

and services.

      42.    ProSource speakers and representatives made deceptive and

misrepresentative statements to the Workshop attendees, claiming that ProSource

would help them “make more money than they borrowed.”

      43.    ProSource provided recordings of the three-day seminar to Mr. Graddy

and Ms. Fields through an emailed weblink, which has since been removed and is

no longer available for viewing.

      44.    ProSource representatives at the Workshop offered Mr. Graddy and

Ms. Fields an opportunity to purchase one of its packages for additional training,

products, and services. These representatives represented that ProSource would help

them obtain a loan and/or financing with 0% interest for a year or longer that in

effect would allow them to pay for the package and future tax liens to sell before any

interest accrued.

      45.    On February 10, 2019, Mr. Graddy and Ms. Fields, as business partners,

agreed to purchase the Diamond Executive Package (hereinafter the “DEP”) from

ProSource for a sum of $39,994.00 and filled out the “Advanced Enrollment Form.”

A true and correct copy of the order form is attached hereto and incorporated herein

by this reference as Exhibit “G”.


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      46.         Mr. Graddy paid $30,000 dollars of the total purchase price, putting

$15,000 on his personal VISA credit card and an additional $15,000 on his personal

American Express credit card. The remaining balance of $9,994 was to be charged

at a later date by Seed Capital.

      47.         ProSource represented both orally and by the express written terms of

the Advanced Enrollment Form that the DEP included the following:

            i.     Six-Week Quick Start Webinar Course;

            ii.    Three-Day Advanced Tax Lien Tour;

            iii. Two-Day Tax Lien Mastery Training;

            iv. Four-Day Real Estate Summit in San Diego; a Two-Day Wholesale

                   Mastery Bootcamp;

            v.     Two-Day Commercial, Cash Flow, and Multi-Unit Boot camp;

            vi. One-Day Asset Protection Bootcamp; Tax Lien and Real Estate

                   Software: TaxLienClould.com and Property Edge Pro (1 year

                   membership included);

            vii. On-Demand Online Tax Lien Training;

            viii. Turnkey Cash Flow Club Membership; and

            ix. Access to Tax Lien and Real Estate Hotline (2 years of live support).




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      48.    Following his purchase of the DEP and enrollment in the ProSource

program, Mr. Graddy received a Commitment Guarantee Certificate. This certificate

expressly provided that if after completing the online program, attending applicable

workshops and training, following the recommendations of the ProSource

instructors, Mr. Graddy had not completed one tax lien or tax deal, ProSource would

continue to help Mr. Graddy until he earned “at least 100% of [his] investment in

our program.” A true and correct copy of the Commitment Guarantee Certificate is

attached hereto and incorporated herein by this reference as Exhibit “H”.

      49.    Sometime between the conclusion of the three-day Workshop and

February 13, 2019, Seed Capital Corp. Client Relations Manager Addison Doyon

reached out to Mr. Graddy to assist him in financing his tax-lien training cost through

Defendant Seed Capital’s “innovative funding and credit building techniques” and

to provide him with cash credit lines needed to launch his business.

      50.    Addison Doyon told Mr. Graddy that these funding and credit building

techniques were intended to help him achieve a distinct and sustainable competitive

advantage and Seed Capitals service aimed to help him develop a “sound, scale-able

business model” with “clear paths to revenue.”

      51.    Addison Doyon informed Graddy that in order to assist him with getting

approved with various credit card companies to fund his training program and future


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investments Seed Capital would need to see his credit report and to begin the process

Mr. Graddy would need to sign up with Credit Nav.

      52.      Addison Doyon provided Mr. Graddy with a special link to

www.creditnav.com and Mr. Graddy provided the necessary information for new

credit cards. After gaining access to Mr. Graddy’s credit in Seed Capital began

reaching out to credit card companies on behalf of Mr. Graddy.

      53.      On February 14, 2019, Addison Doyon contacted Mr. Graddy via email

and informed him that some of the card companies would need to speak with Mr.

Graddy personally to verify his identity before they would approve the cards. In this

email Mr. Graddy was instructed to “call the banks” and tell them that he “recently

applied for a card” and that he “want[s] to check on the status.” A true and correct

copy of the email is attached hereto and incorporated herein by this reference as

Exhibit “I”.

      54.      On February 14, 2019, Mr. Graddy contacted Addison Doyon via email

to inform her that he had left her a voicemail regarding the calls he made to the

following credit card companies: Bank of America Cash Reward, Barclay’s Choice

Rewards, and Chase Freedom Unlimited. A true and correct copy of the email is

attached hereto and incorporated herein by this reference as Exhibit “J”.




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      55.     On February 20, 2019, Addison Doyon emailed Mr. Graddy with an

update on the Cash Credit Line Applications being worked on and a list of approved

accounts and a confirmed line of credit totaling $65,700. A true and correct copy of

the email is attached hereto and incorporated herein by this reference as Exhibit “K”.

      56.     Addison Doyon stated that Mr. Graddy’s approved accounts contained

the following cards and effective rates:

         i.   Bank Truly Simple - $10,000 – 0% for 15 months on purchases and

              balance transfers;

        ii.   Bank of America Bank Americacard -$0 – 0% on purchases and

              balance transfers;

       iii.   Barclays Choice Rewards - $18,000 – 0% on purchases and balance

              transfers for 15 months;

       iv.    Citi Diamond Preferred - $8,600 – 0% for 18 months on balance

              transfers and purchases; and

        v.    Wells Fargo Propel Amex - $12,500 – 0% for 12 months on purchases

              and balance transfers.

      57.     On February 22, 2019, Mr. Graddy was charged $2,997.00 by Seed

Consulting, LLC, for its services in helping him obtain the aforementioned credit




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cards. A true and correct copy of this transaction is attached hereto and incorporated

herein by this reference as Exhibit “L”.

          58.     During March 15, 2019 and March 17, 2019, Mr. Graddy attended the

first seminar in Orlando, Florida, where he met his assigned portfolio manager, Erin

Bates.

          59.     At the seminar, various speakers and presenters were present on behalf

of Prosource including Eric Blackwell, an individual named and believed to be

involved in a similar fraudulent real estate and tax lien scheme in Utah. 1

          60.     These speakers and presenters spoke briefly about investing in tax liens

before switching and focusing on real estate investing and flipping houses.

          61.     At the seminar, ProSource speakers and representatives made deceptive

and misrepresentative statements by claiming that REI Holdings, LLC, had multiple

“turn-key” properties available and displayed these properties in a series of binders.

ProSource offered attendees additional training services to learn how to purchase

these and many other properties to sell and flip for a profit. Attendees were not

provided with their own individual copies of these binders and ProSource did not

permit any attendee to keep any of the limited numbers of binders.



1
    See Utah Div. of Consumer Prot. v. Stevens, 398 F. Supp. 3d 1139 (D. Utah 2019).




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      62.         At the seminar, ProSource speakers and representatives made deceptive

and misrepresentative statements about its Tax Lien Investing Program (hereinafter

“TLIP”). ProSource offered the TLIP to attendees for an additional purchase price

and depending on the specific purchase of the individual attendee was stated to

include:

            i.     Jump to Action! Custom Investor Blueprint;

            ii.    Premier 1-on-1 Tax Lien Coaching (10 weeks/or sessions);

            iii. Premier 1-on-1 Real Estate Coaching (14 weeks or/sessions);

            iv. Assigned Senior Portfolio Advisor (Life Time Access)

            v.     Diamond Reserved Inventory (Life Time Access)

            vi. Lifetime membership and access to Pro Source Tax Liens;

            vii. Investment Tracking Software;

            viii. Access to Client Success Team (Life Time Access)

            ix. Access to Reserved Inventory (Life Time Access)

            x.     Reserved Spot at 4-Day Real Estate Summit;

            xi. Reserved Spot at Tax Lien Buying Tour;

            xii. [ ____ ] Tax Lien Portfolio Credit;

            xiii. Inventory Manager (Life Time Access);

            xiv. Asset Protection Bootcamp;


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             xv.           Advanced Wholesale Bootcamp; and

             xvi. Property Edge Pro Software.

       63.         During March 2019, ProSource representatives also made sales pitches

to provide additional services including the services of asset protection attorneys.

       64.         On March 5, 2019, Silverstrand LLC charged Mr. Graddy $9,994.00

for the remaining balance owed for his purchase of the DEP. A true and correct copy

of the email from support@taxlienoffice.com to Mr. Graddy showing the transaction

information is attached hereto and incorporated herein by this reference as Exhibit

“M”.

       65.         On March 15, 2019, Mr. Graddy and Ms. Fields agreed to purchase this

additional training program for a total purchase price of $21,000 (hereinafter the

“Enrollment Agreement). A true and correct copy of the Enrollment Agreement is

attached hereto and incorporated herein by this reference as Exhibit “N”.

       66.         On March 29, 2019, 4K Coin LLC, entered into a Tax Lien Assignment

Agreement, agreeing to pay $2,244.84 for the assignment of three separate tax liens

on vacant residential properties with REI Holdings, LLC (hereinafter the “TLA”),

relying upon representations made that if Plaintiff was not satisfied with the purchase

of the tax liens, REI Holdings, LLC would buy the liens back at the full price paid.




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       67.   Mr. Graddy, acting as the authorized agent for 4K Coin, signed as the

assignee and Edward Stewart, acting as the authorized agent for REI Holdings,

signed as the assignor. A true and correct copy of the Tax Lien Assignment

Agreement is attached hereto and incorporated herein by this reference as Exhibit

“O”.

       68.   In early April 2019, Mr. Graddy, acting under the training and

information provided by ProSource, purchased multiple additional tax liens in

Charlotte County, Florida for approximately $13,921.21. True and correct copies of

the purchased tax liens are attached hereto and incorporated herein by this reference

as Exhibit “P”.

       69.   Following the purchase of the Florida tax liens, Mr. Graddy discovered

he would be unable to sell the properties as easily as ProSource had initially

represented. Mr. Graddy learned despite his purchase of the tax liens, he would have

to wait for the foreclosure process to be completed and then purchase the properties

after a foreclosure auction was held.

       70.   On June 19, 2019, Mr. Graddy was provided links via email to create

accounts to file Tax Deed Applications for two properties in Florida by ProSource

employee Karla Trejo. A true and correct copy of the email is attached hereto and

incorporated herein by this reference as Exhibit “Q”.


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      71.      On June 25, 2019, Mr. Graddy paid $7,217.40 to Charlotte County

Deeds and Liens for the two aforementioned properties in Florida. A true and correct

copy of the email is attached hereto and incorporated herein by this reference as

Exhibit “R”.

      72.      In September 2019, Mr. Graddy discussed “TurnKey Properties” with

his portfolio manager Erin Bates.

      73.      On October 11, 2019, Mr. Graddy contacted Karla Trejo by email about

the status of two Tax Deed Applications previously filed in Charlotte County,

Florida. Ms. Karla Trejo subsequently informed Mr. Graddy that once the properties

were ready to be put up for auction Charlotte County would contact him directly.

The email also stated that to book an additional appointment with her, Mr. Graddy

should                                        go                                  to

http://outlook.office365.com/owa.calendar/StudentSuccess@zulumarketing.com/b

ookings. A true and correct copy of the email correspondence is attached hereto and

incorporated herein by this reference as Exhibit “S”.

      74.      On November 8, 2019, Mr. Graddy received an email from Erin Bates

providing two turnkey properties for review. A true and correct copy of the email is

attached hereto and incorporated herein by this reference as Exhibit “T”.




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      75.    On January 14, 2020, the Deputy Clerk of Charlotte County, Florida,

Lori Lagios-Tuck notified 4K Coin LLC that its application for Tax Deed from the

Tax Collector’s office had been received for tax certificate numbers 2687-2013, and

3228-2013, and that a payment of $547.20 was due by January 27, 2020. A true and

correct copy of applicant bill is attached hereto and incorporated herein by this

reference as Exhibit “U”.

      76.    On January 23, 2020, 4K Coin LLC was provided Notice of Application

for Tax Deeds 19-2036 and 19-2037. True and correct copies of the Notice of

Applications for Tax Deeds are attached hereto and incorporated herein by this

reference as Exhibits “V” and “W” respectively.

      77.    Between February and April 2020, Mr. Graddy attempted to contact

ProSource for additional help and information as the balance on his credit cards were

coming due and he would incur substantial interest payments; however, Mr. Graddy

was unsuccessful with making contact with ProSource despite his diligent efforts.

      78.    During April 2020, Mr. Graddy discovered that the phone lines for

ProSource’s help lines were disconnected.

      79.    April 14, 2020, Mr. Graddy attended the foreclosure auctions and was

the successful bidder on parcels 402124232006 and 402203101003.




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      80.    On May 11, 2020, Mr. Graddy tendered total payments of $851.75 for

the tax deeds to parcels 402124232006 and 402203101003. A true and correct copy

of the payment and tax deeds are attached hereto and incorporated herein by this

reference as Exhibits “X”, “Y”, and “Z” respectively.

      81.    After 4K Coin, LLC obtained the tax deeds to the properties, Mr.

Graddy subsequently discovered that he would be unable to sell the properties as he

did not have a marketable title for either property. Pursuant to Florida law, Mr.

Graddy would have to either bring an action to quiet title or wait a four-year period

beginning on the date of the foreclosure sale in order for the title to be marketable.

                              CAUSES OF ACTION

              COUNT I: NEGLIGENT MISREPRESENTATION

      82.    Plaintiffs hereby reaffirm and reallege the allegations contain in

Paragraphs 1 through 81 of this Verified Complaint as if set forth fully herein.

      83.    During their dealings with Plaintiffs related to the sale of the DEP,

TLIP, and the TLA, Defendants each negligently made affirmative representations

regarding the DEP, TLIP, and TLA, the potential earnings representations and the

value of the programs placed thereon, that were incorrected, improper, or false,

negligently made misleading omissions of material fact and negligently gave

improper and inaccurate information, advice, instructions, and opinions to Plaintiffs.


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      84.    Defendants either knew or reasonably should have known that their

representations, information, advice, and instructions were improper, inaccurate, or

wrong.

      85.   Defendants either knew or reasonably should have known that their

failures to disclose material information to Plaintiff were improper and wrong and

would mislead Plaintiff.

      86.   Defendants either knew or reasonably should have known that their

representations, recommendations, advise, and instructions were improper,

inaccurate, or wrong.

      87.   Plaintiffs acted reasonably and in ignorance of the falsity of the

Defendants’ representations did in fact rely upon such misrepresentations as alleged

herein, by among other things, purchasing the DEP, TLIP, and TLA.

      88.   As a result of Defendants’ negligent and grossly negligent

misrepresentations and omissions, Plaintiffs have and will continue to incur

substantial cost in the payment for the DEP, TLIP, and TLA to remedy the harm

caused by Defendants.

      89.   As a direct and proximate cause of Defendants negligence, Plaintiffs

have been damaged in an amount to be determined at trial.




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                      COUNT II: THEFT BY DECEPTION

      90.    Plaintiffs hereby reaffirm and reallege the allegations contain in

Paragraphs 1 through 89 of this Verified Complaint as if set forth fully herein.

      91.    Defendants obtained property, particularly Plaintiffs’ money, by

deceitful means or artful practice with the intent of depriving Plaintiffs of their

money, when it promised to provide products and services without intent to fully

perform.

      92.    Defendants conduct in selling the DEP, TLIP, and TLA to Plaintiffs

with the intent of not providing the products and services in full constitutes theft by

deception.

      93.    Defendants knowingly deceived Plaintiffs my marketing products and

services which they did not intend to fully provide and perform.

      94.    Defendants provided Plaintiffs with false information and created false

impressions of fact, or attempted to create impressions of fact, which were false, and

Defendants knew were false, and were pertinent to Plaintiffs’ decision to purchase

Defendants products and services.

      95.    These falsehoods were made as to matters of pecuniary significance and

Defendants conduct constituted intentional deception as defined by O.C.G.A. § 16-

8-3(a), and/or attempted intentional deception.


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      96.    Defendants failed to correct the false impressions about the success of

its programs and services, an impression that it previously created or attempted to

create, constituting intentional deception as defined by O.C.G.A. § 16-8-3(2).

      97.    Defendants also created the impression, or attempted to create the

impression, that Plaintiffs would receive support and help until Plaintiffs earned at

least their investment back. This assertion was made as to a matter of pecuniary

significant. Defendants knew this assertion, made both orally and in writing directly

to Plaintiffs, was false when it made. Defendants thus intentionally deceived or

attempted to intentionally deceive Plaintiffs as defined by O.C.G.A. § 16-8-3(b)(1).

      98.    Defendants failed to correct the false impression that Plaintiff would

receive support and help until Plaintiffs earned their investment back, an impression

which Defendants had previously created or confirmed. These acts or omissions also

constituted intentional deception as defined by O.C.G.A. § 16-8-3(b)(2).

      99.    Defendants acceptance and deposit of Plaintiffs’ monies constituted

theft by deception, as did the other acts described herein. Defendants obtained

monies through deceitful means or artful practice with the intention of depriving

Plaintiffs of property, including but not limited to their monies. Defendants conduct

proximately caused Plaintiffs’ damages.




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                                  COUNT III: FRAUD

      100. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 99 of this Verified Complaint as if set forth fully herein.

      101. During the three-day Workshop taking place February 8, 2019 through

February 10, 2019 (the “February Workshop”) Defendants, their employees, agents,

and speakers acting on their behalf, made representations to Plaintiffs that by

purchasing the products and services offered in the DEP, Plaintiffs would be able to

“make more money than they borrowed” purchasing the DEP by purchasing and

flipping tax liens.

      102. During the February Workshop the Defendants, their employees,

agents, and speakers made oral and express representations of the products and

services that would be provided and a Commitment Guarantee Certificate that

expressly provided that Defendants would continue to help Plaintiffs until Plaintiffs

received “at least 100% of [their] investment” in the program.

      103. During the February Workshop the Defendants, their employees,

agents, and speakers represented that Defendants would help Plaintiffs obtain a loan

and/or financing with 0% interest for a year, or longer, that would allow them to pay

for the DEP and future tax liens which could be sold before any interest accrued.




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      104. During the February Workshop the Defendants, their employees,

agents, and speakers represented to Plaintiffs that Plaintiffs would be able to

foreclose tax liens and sell the subject property before interest on the credit cards

became due, allowing them to “make more money than they borrowed.”

      105. The Defendants material misrepresentations made to the Plaintiffs

during the February Workshop caused Plaintiffs to purchase the DEP.

      106. Defendants never had any intention of providing the goods and

performing the services pursuant to the DEP agreement at the time it was entered

into by them on February 10, 2019.

      107. Between March 15, 2019 and March 17, 2019, during the three-day

seminar in Orlando, Florida (the “Florida Seminar”) various speakers and presenters

were present and spoke on behalf of Defendants, including Eric Blackwell, about

investing in tax liens before switching and focusing on real estate and flipping

houses.

      108. During the Florida Seminar the speakers and Defendants agents and

employees made deceptive statements and misrepresentations concerning “turn-

key” properties that were available and displayed in binders for Plaintiff and other

consumers to view.




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      109. During the Florida Seminar, Defendants speakers, employees, and

agents made deceptive and misrepresentative statements about the TLIP, and the

contents and services included, and available for purchase at an additional cost. The

material misrepresentations made by the Defendants caused Plaintiffs to agree to

purchase the TLIP.

      110. On March 29, 2019, Plaintiffs entered into the TLA, agreeing to pay

$2,244.84 for the assignment of three separate tax liens, relying on Defendants

representations that if Plaintiffs were not satisfied with the purchased of the tax liens,

the liens would be purchased back for the full price paid.

      111. On March 29, 2019, Defendants made material misrepresentation to

Plaintiffs regarding the TLA, causing Plaintiff to agree and enter into the TLA with

Defendants.

      112. The above-mentioned material misrepresentations made by the

Defendants, their agents and employees to the Plaintiffs caused Plaintiffs to purchase

products and services from Defendants, including tax liens on Properties which

Defendant knew or should have known would have unmarketable titles, and would

cause and did cause Plaintiffs to incur insurmountable interests on their purchases.

      113. Defendants         purposely      and     continuously      made      material

misrepresentations to Plaintiffs about the DEP, TLIP, and TLA agreements.


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Defendants continued to make material misrepresentations after each subsequent

agreement was entered into in order to induce Plaintiffs to continue to purchase more

services and products and prevent Plaintiffs from taking action against the

Defendants at an earlier date.to make material misrepresentations after the DEP,

TLIP, and TLA agreements were signed in order to induce Plaintiffs to continue to

purchase more services and products from them and prevent Plaintiffs from taking

action against them at an earlier date.

      114. Upon information and belief, some of the funds paid by Plaintiffs have

been used for purposes other than providing the products, services, and training

related to the Contracts.

      115. Plaintiffs reasonably relied upon the material misrepresentations by

Defendants by paying for Defendants’ services.

      116. The actions by Defendants constitutes fraud.

      117. Plaintiffs have been damaged as a result of Defendants’ fraud.

      118. Plaintiffs are entitled to judgment against Defendants’ for fraud and

punitive damages in an amount to determined at trial but not to exceed $250,000.

                       COUNT IV: PUNITIVE DAMAGES

      119. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 118 of this Verified Complaint as if set forth fully herein.


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      120. Defendants’ actions in engaging in a pattern of fraud and by

intentionally misrepresenting its services, products, and training to the Plaintiffs

show by clear and convincing evidence that the Defendants’ misconducts were

intentional, willful, wanton, oppressive, malicious, fraudulent, and reckless, and

evidence such an entire want or lack of care as to raise the presumption of a

conscious indifference to the consequences of their actions.

      121. Plaintiffs are entitled to a judgment against Defendants, in a bifurcated

hearing following a specific jury finding pursuant to O.C.G.A. § 51-12-5.1 for

punitive and exemplary damages, in an amount to be determined by the enlightened

conscience of impartial jurors, but in an amount no less than $250,000, to punish and

deter Defendants from repeating such conduct in the future.

  COUNT V: VIOLATION OF GEORGIA FAIR BUSINESS PRACTICES
                ACT, O.C.G.A. § 10-1-390, et seq.

      122. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 121 of this Verified Complaint as if set forth fully herein.

      123. On February 10, 2019, Plaintiffs purchased from Defendants the DEP.

      124. On March 15, 2019, Plaintiffs purchased from Defendants the TLIP.

      125. On March 29, 2019, Plaintiffs purchased the TLA from Defendants.

      126. Plainitffs’ purchases were all made pursuant to a series of transactions

in which Defendants, their employees, agents, and representatives intentionally

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misrepresented to Plaintiffs that Defendants would assist them in financing their

training and products and services purchases through the help of its affiliate, Seed

Capital, and help provide Plaintiffs with cash credit lines needed to launch their

business.

      127. Defendants intentionally represented to Plaintiffs that its programs,

training, support, and services would help Plaintiffs earn more money than they

spent, when that was not the case.

      128. Defendants conduct is a violation of Georgia Fair Business Practices

Act, O.C.G.A. § 10-1-390, et. seq. (“FBPA”).

      129. The FBPA declares unlawful any “unfair or deceptive acts or practices

in the conduct of consumer transactions and consumer acts or practices in trade or

commerce.” O.C.G.A. § 10-1-393.

      130. Plaintiff is a consumer as defined by O.C.G.A. § 10-1-392.

      131. Defendant’s transaction with Plaintiff is a “consumer transaction,” and

constitutes “trade” and “commerce” as defined by O.C.G.A. § 10-1-392.

      132. The dispute involves “goods” within the meaning of O.C.G.A. § 10-1-

390, et seq.

      133. Defendants engaged in unfair and deceptive trade practices by making

untrue, deceptive, and false representations to Plaintiffs regarding the income


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Plaintiffs could anticipate from purchasing its training, the true purpose of its

seminars, the services provided by ProSource, and the access and availability it its

products and other services.

      134. Defendants engaged in unfair and deceptive trade practices by making

untrue, deceptive, and false representation to Plaintiffs regarding the ability to pay

off the credit cards before incurring any interest.

      135. Defendants’         conduct   caused       actual   confusion   and   actual

misunderstanding.

      136. Defendants’ misleadingly, falsely, unconscionably and/or deceptively

misrepresented and/or omitted material facts regarding its training, services, and

products as described herein. Defendants' conduct violated the Consumer Protection

Act and caused Plaintiff an ascertainable loss.

      137. Had Plaintiffs known the Defendants’ statements were false or

misleading, they would not have engaged in the consumer transaction with

Defendants.

      138. As a proximate consequence of Defendant’s improper conduct, the

Plaintiff was injured.

      139. Pursuant to O.C.G.A. § 10-1-339, on December 1, 2020, prior to filing

this complaint, Plaintiffs sent a demand for relief to Defendants. Copies of the


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Plaintiffs’ December 1, 2020 Demand Letters are attached hereto and incorporated

herein by this reference as Exhibit “AA.”

      140.    More than thirty (30) days have elapsed since Plaintiffs sent their

demand letter and Defendants have failed to respond with the necessary tender of

settlement.

      141. Defendants have taken advantage of Plaintiffs’ professional courtesy,

acted in bad faith, extended litigation through their bad faith delay, and needlessly

caused Plaintiffs’ unnecessary trouble and expense.

      142. Defendants are therefore liable to Plaintiff for their actual damages in

an amount to be determined at trial, reasonable attorneys’ fees in an amount to be

determined at trial, as well as exemplary damages for the Defendants intentional

conduct.

  COUNT VI: FEDERAL RACKETEER INFLUENCED AND CORRUPT
                   ORGANIZATIONS ACT

      143. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 142 of this Verified Complaint as if set forth fully herein.

      144. This count sets forth a claim for damages resulting from the

Defendants’ violations of the Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. §§ 1961 et seq.

      145. Plaintiffs are “persons” within the meaning of 18 U.S.C. § 1964(c).

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      146. At all times relevant hereto, each of Plaintiffs and the Defendants were

and are “persons” within the meaning of 18 U.S.C. § 1961(3).

      147. An enterprise need not be a specific legal entity but rather may be “any

union or group of individuals associate in fact although not a legal entity.”

      148. In this case, the enterprise (“Enterprise”) for RICO purposes consists

of ProSource, CF Fund, Sprout IRA, Sprout Financial, Sprout Investment Partners,

Sprout Residential, Seed Capital, REI, Neff Inc., Slickrock, Silverstand, Zulu,

Superstar, Man Made, and Keystone and all other persons, including Joshua Carr,

Edward Stewart, and Tonya Neff, and entities that associated to solicit persons to

participate in the Tax Lien and Real Estate seminars and Tax Lien Assignments for

the purpose of generating and sharing fees generated from the sale of the DEP, TLIP,

and TLA and the goods and services purported to be provided.

      149.   These individuals and entities individual and through their employees

and agents represented to their victims, who are often inexperienced in real estate

matters, that they can make substantial profits investing in real estate and tax liens

if they purchase expensive training packages consisting of personal mentoring,

software, and one on one mentoring. In reality, the training packages sold to

Plaintiffs and unsophisticated consumers was nothing more than an elaborate “bait




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and switch operation” which Plaintiff and other consumers paid for by borrowing

the maximum amount possible from credit cards.

      150. Defendants did not educate consumers about either tax liens or real

estate flipping strategies, nor did Defendants provide Plaintiffs and other consumers

with the products and services advertised, marketed, and promised. Instead, the

Defendants designed, implemented, promoted, and sold an elaborate scheme devised

solely to facilitate the generation of large sums of money from Plaintiffs and other

consumers, leaving Plaintiffs and other consumers with damaged credit scores and

unmanageable debts.

      151. Defendants sought out as customers those persons, like Plaintiffs, that

were inexperienced and unsophisticated investors to participate in the real estate and

tax lien workshops; the Defendants then capitalized on the consumers and Plaintiffs’

inexperience and unsophistication, convincing them to purchase the products and

services, for the primary purpose of providing significant revenue for the Defendants

and unbeknownst to consumers and Plaintiffs.

      152. The Defendants engaged in a common and mutual plan, transaction,

and course of conduct described herein in connection with the design,

implementation, promotion, and sale of the real estate and tax lien workshops.




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      153. The Defendants knowingly or recklessly engaged in acts, transactions,

practices and a course of business that operated as a fraud upon the Plaintiffs and

other consumers, the primary purpose and effect of which was to generate huge fees

by fraudulently selling a series of transactions under the guise of providing services

and products.

      154. In connection with the tax lien and real estate workshops, the

Defendants shared a purpose, relationships, and longevity sufficient to pursue the

Enterprise’s purpose. Specifically, the purpose of the Enterprise was for the

Defendants to generate and share fees gained from the real estate and tax lien

workshops. They accomplished this purpose by, among other things, rendering a

sufficient amount of products and services to induce Plaintiffs into purchasing the

products and services advertised and promoted real estate and tax line workshops,

guaranteeing the Plaintiffs and consumers they would make money from the

products and services they purchased, without fully providing these products and

services.

      155. The Defendants relationship between and among one another enabled

the Defendants to, amount other things, (1) promote the real estate and tax lien

workshops to new consumers, (2) organize and operate the various corporations and

LLC entities necessary to implement the tax lien and real estate workshops, (3)


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inform Plaintiffs and consumers how to maximize the amount of credits and loans,

and (4) sell the real estate and tax lien products and services to the Plaintiffs and

other consumers.

      156. The Enterprise also has longevity, as it has been in operation since late

2018 or early 2019, if not early, continuously morphing into a new business

arrangement, initially starting out as the “Real Estate Workshop” before joining

forces with ProSource Tax Liens, dba Carnegie Academy, LLC, but continuing the

same conduct and during which time the Enterprise committed, among other things

the predicate acts mentioned herein.

      157. While the Defendants participated in the Enterprise and were apart of

it, the Defendants also had an existence separate and distinct from the Enterprise.

      158. Defendants maintained an interest in and control of the Enterprise and

also conducted or participated in the conduct of the affairs of the Enterprise through

a pattern of racketeering activity.

      159. Defendants control and participation in the Enterprise were necessary

for the successful operation of Defendants’ fraudulent scheme. The Enterprise had

an ascertainable structure separate and apart from the pattern of racketeering activity

in which Defendants engaged.




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      160. The real estate and tax lien workshops caught the attention of

inexperienced and unsophisticated buyers by promising consumers that the

Defendants products and services would provide consumers with an opportunity to

change their daily lives, earn passive and active income, and allow for them to

quickly buy and sell properties for massive profits.

      161. Despite the representations and advertisements of the Defendants, the

real estate and tax lien workshops and the products and services were not as

advertised, as set out in detail herein. Defendants had no difficulty in convincing

consumers of the success and validity of the programs, products and services, using

fraudulent means to persuade and mislead consumers and the Plaintiffs to agree to

purchase Defendants products and services.

      162. The Defendants convinced the Plaintiffs and other consumers of the

validity of its products and services by hosting seminars, hiring guests speakers to

tout the success of the program, products and services, and showing videos of

purchasers of the program stating their goals and expectations of the program as if

they had already happened.

      163. Each of the Defendants were vital to the implementation of the real

estate and tax lien workshops, played an important role in the success of the




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Enterprise, and either controlled the Enterprise or knowingly implemented the

decisions of others in the Enterprise.

      164. Defendants have engaged in predicate acts that are defined to constitute

“racketeering activity” under the Federal RICO statute. §18 U.S.C. § 1961(1).

      165. Specifically, Defendants engaged in mail fraud (18 U.S.C § 1341) and

wire fraud (18 U.S.C. § 1343). Defendants engaged in mail and wire fraud by

perpetrating a scheme to defraud Plaintiffs and other consumers by, among other

things, misleading Plaintiffs about the products, services, and training offered by the

Defendants. Defendants directly participated in that scheme to defraud, with the

specific intent to defraud the Plaintiffs and others, and the United States mails and

wires were used in furtherance of that scheme.

      166. Defendants communicated with Plaintiffs and others by United States

mail or the interstate wires, and caused Plaintiffs and others to enter into agreements

with and wire payments to Defendants using the interstate wires, constituting a

separate predicate act of mail fraud or wire fraud, as the case may be, because

Defendants in each instance either communicated a misrepresentation to Plaintiffs,

or otherwise failed to correct a false impression of an existing fact that Defendants

had previously created or confirmed.




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       167. Moreover, Defendants engaged in mail fraud by sending, or directing

others to send, fraudulent information to the Plaintiffs.

       168. Each such act of racketeering activity committed by Defendants were

related, had similar purposes, involved the same or similar participants, and methods

of commission, and had similar results impacting upon similar victims, including

Plaintiffs.

       169. The multiple acts of racketeering activity committed and/or conspired

to by Defendants and their co-conspirators, as described herein, were related to each

other and amount to and pose a threat of continued racketeering activity, and

therefore, constitute a “pattern of racketeering activity,” as defined in 18 U.S.C. §

1961(5).

       170. Defendants Joshua Carr, Edward Stewart, and Tonya Neff constituted

an “association in fact” enterprise under 18 U.S.C. § 1961(4), because they were a

group of individuals associated in fact, although not a legal entity. As an “association

in fact” enterprise, Joshua Carr, Edward Stewart, and Tonya Neff had (a) a purpose

– to perpetrate fraud on Plaintiffs and other consumers; (b) relationships among

those associated with the enterprise – each of the three exercising a position of

authority; and (c) longevity sufficient to permit Joshua Carr, Edward Stewart, and

Tonya Neff to pursue the enterprises purpose.


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      171. In violation of 18 U.S.C. § 1962(b), Joshua Carr, Edward Stewart, and

Tonya Neff, through a pattern of racketeering activity, acquired or maintained,

directly or indirectly, an interest in or control of enterprises engaged in interstate

commerce.

      172. In violation of 18 U.S.C. § 1962(c), Joshua Carr, Edward Stewart, and

Tonya Neff, who were employed by distinct enterprises engaged in interstate

commerce, and otherwise associated with enterprises engaged in interstate

commerce, have conducted or participated, directly or indirectly, in the conduct of

such enterprises’ affairs through a pattern of racketeering activity.

      173. In violation of 18 U.S.C. § 1962(d), Joshua Carr, Edward Stewart, and

Tonya Neff conspired to violate the provisions of 18 U.S.C. § 1962(b) and 18 U.S.C.

§ 1962(c).

      174. Joshua Carr, Edward Stewart, and Tonya Neff have harmed Plaintiffs

by perpetrating a scheme to defraud Plaintiffs and others.

      175. Plaintiffs have suffered financial injury by reasons of Defendants and

Joshua Carr, Edward Stewart, and Tonya Neff’s violations of 18 U.S.C. § 1962, and

is entitled to judgement against Joshua Carr, Edward Stewart, and Tonya Neff for

all resulting damages. Among other injuries, Plaintiff has suffered injury by, as a

proximate result of Joshua Carr, Edward Stewart, and Tonya Neff’s scheme to


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defraud. Therefore, pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover

treble damages.

          176. Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to the reasonable

attorneys’ fees and cost incurred by Plaintiffs to prosecute this lawsuit.

          COUNT VII: VIOLATIONS OF THE GEORGIA RACKETEER
            INFLUENCE AND CORRUPT ORGANIZATIONS ACT

          177. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 176 of this Verified Complaint as if set forth fully herein.

          178. The scheme and conduct of Defendants evidence the establishment of

an enterprise through a pattern of racketeering activity that is unlawful under the

Georgia Racketeer Influenced and Corrupt Organization Act, O.C.G.A. §§ 16-14-1

et seq.

          179. Defendants committed, attempted to commit, aided and abetted,

solicited, or engaged in at least two interrelated predicate incidents or acts of

racketeering activity in furtherance of one or more incidents, schemes, or

transactions that had the same or similar intent, results, accomplices, victims,

methods of commission, or are otherwise interrelated by, distinguishing

characteristics and are not isolated incidents which proximately caused injury to the

Plaintiffs. The incidents or acts of racketeering activity that form the pattern of

racketeering activity engaged in by Defendants occurred within the Relevant Period

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and include fraud. The acts of racketeering activity extended over a substantial

period of time and were sufficiently continuous to form a pattern of racketeering

activity.

       180. Defendants Joshua Carr, Edward Stewart, and/or Tonya Neff, willfully

conducted and/or participated directly or indirectly in the conduct of the affairs of

the corporate entities and engaged in a pattern of racketeering activity and for the

unlawful purpose of defrauding others.

       181. The racketeering activities of the enterprises have resulted in Plaintiffs

suffering losses, including the funds paid to Defendants ProSource, Slickrock, Seed

Consulting, and REI Holdings, LLC, which funds have been disbursed wrongfully.

       182. Defendants with the intent of defrauding Plaintiffs and others by

obtaining money by fraudulent pretenses, engaged in an elaborate series of

transactions by and between themselves and others, intended to confuse and cover

the actual activity of theft by deception, mail fraud, and wire fraud.

                             THE PREDICATE ACTS

                               A. Theft by Deception

       183. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 182 Verified Complaint as if set forth fully herein.




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      184. Theft by deception constitutes a predicate act pursuant to Georgia

RICO Act.

                                   B. Mail Fraud

      185. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 184 of this Verified Complaint as if set forth fully herein.

      186. Mail fraud pursuant to 18 U.S.C.§ 1961(1), constitutes a predicate act

of racketeering activity pursuant to O.C.G.A. § 16-14-3(5)(C).

      187. Defendants used mail, in furtherance of the scheme and in the course

of defrauding Plaintiffs into purchasing Defendants products and services.

      188. Defendants did so with intent to defraud.

      189. It was reasonably foreseeable that mail would be used in the scheme.

                                  C. Wire Fraud

      190. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 189 of this Verified Complaint as if set forth fully herein.

      191. Wire fraud pursuant to 18 U.S.C.§ 1961(1), constitutes a predicate act

of racketeering activity pursuant to O.C.G.A. § 16-14-3(5)(C).

      192. Defendants,      by   and    through   their   agents,   employees,   and

representatives, have engaged in more than one act of wire fraud in violation of 18




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U.S.C. § 1343 in furtherance of the scheme and in the course of defrauding Plaintiffs

into purchasing Defendants products and services.

      193. Defendants did so with intent to defraud.

      194. It was reasonably foreseeable that wire fraud would be used in the

scheme.

             Interrelationship Between Acts of Racketeering Activity

      195. The acts of racketeering activity committed by Defendants are

interrelated and not isolated incidents in that they all involve numerous transactions

or purported transactions and involve the same or similar intents, the same or similar

results, the same or similar victims, the same or similar methods of commissions,

the same or similar benefits to Defendants, and the same or similar efforts to conceal

Defendants’ misconduct.

      196. The incidents or acts of racketeering activity committed by Defendants

have the same or similar intents in that they sought to obtain property, including by

not limited to, money for Defendants through illegal means.

      197. The incidents or acts of racketeering activity committed by the

Defendants have the same or similar results.

      198. The incidents of racketeering activity committed by the Defendants

have the same or similar methods of commission.


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    Injuries to Plaintiffs Proximately Caused by Defendants RICO Violations

      199. The conduct of Defendants, as set forth herein, had no legitimate

business purpose or activity. Defendants have misrepresented their activities, not

only to Plaintiffs, but to others, and directly targeted unsophisticated buyers,

including Plaintiffs, in furtherance of the pattern of racketeering of the enterprise.

      200. Plaintiffs’ injuries flow directly and proximately from Defendants’

incidents or acts of racketeering activity, which constitute part of the pattern of

racketeering activity.

      201. Plaintiffs have been injured by reason of Defendants violation of

O.C.G.A. § 16-14-4(c) and are entitled to recover three times the actual damages

sustained.

      202. Pursuant to O.C.G.A. § 16-14-6(c), Plaintiffs are also entitled to recover

their reasonable attorneys’ fees.

   COUNT VIII: CONSPIRACY TO VIOLATE O.C.G.A. § 16-14-1, et seq.

      203. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 202 of this Verified Complaint as if set forth fully herein.

      204. In concert with their co-conspirators, Defendants have been able to

exert greater influence, have been able to successfully engage in the unlaw activities

detail herein and have had a greater ability to conceal their unlawful activities.


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      205. The object of the conspiracy was to engage in the real estate and tax

lien investment workshops scheme through racketeering activity.

      206. Defendants, together with their employees and agents have been joined

in conspiracies to violate O.C.G.A. § 16-14-1.

      207. As detailed herein, Defendants and their co-conspirators have engaged

in numerous overt and predicate fraudulent racketeering acts in furtherance of the

conspiracy including systemic fraudulent practices designed to defraud Plaintiffs of

money and other interests.

      208. The nature of Defendants’ unlawful conduct give rise to an inference

that Defendants not only agreed to the objective to conspire to violate, but they were

aware that their ongoing fraudulent acts have been and are part of an overall pattern

of racketeering activity intended to financially benefit Defendants and their co-

conspirators.

      209. Defendants have sought to and have engaged in the commission of and

continue to commit overt acts and unlawful racketeering predicate acts that have and

continue to generate financial gain for Defendants from such pattern of racketeering

activity through an ongoing scheme intended to defraud Plaintiffs and other Georgia

consumers.




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      210. As a direct and proximate cause of Defendants unlawful conspiracy,

Plaintiffs have been damaged in an amount to be determined at trial.

  COUNT IX: DISREGARD OF CORPORATE ENTITY/PIERCING THE
            CORPORATE VEIL (Against All Defendants)

      211. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 210 of this Verified Complaint as if set forth fully herein.

      212. Upon information and belief, Defendants ProSource, CF Fund, Sprout

IRA, Sprout Financial, Sprout Investment Partners, Sprout Residential, Seed

Capital, REI, Neff Inc., Slickrock, Silverstand, Zulu, Superstar, Man Made, and

Keystone are the “alter egos,” “agents,” and/or instrumentalities” of Defendants

Joshua Carr, Edward Stewart, and/or Tonya Neff.

      213. Upon information and belief, Defendants Joshua Carr, Edward Stewart,

and Tonya Neff have disregarded the corporate entities and are utilizing the

Defendant entities to evade their contractual responsibilities to the Plaintiffs.

      214. Defendants Joshua Carr, Edward Stewart, and Tonya Neff used the

corporate form to perpetuate fraud and evade contractual responsibility and therefore

the corporate veil is due to be pierced.

                      COUNT X: UNJUST ENRICHMENT

      215. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 214 of this Verified Complaint as if set forth fully herein.

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      216. Plaintiffs conferred a benefit on the Defendants by paying for the

products services, and training offered by the Defendants.

      217. Defendants have knowledge of the benefit conferred by Plaintiffs.

      218. Defendants have appreciated, accepted and/or retained the benefit

conferred by Plaintiffs by virtue of Defendants fraudulent schemes.

      219. Under the circumstances, it would be unjust and inequitable to allow

Defendants to retain this benefit, as it was obtained through deceptive

representations.

      220. The Defendants have been unjustly enriched by the retention of the

benefits paid by Plaintiffs.

      221. Plaintiffs have suffered damages as a result of Defendants unjust

enrichment.

          COUNT XII: ATTORNEY'S FEES PER O.C.G.A. § 13-6-11

      222. Plaintiffs reaffirm and reallege the allegations contained in Paragraphs

1 through 221 of this Verified Complaint as if set forth fully herein.

      223. Defendants have needless extended litigation by acting in bad faith and

needlessly extending litigation in their bad faith delay.

      224. Pursuant to O.C.G.A. § 10-1-339, on December 1, 2020, prior to filing

this complaint, Plaintiffs sent a demand for relief to Defendants. See Exhibit AA.


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      225.    More than thirty (30) days have elapsed since Plaintiffs sent their

demand letter.

      226. Defendant Seed Consulting, LLC responded on December 17, 2020 to

Plaintiffs letter, but the letter did not contain a “tender of settlement”. A true and

accurate copy of Defendants December 17, 2020 letter is attached hereto and

incorporated herein by this reference as Exhibit “BB”.

      227. Defendants responded on December 23, 2020 to Plaintiffs letter, but the

letter did not contain a “tender of settlement”. A true and accurate copy of

Defendants December 23, 2020 letter is attached hereto and incorporated herein by

this reference as Exhibit “CC”.

      228. On January 25, 2021, Plaintiffs’ counsel sent a response to Defendants

December 23, 2020 letter via email and certified mail. A true and accurate copy of

the January 25, 2021 email is attached hereto and incorporated herein by this

reference as Exhibit “DD”.

      229. On January 27, 2021, Defendants counsel asked for an extension of

time to respond, indicating Defendants were “working to compile some information

that [counsel] feel would be dispositive to the potential claims [Plaintiffs] intend to

assert and would help provide a better perspective for any settlement discussions.”

Plaintiffs agreed to extend its deadline until 5:00 PM on Monday, February 8, 2021.


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A true and accurate copy of the January 27, 2021 email correspondence is attached

hereto as Exhibit “EE”.

      230. On Monday, February 8, 2021, at 4:09 PM, Defendants counsel

informed Plaintiffs that Defendants have engaged local counsel, Attorney Scott

Hoopes, to take over the matter.

      231. Defendants have taken advantage of Plaintiffs professional courtesy,

acted in bad faith, extended litigation through their bad faith delay, and needlessly

caused Plaintiffs unnecessary trouble and expense.

      232. Defendants and their counsel have acted in bad faith, have been

stubbornly litigious, or have caused Plaintiffs unnecessary trouble and expense as

defined and contemplated by O.C.G.A. § 13-6-11. Accordingly, the Plaintiffs are

entitled to judgement against the Defendants for its cost and reasonable attorney’s

fees actually incurred in connection with this action.

NOW WHEREFORE, Plaintiffs pray for the following relief:

      a. That service and process issue as provided by law;

      b. Judgment against Defendants and an award of monetary damages in an

         amount to be determined at trial for Plaintiffs’ claims for negligent

         misrepresentation, theft by deception, fraud, and punitive damages;

         violation of Georgia Far Business Practices Act; violations of Federal


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        Racketeer Influence and Corrupt Organizations Act, violations of the

        Georgia Racketeer Influence and Corrupt Organizations Act, conspiracy

        to violate the Georgia Racketeer Influenced and Corrupt Organizations

        Act, disregard of corporate entity/piercing the corporate veil, and unjust

        enrichment;

     c. An award of punitive damages for Plaintiffs’ claims for fraud, theft by

        deception, and violations of the Federal and Georgia Racketeer Influence

        and Corrupt Organizations Act;

     d. Prejudgment interest as allowed by law;

     e. An award of reasonable attorneys’ fees and costs of litigation on all Counts

        in this Complaint pursuant to O.C.G.A. §13-6-11; and

     f. All other and further relief as the Court deems just and proper.

     This 12th day of February, 2021.

                                             Respectfully submitted,

                                             /s/ Devin Phillips
                                             Devin Phillips
                                             Georgia Bar No. 189782
                                             Attorney for Plaintiffs
WEENER NATHAN PHILLIPS LLP
5887 Glenridge Drive, NE, Suite 275
Atlanta, GA 30328
Tel. (770) 392-9004
Fax (770)522-9004
Email: dphillips@wnpllp.com

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                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

KELVIN GRADDY, an individual,KAVELLE             )
FIELDS, an individual, 4K COIN, LLC, a Georgia   )
limited liability company, KVG INVESTMENTS       )
LLC, a Utah limited liability company, and THE   )   CIVIL ACTION FILE NO.:
KD9 GROUP, LLC, a Georgia limited liability      )
                                                 )
company,
                                                 )
                                                 )
      Plaintiffs,
                                                 )   JURY TRIAL DEMANDED
                                                 )
v.
                                                 )
                                                 )
CARNEGIE ACADEMY, LLC, d/b/a                     )
PROSOURCE TAX LIENS a/d/b/a TAX LIEN             )
TOUR, a Utah limited liability company, SPROUT )
CF FUND, INC., a Utah corporation, SPROUT       )
IRA, LLC, a Utah limited liability company,     )
SPROUT FINANCIAL, LLC, d/b/a SPROUT             )
ADVISORS a/d/b/a/ SPROUT ADVISERS, a/d/b/a )
SPROUT IRA, a Utah limited liability company,   )
SPROUT INVESTMENT PARTNERS, LLC, a              )
Utah limited liability company, SPROUT          )
RESIDENTIAL FUND, LLC, a Utah limited           )
liability company, SEED CONSULTING, LLC         )
d/b/a SEED CAPITAL CORP., a Nevada limited      )
liability company, JOSHUA CARR, individually    )
and in his capacity as an                       )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, EDWARD STEWART,                  )
individually and in his capacity as an          )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, and REI HOLDINGS, LLC, a )
Utah limited liability company, SLICKROCK,      )
LLC, a Nevada limited liability company,        )
SIL VERSTRAND, LLC, d/b/a SAVILE CUSTOM )
CLOTHIERS, a/d/b/a SAVILE ROW, a/d/b/a          )
SAVILE TAILORS, a Utah limited liability        )
company, TONYA NEFF, individually and in her    )
capacity as an owner/member/executive/alter ego )
of NEFF COMPANIES, INC., a Utah corporation, )
ZULU MARKETING d/b/a TAX LIEN BUYERS            )
CLUB a/d/b/a TAX LIEN VAULT a/d/b/a             )
MELTDOWN MILLIONAIRE a/d/b/a TAX LIEN


                                      1 of2
          Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 59 of 234




    OFFICE, a Utah limited liability company,                   )
    SUPERSTAR LLC, d/b/a SUPERSTAR INC.,                        )
    a/d/b/a SUPERSTAR LLC, a Utah limited liability             )
    company, MAN MADE LLC, d/b/a NINES                          )
    CLOTHING a/d/b/a CA.NVAS CLOTHING                           )
    a/d/b/a CANVAS CLOTHIERS, a Utah limited                    )
    liability company, and KEYSTONE                             )
    INVESTMENT GROUP, LLC, a Georgia limited                    )
    liability company,                                          )
                                                                )
     Defendants.                                                )
   ~~~~~~~~~~~~->

                                            VERIFICATION

           PERSONALLY APPEARED before the undersigned officer duly authorized to administer

   and receive oaths, 4K COIN, LLC, by and through Kelvin Graddy, its Manager, who, after being

   duly sworn, state that all of the allegations in the foregoing Verified Complaint, are true and correct

   to the best of my knowledge, information, and belief.

                                                          4KCOIN,LLC


                                                          By:   ~                ?2---z---·----
                                                                    eJVitlGraddy, its Manager


 Sworn to and subscribed before me this
~ay of February, 2021.

~!Z2~J~
 Notary Public                    .

 My commission expires: 0(/o J-/-:>o )-)--

          [Notary Seal]




                                                  2 of2
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                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

KELVIN GRADDY, an individual, KAVELLE             )
FIELDS, an individual, 4K COIN, LLC, a Georgia    )
limited liability company, KVG INVESTMENTS        )
LLC, a Utah limited liability company, and THE    ) CIVIL ACTION FILE NO.:
KD9 GROUP, LLC, a Georgia limited liability       )
                                                  )
company,
                                                  )
                                                  )
      Plaintiffs,
                                                  )   JURY TRIAL DEMANDED
                                                  )
v.
                                                  )
                                                  )
CARNEGIE ACADEMY, LLC, d/b/a                      )
PROSOURCE TAX LIENS a/d/b/a TAX LIEN              )
TOUR, a Utah limited liability company, SPROUT    )
CF FUND, INC., a Utah corporation, SPROUT         )
IRA, LLC, a Utah limited liability company,       )
SPROUT FINANCIAL, LLC, d/b/a SPROUT               )
ADVISORS a/d/b/a/ SPROUT ADVISERS, a/d/b/a        )
SPROUT IRA, a Utah limited liability company,     )
SPROUT INVESTMENT PARTNERS, LLC, a                )
Utah limited liability company, SPROUT            )
RESIDENTIAL FUND, LLC, a Utah limited             )
liability company, SEED CONSUL TING, LLC          )
d/b/a SEED CAPITAL CORP., a Nevada limited        )
liability company, JOSHUA CARR, individually      )
and in his capacity as an                         )
owner/member/executive/alter ego of REI           )
HOLDINGS, LLC, EDWARD STEWART,                    )
individually and in his capacity as an            )
owner/member/executive/alter ego of REI           )
HOLDINGS, LLC, and REI HOLDINGS, LLC, a           )
Utah limited liability company, SLICKROCK,        )
LLC, a Nevada limited liability company,          )
SILVERSTRAND, LLC, d/b/a SAVILE CUSTOM            )
CLOTHIERS, a/d/b/a SAVILE ROW, a/d/b/a            )
SAVILE TAILORS, a Utah limited liability          )
company, TONYA NEFF, individually and in her      )
capacity as an owner/member/executive/alter ego   )
of NEFF COMPANIES, INC., a Utah corporation,      )
ZULU MARKETING d/b/a TAX LIEN BUYERS              )
CLUB a/d/b/a TAX LIEN VAULT a/d/b/a               )
MELTDOWN MILLIONAIRE a/d/b/a TAX LIEN


                                      1 of2
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 61 of 234




 OFFICE, a Utah limited liability company,                )
 SUPERSTAR LLC, d/b/a SUPERSTAR INC.,                     )
 a/d/b/a SUPERSTAR LLC, a Utah limited liability          )
 company, MAN MADE LLC, d/b/a NINES                       )
 CLOTHING a/d/b/a CANVAS CLOTHING                         )
 a/d/b/a CANVAS CLOTHIERS, a Utah limited                 )
 liability company, and KEYSTONE                          )
 INVESTMENT GROUP, LLC, a Georgia limited                 )
 liability company, )
                    )
   Defendants.      )
~~~~~~~~~~~~~~~~~~~>

                                         VERIFICATION

       PERSONALLY APPEARED before the undersigned officer duly authorized to administer

and receive oaths, KVG INVESTMENTS LLC, by and through KELVIN GRADDY, its Manager,

who, after being duly sworn, state that all of the allegations in the foregoing Verified Complaint,

are true and correct to the best of my knowledge, information, and belief.

                                                      KVG INVESTMENTS LLC


                                                      By:~~
                                                       clViilGfaddy, its Manager
Sworn to and subscribed before me this
~~day     of February, 2021.




My commission expires:




                                              2 of2
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                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

KELVIN GRADDY, an individual, KA VELLE           )
FIELDS, an individual, 4K COIN, LLC, a Georgia   )
limited liability company, KVG INVESTMENTS       )
LLC, a Utah limited liability company, and THE   )   CIVIL ACTION FILE NO.:
KD9 GROUP, LLC, a Georgia limited liability      )
                                                 )
company,
                                                 )
                                                 )
      Plaintiffs,
                                                 )   JURY TRIAL DEMANDED
                                                 )
v.
                                                 )
                                                 )
CARNEGIE ACADEMY, LLC, d/b/a                     )
PROSOURCE TAX LIENS a/d/b/a TAX LIEN             )
TOUR, a Utah limited liability company, SPROUT )
CF FUND, INC., a Utah corporation, SPROUT        )
IRA, LLC, a Utah limited liability company,      )
SPROUT FINANCIAL, LLC, d/b/a SPROUT              )
ADVISORS a/d/b/a/ SPROUT ADVISERS, a/d/b/a )
SPROUT IRA, a Utah limited liability company,   )
SPROUT INVESTMENT PARTNERS, LLC, a              )
Utah limited liability company, SPROUT          )
RESIDENTIAL FUND, LLC, a Utah limited           )
liability company, SEED CONSULTING, LLC         )
d/b/a SEED CAPITAL CORP., a Nevada limited      )
liability company, JOSHUA CARR, individually    )
and in his capacity as an                       )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, EDWARD STEWART,                  )
individually and in his capacity as an          )
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HOLDINGS, LLC, and REI HOLDINGS, LLC, a )
Utah limited liability company, SLICKROCK,      )
LLC, a Nevada limited liability company,        )
SIL VERSTRAND, LLC, d/b/a SAVILE CUSTOM )
CLOTHIERS, a/d/b/a SAVILE ROW, a/d/b/a          )
SAVILE TAILORS, a Utah limited liabiJity        )
company, TONYA NEFF, individually and in her    )
capacity as an owner/member/executive/alter ego )
of NEFF COMPANIES, INC., a Utah corporation, )
ZULU MARKETING d/b/a TAX LIEN BUYERS            )
CLUB a/d/b/a TAX LIEN VAULT a/d/b/a             )
MELTDOWN MILLIONAIRE a/d/b/a TAX LIEN


                                      1 of2
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 63 of 234




 OFFICE, a Utah limited liability company,                 )
 SUPERSTAR LLC, d/b/a SUPERSTAR INC.,                      )
 a/d/b/a SUPERSTAR LLC, a Utah limited liability           )
 company, MAN MADE LLC, d/b/a NINES                        )
 CLOTHING a/d/b/a CANVAS CLOTHING                          )
 a/d/b/a CANVAS CLOTHIERS, a Utah limited                 )
 liability company, and KEYSTONE                          )
 INVESTMENT GROUP, LLC, a Georgia limited                 )
 liability company,                                       )
                                                          )
         Defendants.                                      )
~~~~~~~~~~~~-)

                                         VERIFICATION

        PERSONALLY APPEARED before the undersigned officer duly authorized to administer

and receive oaths, KELVIN GRADDY, who, after being duly sworn, state that all of the allegations

in the foregoing Verified Complaint, are true and correct to the best of my knowledge, information,

and belief.

                                                     '2~
                                                     Kelvin Graddy
                                                                   .~EAL)
Sworn to and subscribed before me this
      day ofFebrua,ry, 2021.

       Q_.
Notary Public

My commission expires:    Of/0~0)--2-
       [Notary Seal]




                                             2 of2
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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

KELVIN GRADDY, an individual, KA VELLE           )
FIELDS, an individual, 4K COIN, LLC, a Georgia   )
limited liability company, KVG INVESTMENTS       )
LLC, a Utah limited liability company, and THE   ) CIVIL ACTION FILE NO.:
KD9 GROUP, LLC, a Georgia limited liability      )
                                                 )
company,
                                                 )
                                                 )
         Plaintiffs,
                                                 )   JURY TRIAL DEMANDED
                                                 )
v.
                                                 )
                                                 )
CARNEGIE ACADEMY, LLC, d/b/a                     )
PROSOURCE TAX LIENS a/d/b/a TAX LIEN             )
TOUR, a Utah limited liability company, SPROUT )
CF FUND, INC., a Utah corporation, SPROUT        )
IRA, LLC, a Utah limited liability company,      )
SPROUT FINANCIAL, LLC, d/b/a SPROUT              )
ADVISORS a/d/b/a/ SPROUT ADVISERS, a/d/b/a )
SPROUT IRA, a Utah limited liability company,   )
SPROUT INVESTMENT PARTNERS, LLC, a              )
Utah limited liability company, SPROUT          )
RESIDENTIAL FUND, LLC, a Utah limited           )
liability company, SEED CONSUL TING, LLC        )
d/b/a SEED CAPITAL CORP., a Nevada limited      )
liability company, JOSHUA CARR, individually    )
and in his capacity as an                       )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, EDWARD STEWART,                  )
individually and in his capacity as an          )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, and REI HOLDINGS, LLC, a )
Utah limited liability company, SLICKROCK,      )
LLC, a Nevada limited liability company,        )
SIL VERSTRAND, LLC, d/b/a SAVILE CUSTOM )
CLOTIDERS, a/d/b/a SAVILE ROW, a/d/b/a          )
SAVILE TAILORS, a Utah limited liability        )
company, TONYA NEFF, individually and in her    )
capacity as an owner/member/executive/alter ego )
of NEFF COMPANIES, INC., a Utah corporation, )
ZULU MARKETING d/b/a TAX LIEN BUYERS            )
CLUB a/d/b/a TAX LIEN VAULT a/d/b/a             )
MELTDOWN MILLIONAIRE a/d/b/a TAX LIEN


                                      1 of2
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 OFFICE, a Utah limited liability company,                    )
 SUPERSTAR LLC, d/b/a SUPERSTAR INC.,                         )
 a/d/b/a SUPERSTAR LLC, a Utah limited liability              )
 company, MAN MADE LLC, d/b/a NINES                           )
 CLOTHING a/d/b/a CANVAS CLOTHING                             )
 a/d/b/a CANVAS CLOTHIERS, a Utah limited                     )
 liability company, and KEYSTONE                              )
 INVESTMENT GROUP, LLC, a Georgia limited                     )
 liability company,                                           )
                                                              )
         Defendants.                                          )
~~~~~~~~~~~~~)

                                            VERIFICATION

        PERSONALLY APPEARED before the undersigned officer duly authorized to administer

and receive oaths, KA YELLE FIELDS, who, after being duly sworn, state that all of the allegations

in the foregoing Verified Complaint, are true and correct to the best of my knowledge, information,

and belief.

                                                         ~ (SEAL)
                                                         Kavelle Fieds

srlrn   to and subscribed before me this
        day of February, 2021.

 /~cfr_wi           laftf
Notary Public

My commission expires:    02- 0    ':f- ~   2S
        [Notary Seal]




                                                 2 of2
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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

KELVIN GRADDY, an individual, KA VELLE           )
FIELDS, an individual, 4K COIN, LLC, a Georgia   )
limited liability company, KVG INVESTMENTS       )
                                                     CIVIL ACTION FILE NO.:
LLC, a Utah limited liability company, and THE   )
KD9 GROUP, LLC, a Georgia -limited liability     )
                                                 )
company,
                                                 )
                                                 )
         Plaintiffs,
                                                 )   JURY TRIAL DEMANDED
                                                 )
v.
                                                 )
                                                 )
CARNEGIE ACADEMY, LLC, d/b/a                    )
PROSOURCE TAX LIENS a/d/b/a TAXLIEN             )
TOUR, a Utah limited liability company, SPROUT )
CF FUND, INC., a Utah corporation, SPROUT       )
IRA, LLC, a Utah limited liability company,     )
SPROUT FINANCIAL, LLC, d/b/a SPROUT             )
ADVISORS a/d/b/a/ SPROUT ADVISERS, a/d/b/a )
SPROUT IRA, a Utah limited liability company,   )
SPROUT INVESTMENT PARTNERS, LLC, a              )
Utah limited liability company, SPROUT          )
RESIDENTIAL FUND, LLC, a Utah limited           )
liability company, SEED CONSUL TING, LLC        )
d/b/a SEED CAPITAL CORP., a Nevada limited      )
liability company, JOSHUA CARR, individually    )
and in his capacity as an                       )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, EDWARD STEWART,                  )
individually and in his capacity as an          )
owner/member/executive/alter ego of REI         )
HOLDINGS, LLC, and REI HOLDINGS, LLC, a )
Utah limited liability company, SLICKROCK,      )
LLC, a Nevada limited liability company,        )
SIL VERSTRAND, LLC, d/b/a SAVILE CUSTOM )
CLOTHIERS, a/d/b/a SAVILE ROW, a/d/b/a          )
SAVILE TAILORS, a Utah limited liability        )
company, TONYA NEFF, individually and in her    )
capacity as an owner/member/executive/alter ego )
of NEFF COMPANIES, INC., a Utah corporation, )
ZULU MARKETING d/b/a TAX LIEN BUYERS            )
CLUB a/d/b/a TAX LIEN VAULT a/d/b/a             )
MELTDOWN MILLIONAIRE a/d/b/a TAX LIEN


                                      1 of2
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 OFFICE, a Utah limited liability company,                         )
 SUPERSTAR LLC, d/b/a SUPERSTAR INC.,                              )
 a/d/b/a SUPERSTAR LLC, a Utah limited liability                   )
 company, MAN MADE LLC, d/b/a NINES                                )
 CLOTHING a/d/b/a CANVAS CLOTHING                                  )
 a/d/b/a CANVAS CLOTHIERS, a Utah limited                          )
 liability company, and KEYSTONE                                   )
 INVESTMENT GROUP, LLC, a Georgia limited                          )
 liability company,                                                )
                                                                   )
         Defendants.                                               )
~~~~~~~~~~~~~~~~~~~-)

                                           VERIFICATION

       PERSONALLY APPEARED before the undersigned officer duly authorized to administer

and receive oaths, THE KD9 GROUP, LLC, by and through Kavelle Fields, its Manager, who,

after being duly sworn, state that all of the allegations in the foregoing Verified Complaint, are true

and correct to the best of my knowledge, information, and belief.

                                                             THE KD9 GROUP, LLC


                                                             By:   ~
                                                                   Kavelle Fields, its Manager

Sworn to and subscribed before me this
_.,___.,_day ofFebruary, 2021.
                 ~   fr
My commission expires:    t2 Q..- l!J :q-. .-- 2E'
       [Notary Seal]




                                                     2 of2
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       EXHIBIT “A”
                                  Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 69 of 234
                                                                                                                                                      DATE
                                                                                                                                                                           II     l            \     'I

                                    CARNEGIE                                                                                                          ORDER NO
                                                                                                                                                                                        0l? .'..'A
                                                                                                                                                      CLIENT ID     l~O




                                                             PROSOURCE TAX LIEN PROGRAM
    (Plea se wnte legibly and clearly)


     CLIENT NAME:                    kidlv'J,J          V b(l4 ~
     STREET ADDRESS:                 f ·::)' ..., ... . V. ~ "-:-: .?J~ ~J f:.~ .......... ..........             CITY: ......":~.{l~."'.'=.l!J   V        STATE:

     EMAIL ADDRESS: ....            tld.~5~(? fJ:t-~~J\@<j.r'-1.~~'.~:&~
     MOBILE PHONE: ..                (d.~ ~ ~ ..~.~.1.            ... . . .
     PARTNER NAME:                       Ji1o,, \\" r                 (,(~_,


     PARTNER MOBILE PHONE:
                                                                      .... J... ....... .




       PRODUCT DESCRIPTION                                                                                                                                                                          RETAIL PRICE

       TAX LIEN INVESTING EDUCATION COURSE                                                                                                                                                           $       q '9c,

               - 3-Day Tax Lien Workshop
                    - Three crucial days of training on tax lien and real estate investing fundamentals from a professional.                      You can 't miss it!

               - Access to ProSourceTaxliens.com                                                                                                                                                         ;,1 luded

                   - Training Videos, Secondary Market Training, Bonus Downloads, Digital Kit, Investor Forum, State Resource Guides,                                                                    r    idea

                     Finance Network, Tax Deed Evaluator, County Auction Calendar, County Auction Lists, Online Resource Links, and more.

               -Access Tax Lien Hotline Team and Support Staff (844-292-2156)                                                                                                                                  ,,   ;


                     - Get answers to your questions about the fundamentals of tax lien and deed investing from our qualified staff.

               - Tax Lien Quick Start Kit
                     - Quickly gain the necessary foundational information to become a tax lien investor.                                                                                                •11C1udeo

               - Online Auction Center                                                                                                                                                                   no .cteo
                     - Participate in daily practice auctions, and live on line auctions to invest from the comfort of your home.                                                                        i11~Juoea




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                                                                                                                  PAYMEN T INFO:
                                                                                                                                          :2001
                                                                                                                  APPROVAL CODE:




    Customer Service: If you have any questions about this product, please feel free to contact our Customer Service Department at 844-292-215?.

    By signing above, I hereby authorize the processing of my tuition payment in exchange for the products and services stated above. I also acknowledge that I have received
    the physical materials referenced above and that I have read and agree to the terms and conditions described in the on the Fulfillment, Return, Non-Sufficient Funds, Guar-
    antees & Representations, Website Access, and Dispute Resolution on the reverse side of this Purchase Order. You may cancel this transaction at any time prior to th ree (3)
    business days after purchase.


                                                               THANK YOU FOR YOUR BUSINESS!
I     PROSOURCE           TAX    LIENS     I   2912    EXECUTIVE         PARKWAY            I   SUITE   120   I   LEHI   I   UTAH   I   (844)   292-2156     I   SUPPORT@PROSOUR CETAXLIENS.COM
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       EXHIBIT “B”
                  Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 71 of 234



      ,t Sprout                                                                                 LLC ENTITY SETUP QUESTIONNAIRE



Name:        Kelvin V Graddy

Email Address: work: kel vingraddy3 l @gmail . com

Phone Number: work: 4 04 - 5 03 - 8 o 8 9

Type of Entity:                             Single-Member Limited Liability Company

State of Registration:
                                             Utah ___     J::leiLl- ?JVj    r(Jl.1-
Business Name:                                KVG Investments LLC

Purpose of the Business:                     Self-Directed Individual Retirement Account Management

Name of Registered Agent:                    Sprout RA Services, LLC

Address of Registered Agent: 2912 W Executive Parkway Suite 120, Lehi, Utah 84043



Name of Single Member: IRA Services Trust Company, Custodian, FBO Kelvin                                           v Graddy                         , IRA

Address of Single Member: PO Box 7080, San Carlos, CA 94070-7080

Ownership Percentage of Member:                              100%


Telephone Number:              work: 4 04- 5 03 - 8 o8 9

Social Security Number (to obtain Tax ID Number): 2 4 5 -15 - a 2 a4




Manager      Signature: ~~~                                           I
Printed Name:          Kelvin V Graddy                          V
The documents prepared for you are "form" documents akin to those of online entity preparation services or other computer software programs
designed to create such documents. Any information given to you about Utah entities is general in nature only and not intended to be legal advice for
your specific circumstances. We make no representation or warranty regarding the use of your entity. If you need specific advice to create more than a
"standard " entity, please consult with an attorney in your state.

BY providing your SSN, you grant us authority as your attorney "in fact" to attempt to obtain and EIN as if you were making such effort yourself.




                                                       2912 Executive Parkway Suite 120                                   Lehi, Utah 84043




                                                                                                                                                            I
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       EXHIBIT “C”
                        Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 73 of 234



                                                                                                                     Self Directed IRA Setup Summary



                                                                  Type of Self Direct IRA Account

   D       Traditional IRA Account

   0       Roth IRA Account




Would you like your new IRA account to have checkbook control?

                      Yes                    No

                       ~                     D

                                                                             What You Receive

  ~        Entity Setup (Required for Checkbook Control Accounts)*

                 ~ Articles of Organization
                 ~ Employment Identification Number (EIN)
                 ~ Operating Agreement
                 ~ Registered Agent Service**

  li'J'    Self Directed IRA Setup

                 ~ Sprout IRA will facilitate IRS compliant transition of accounts from current trustee
                   to IRA Services and/or TD Ameritrade.
                 ~ Access to Online Account Management Portal
                 ~ Election of Traditional or_RothJB{\
                 ~ IRA Check writing ability (Checkbook Control)***
                 ~ Access to Special Advisor to IRAt




*Additional fees may be required for setup
**Only available if entity is registered in the State of Utah; first year included in cost, additional fee upon annual renewal of entity
*"You must comply with all state and federal laws, rules and regulations governing Prohibited Transactions, as defined by the Internal Revenue Code.
fCustodian may require a Special Advisor. You may select your own Special Advisor if you wish. Special Advisor may assess additional fees for services performed.
Please refer to agreements for additional terms and conditions of this transaction.




                                                                                                 DATE 2 0 1 9 - 0 1- 2 9




                                                                 2912 Executive Parkway Suite 120                                          Lehi, Utah 84043
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       EXHIBIT “D”
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                                                                                               IRA SETUP AGREEMENT



By signing this IRA SETUP AGREEMENT ("Agreement"), Kelvin V Graddy                                ("Client") has
retained Sprout IRA, LLC ("Sprout") to provide the requested services on the terms and conditions set forth in this
agreement.

    1.   Services. Sprout agrees to provide the following services (the "Services") to Client:
         a. Assist client to complete and provide appropriate documentation to establish a valid Self-Directed IRA
            ("SDIRA") in compliance with state and federal laws.
         b. Refer client to a Custodian of the SDIRA.
         c. Using information provided by client, prepare necessary documents for Client to establish a business entity
            for the SDIRA, including State registration filings, operating agreement and business employment
            identification number (EIN). Client is responsible for paying all state filing fees and any registered agent fees
            associated with the business entity.

   2.    Payment. As consideration for the Services, Client shall pay to Sprout, in advance, the amounts corresponding
         to applicable products and prices listed on Exhibit A (the "Payment"). Sprout has no obligation to provide the
         Services to Client until Payment is received and funds are cleared. Payment may be made through ACH, wire
         transfer, or credit card.

   3. Additional Work. Client understands and acknowledges that additional work beyond the scope of this
      Agreement must be negotiated separately and will require a separate Agreement.

   4.    Client Responsibilities. Client understands and acknowledges that Sprout is not an employee of Client and
         that this will be a collaborative, professional relationship where mutual professional respect, courtesy and
         consideration are expected. Client understands the importance of communication and agrees to respond to
         questions, emails, requests for information and other communications from Sprout in a timely manner. Client
         may be required to sign Federal, State or municipal forms as part of its SDIRA and agrees to do so and return
         such forms to Sprout for processing in a timely fashion. Client shall remit any necessary payments required to
         the appropriate agency or entity, prior to the deadline for making such payments.

   5.    No Representations. Sprout makes no representations that:
         a. Sprout will provide services beyond the scope of this Agreement;
         b. Client is more likely to realize a profit or gain on any investment(s) made through the SDIRA and/or its
            associated business entity as a result of the Services Sprout provides.

   6.    Indemnification. Client shall indemnify, defend and hold Sprout harmless from any and all suits, costs,
         damages, or proceedings resulting from (i) inaccurate information provided to Sprout by Client; (ii) failure to
         maintain the business entity in accordance with State and local laws in which the entity is registered; (iii)
         otherwise failing to comply with Client's responsibilities described in this Agreement. Sprout will not be held
         liable for incidental, consequential or indirect damages to Client, including without limitation damages for loss of
         profits, or loss of information.

   7.    Termination; Refund. If you desire to cancel your agreement with Sprout, you may request a refund of your
         payment, subject to the terms and conditions herein, by emailing Sprout at support@sproutlRA.com within ten
         (10) business days of your purchase. Notice of cancellation and refund requests will not be considered if not
         received at the foregoing email address. If your account has not been created with your IRA Custodian or your
         account has been created, but your entity setup has not been submitted for processing with the relevant state
         prior to receiving your notice of cancellation , then you will be given a full refund. If your account has been
         created and your entity setup has already been submitted for processing with the relevant state prior to
         receiving your notice of cancellation, you will receive a refund of one-half of your purchase price, after deducting




                                              2912 Executive Parkway Suite 120                       Lehi, Utah 84043
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          ~
              Sprout                                                                        IRA SETUP AGREEMENT




        any filing fees paid to the state on your behalf. If your account has been created and your entity has been
        created and funded, you are not eligible for a refund regardless of when the refund request is made.

        Notwithstanding the foregoing, regardless of when a refund request is received, Sprout is not responsible to
        refund any amounts paid toward fees charged by an IRA custodian for its services. It is your responsibility to
        contact the IRA custodian to cancel any agreements with the custodian and request refunds for amounts paid.
        You are responsible for any and all fees charged by the custodian to transfer your funds to a new custodian or
        account.

        Sprout is not responsible for contacting the IRS regarding any EINs obtained prior to notice of cancellation and is
        not responsible to file any tax returns related to any entity, regardless of notice of cancellation. Any approved
        refunds will be credited back to the account or card from which payment was received and will be processed
        within ten (10) business days from the date of the receipt of notice of cancellation.

        Sprout reserves the right to deny all refund requests received ten (10) business days after purchase.

   8.   Miscellaneous. This obligations of the Parties under this Agreement is separate and distinct from any
        obligations of the Parties under any other agreement entered into. Client is not relying on any representations to
        enter into this Agreement except those made explicitly herein. This Agreement shall be governed and construed
        according to the laws of the state of Utah. Any suit or action relating to this Agreement shall be instituted and
        commenced exclusively in Utah County, State of Utah and the Parties submit themselves to the jurisdiction of
        the State of Utah. The prevailing party shall be entitled to its reasonable costs and attorney's fees.

   9.   Disclosure of Information. Client herby authorizes Sprout IRA, LLC to release any and all personal information
        gathered by Sprout IRA, LLC, to Sprout Financial, LLC to assist in the process of establishing an investment
        management agreement and/or advisor relationship with Sprout Financial, LLC. Client may, at any time, revoke
        this authorization by written instruction to any member of Sprout, IRA, LLC.

Client Information:
Kelvin V Graddy
30046
Lawrenceville                Georgia 30046
Sprout IRA, LLC
2912 Executive Parkway, Suite 120
Lehi, Utah 84043

IN WITNESS WHEREOF, the parties have caused their authorized agents to execute this Agreement,
effective as of


        Client Signature:




         Kelvin V Graddy
        Client Name



                                             2912 Executive Parkway Suite 120                     Lehi, Utah 84043
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    Sprout                                                                                                              IRA SETUP AGREEMENT


'
                                                                        EXHIBIT A

                                                 Fee Schedule and Payment Authorization


                                   Service                                                                     Price

     Self-Directed IRA Account Setup                                                                         $390.00

     Entity Setup and Document Preparation (LLC)                                                             $375.00

     Limited Liability Kit                                                                                   $112.00

     State Filing Fees (Utah)                                                                                 $72.10

     Registered Agent Services (Utah)*                                                                        $0.00

                                    'free for one year - $99 annually thereafter


                                                                        Total                                $949.10



    I Kelvin V Graddy                                               authorize Sprout IRA, LLC to charge my credit card for
    $949.10 relating to the document preparation of my Self-Directed IRA.




      'Visa ending in 2687' attached




    Signature: ~~~                                                  1                                     Date: 2 O19 - O1 - 2 9

                                                                 v
    I understand that this authorization is valid and enforceable. If the actual attempt to charge falls on   a weekend or holiday,   I understand
    that the payment may be processed on the next business day. In the case of a Transaction being rejected for any reason, I understand
    that Sprout IRA, LLC may at its discretion attempt to process the charge again within 30 days, and agree to an additional $25 charge
    for each declined attempt which may be initiated as       a separate transaction. I certify that I am an authorized user of this credit card and
    will not dispute this transaction with my credit card company; so long as the transactions correspond to the terms indicated in this
    authorization form.




                                                        2912 Executive Parkway Suite 120                                         Lehi, Utah 84043
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       EXHIBIT “E”
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                                                                         File Number: 111 63 109
                                                       LLC

                                   Certificate of Organization
                                               OF
                                    KVG Investments, LLC

The undersigned person(s) do hereby adopt the following Certificate of Organization
for the purpose of forming a Utah Limited Liability Company.

                                                    Article I
The name of the limited liability company is to be KVG Investments, LLC


                                                   Article II
The purpose or purposes for which the company is organized is to engage in:
To manage self-directed individual retirement account funds

The Company shall further have unlimited power to engage in or to perform any
and all lawful acts pertaining to the management of any lawful business as well as to
engage in and to do any lawful act concerning any and all lawful business for which
a Limited Liability Company may be organized under the Utah Limited Liability
Company Act and any amendments thereto.

                                                  Article III
The Company shall continuously maintain an agent in the State of Utah for service of
process who is an individual residing in said state. The name and address of the initial
registered agent shall be:
                           (Registered Agent Name & Address)
                           SPROUT RA SERVICES, LLC
                           2912 Executive Parkway Suite #120
                           Lehi, UT, 84043


              State of Utah
              Department of Commerce
              Division of Corporations & Commercial Code

              This certifies that this registration bas been filed and
              approved on 6, February 2019 in the office of the
              Division and hereby issues this Certification thereof.




        JASON STERZER
        Division Director
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                                                         Article IV
Name, Street address & Signature of all members/managers
Manager #1
Kelvin Graddy
1530 River Main Court
Lawrenceville, GA 30046
Kelvin Graddy
Signature

DATED 6 Febrnaiy, 2019.


                                                         Article V
Management statement
This limited liability company will be managed by its Managers

                                                         Article VI
Records required to be kept at the principal office include, but are not limited to the
following:
                                                       Article VI.1
                             A cun-ent list in alphabetical order of the full name
                              and address of each member and each manager.
                                                       Article VI.2
                              A copy of the stamped certificate of Organization
                                 and all certificates of amendments thereto.
                                                       Article VI.3
                               Copies of all tax returns and financial statements
                               of the company for the three most recent years.
                                                       Article VI.4
  A copy of the company's operating agreement and minutes of each meeting of members.



                                                       Article VII

The street address of the principal place of business is:
                                                                                 1530 River Main Court
                                                                                Lawrenceville, GA 30046


                                                       Article VIII
The duration of the company shall be perpetual
Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
purposes, the business entity physical address may be provided rather than the residential or private address of any individual
affiliated with the entity.
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       EXHIBIT “F”
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                               ADMISSION CERTIFICATE                                                                 m
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                                     February 8th, 9th, & 10th, 2019
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                                    Atlanta Marriott Perimeter Center                                                m
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~                                246 Perimeter Center Parkway Northeast                                              ~
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~                                           Atlanta GA 30346                                                         ~
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                                                 Congratulations! Success starts here!
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                               It's crucial that you attend this workshop to begin your new investing journey.
                                             Arrive at 8:30am to check in. We will start promptly at 9:00am.
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       EXHIBIT “G”
                                      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 84 of 234
         ('~ PROSOURCE                                                                                                                                 DATE   re~        /(), zjJ/q
         l~ TAX LIENS                                                                                                   ADVANCE D ENROLL MENT FORM
         (Please wrne legibly and clearly)


           CLIENT NAME:          keLv-:tt0                 Gl4A A~'-1                                         PARTNER NAM E:      l<Al/(LLJ:: n[.L/) f

                                                                                                              PARTN ER ADDRESS:                                          CITY:                        ST:

                                                                                                              PARTN ER EMAIL ADDRESS:

                                                                                                              PARTNER MOBILE PHONE:            l/j~ ~ tR. ~? ~ ~~
                                                                             PRODUCT DESCRIPTION                                                                                      RETAIL PRICE

                           - Six-Week Quick Start Webinar Course                 !Six sessions!

                           - Three-Day Advanced Tax Lien Tour

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          UJ
          >
                           - Two-Day Tax Lien Mastery Training                                                                                                                           r'"uaed


          i=               - Four-Day Real Estate Summit (San Diego)                                                                                                                        1   uoea
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          UJ               - Two-Day Wholesale Mastery Bootcamp
          x
          UJ               - Two-Day Commercial, Cash Flow, and Mu lti-Unit Bootcamp                                                                                                     n      t!lh   .J




                           - One-Day Asset Protection Bootcamp

                          - Tax Lien & Real Estate Software: TaxlienCloud.com & Property Edge Pro                               11 year membership mcludedJ                              nl... udea

                                    - Access Tax Lien and Deed Inventory Listi ng                                                                                                               uJeli

                          - On-Demand Online Tax Lien Training                                                                                                                           ·r 1uried

                           - Turnkey Cash Flow Club Membership                                                                                                                                   ,,    j




                           -Access to Tax Lien & Real Estate Hotline                 (2yearsoflivesupporrJ                                                                                       Of;


                                                                                                                                             TODAY'S DISCOUNTED PRICE                  $49,994

                  - Six-Week Quick Start Webinar Course                (Six sessions)
         UJ
                  - Four-Day Real Estate Summit (Son Diego!                                                                                                                             n       uUen
         >
         i=        - Choose One: Three-Day Advanced Tax Lien Tour OR Two-Day Tax Lien Mastery Tra ining
         :::J
         u
         UJ       - Two-Day Wholesale Mastery Bootcamp
         xUJ
                  - Tax Lien & Real Estate Software: TaxlienCloud.com & Property Edge Pro                               11 year membership included)
         ~
         :::J             -Access Tax Lien and Deed Inventory Listing                                                                                                                   , 'uderf
         z
         ~
         _J
         0....
                          - Access to Tax Lien & Real Estate Hotline 11 year of live support!                                                                                                    led

                                                                                                                                             TODAY'S DISCOUNTED PRICE                  $37,994

                                                                            PAYMENT TYPE :               CREDIT CARD           CHECK            CASH              TOTAL PRIC E:
                                                                                                                                                                                                            OP
                                                                            PAYMENT INFO:                                 AMOUNT:                                 AMOUNT PAID :


                                                                            CLIENT SIGNATURE:                                                                     AM O UNT D UE:


                                                                            ADDITIONAL CARDS :


                                                                            PAYM ENT INFO Vi..sf\            1- ';~l\      \CS oou
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                                                                            PAYM ENTINFO : A-'1-         °t'UJc'j A MOUNT: \?,coo
                                                                            PAYMENT INFO:                                 AMOUNT:


                                      t'J ''2
                                                                            PAYMENT INFO :                                AMOU NT:
    . . NO'ES      rl•'J!rvlE':-s
                                     c;n:    -
        Cu stomer Service : If you have any questions about this product, please feel free to contact our Customer Service Department at 844-292-2156.
        By signing above, I hereby authorize the processing of my tuition payment in exchange for rhe products and selVices sroted above. I also acknowledge that I hove received rhe physical
        moreriols referenced above and char I hove read and agree lo the Terms and Condirions described on the reverse side of this Purchase Order Form I undersrond choc I con cancel rhis
        rronsoaion at any rime prior ro midnighl three (3) business days from rodoy's dare. I also underswnd rhot my personal success from this program will be o result of my own efforts.

    J    PROSOURCE TAX LIENS                 J   2831   ST. ROSE PARKWAY     J   SUITE 200        J   HENDERSON    J    NEVADA     J   (844) 292-2156         J   SUPPORT@PROSOURCETAXLIENS COM
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~
~              ,'''                          ('~ PROSOURCE
                                                                                                    "
                                                                                             ·.~\l\~.~:\~
                                                                                                            ~
                                                                                                            ~
~                                            l~       TAX LIENS                               . : ~ l\~J    ~
t&fa\11   i•




                        COMMITMENT
~                                      GUARANTEE                                                            ' ~
~                WE COMMIT TO WORK WITH YOU UNTIL YOU SUCCEED.                                              ~
~                            IF AFTER COMPLETING THE ONLINE PROGRAM, ATTENDING THE                          ~
      -               APPLICABLE WORKSHOPS AND TRAININGS, FOLLOWING THE RECOMMENDATIONS                          -
                       OF THE PROSOURCE INSTRUCTORS, YOU HAVE NOT COMPLETED ONE TAX LIEN
                      OR TAX DEED DEAL, WE WILL CONTINUE TO HELP YOU UNTIL YOU HAVE EARNED
                                 AT LEAST 100% OF YOUR INVESTMENT IN OUR PROGRAM.




                                 ""                    _/ '\          CLIENT NAME

                              ~                   ~~
~              ".: A~D\;~                                                                                   ~
  -                                                                                                          -
                                                   - '-'(_Y    -      DATE


~§§§G§§§§§§§§§§§§§§~
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        EXHIBIT “I”
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---------- Forwarded message ---------
From: kelvin graddy <kelvingraddy31@gmail.com>
Date: Thu, Feb 14, 2019, 3:24 PM
Subject: Re: Seed Capital Pending Applications
To: Addison Doyon <addison@seedcapital.com>



Hey Addison,

I left you a voice mail about the calls I made today.

Bank of America Cash Reward - 888-231-6262 -Application ID: 4084313657 - Application Date =
02/13/19 - application is being move forward released 24hrs for response

Barclays Choice Rewards - 866-408-4064 - - Application Date = 02/12/19 - approved for 11, 000
dollars
Chase Freedom Unlimited (New) - 888-609-7805 - - Application Date= 02/13/19 - application is
moving forward should get response btw 7 to 14 days.

On Thu, Feb 14, 2019, 1:27 PM Addison Doyon <addison@seedcapital.com wrote:
 Dear Kelvin,

 I hope you are having a great day today!

 A few of the banks want to speak with you to verify identity before they approve the cards. Please
call the banks below, say you recently applied for a card, and want to check on the status. Thee-
mail used on the applications was kelvingraddy32@gmail.com (one we created to track the
applications) and the income was $78,000. They may request more documentation such as a utility
bill, SS card , State Issued ID, etc.

ACCOUNTS IN REVIEW

Bank of America Cash Reward - 888-231-6262 -Application ID: 4084313657 -Application Date=
02/13/19

Barclays Choice Rewards - 866-408-4064 - - Application Date = 02/12/19

Chase Freedom Unlimited (New) - 888-609-7805 - - Application Date = 02/13/19

Please let me know the outcome of each call. Thank you.
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Sincerely,

Addison Doyon
Client Relations Manager
Seed Capital Corp
P: 866-988-7333 Ext. 114
Text Only: 702-721-9805
E: addison@seedcapital.com
www.seedcapital.com

1707 Village Center Cir. Suite 200, Summerlin, NV 89134




                                            2
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        EXHIBIT “J”
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---------- Forwarded message ---------
From: kelvin graddy <kelvingraddy31@gmail.com>
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To: Addison Doyon <addison@seedcapital.com>



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ACCOUNTS IN REVIEW

Bank of America Cash Reward - 888-231-6262 -Application ID: 4084313657 -Application Date=
02/13/19

Barclays Choice Rewards - 866-408-4064 - - Application Date = 02/12/19

Chase Freedom Unlimited (New) - 888-609-7805 - - Application Date = 02/13/19

Please let me know the outcome of each call. Thank you.
             Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 92 of 234

Sincerely,

Addison Doyon
Client Relations Manager
Seed Capital Corp
P: 866-988-7333 Ext. 114
Text Only: 702-721-9805
E: addison@seedcapital.com
www.seedcapital.com

1707 Village Center Cir. Suite 200, Summerlin, NV 89134




                                            2
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       EXHIBIT “K”
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----------Forwarded message---------
From: <addison@seedcapital.com>
Date: Wed, Feb 20, 2019, 6:27 PM
Subject: Seed Capital Credit Total Update - 02/20/19
To: <kelvingraddy31@gmail.com>



Seed Capital Email Update - 02/20/19

Hello Kelvin,

Here is an update on the Cash Credit Line Applications that we are working on as of today.

APPROVED ACCOUNTS - Total Lines Confirmed So Far= $65,700

5/3 Bank Truly Simple - $10,000 - 0% for 15 months on Purchases and BTs - 800-972-3030 -
Bank of America BankAmerica rd - $0 - 0% on Purch and BTs for 15 months, BT must be done within 60 days, $0 BT fees
in the first 60 days - 888-231-6262 - 4084401949
Bank of America Cash Reward - $8,000 - 0% on Purchases and BTs for 12 months, BTs must be done within 60 days of
account opening - 888-231-6262 - 4084313657
Barclays Choice Rewards - $18,000 - 0% on BTs for 15 months, BT must be done in first 45 days - DO NOT USE FOR
PURCHASES - 866-408-4064 - Verified KH inc from llk
Citi Diamond Preferred - $8,600 - 0% for 18 months on BTs and Purchases - 888-201-4523 -
Citi Rewards - $8,600 - 0% for 12 months on BTs and Purchases - 888-201-4523 -
Wells Fargo Propel Amex - $12,500 - 12 months 0% on Purchases and BTs - 800-932-6736 - 20190441003786



Congratulations, some of your applications have been accepted and credit lines granted .
If there is a $0 amount specified next to the Bank name it is because Bank underwriting has not confirmed a credit line
amount yet. Please call the number listed for the bank above to obtain these credit limits.
We ask that you DO NOT USE any of these cards until you consult with us.



ACCOUNTS IN REVIEW

GM BuyPower (Capital One) - 877-860-2113 - -Application Date= 02/12/19
Chase Freedom Unlimited (New) - 888-609-7805 - 2/14 pending - Application Date= 02/13/19



These accounts are still being evaluated by the bank. They may request more documentation such as a utility bill, SS
card, State Issued ID, etc. Please call the numbers listed above as soon as possible to help expedite the approval process.
Many banks will issue an approval on the spot once you call in to get the application out of review status .

                                                             1
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DECLINED Applications

AMEX Cash Magnet - 1-866-314-0237 -



Even with the best preparation declines do happen . Please keep in mind that Banks have their own internal client
scoring systems, and if you have ever carried high balances for longer periods oftime, filled BK against them, or had late
payments (even if less than 30 days) it could result in a decline.

We will continue to update you as additional applications are submitted and more information becomes available.

Thanks!

Addison Doyon

addison@seedcapital.com
www.SeedCapital.com




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2/22/2019




   Merchant: SEED CONSULTING LLC
   1707 Village Center Circle
   Suite 200                                             866-988-7333
   Las Vegas , NV 89134
   us
   Order Information
   Description :
                                                         P.O. Number:
   Order Number:
                                                         Invoice Number:   230495
   Customer ID:           230495


                                                        Shipping Information
   Billing Information
   Kelvin Graddy
   1530 River Main Ct
   Lawrenceville , GA 30046
   us

                                                                                Shipping:          0.00
                                                                                     Tax:   USO 299.70
                                                                                    Total: USO 2,997.00


   Payment Information
   Date/Time :                  22 -Fe b-2019 12:02 :22 PST
   Transaction ID:              61575209660
   Transaction Type:            Authoriza tion w/ Auto Capture
   Transaction Status :         Captured/Pending Settl ement
   Authorization Code :         756868
   Payment Method :             MasterCard X.XX.X2166
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      EXHIBIT “M”
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Graddy, Kelvin V

From:                             kelvin graddy <kelvingraddy31@gmail.com >
Sent:                             Tuesday, March OS, 2019 6:17 PM
To:                               Graddy, Kelvin V
Subject:                          [EXTERNAL] Fwd : Silverstrand LLC Transaction Receipt




---------- Forwarded message ---------
From: <support@taxlienoffice.com >
Date: Tue, Mar 5, 2019, 6:13 PM
Subject: Silverstrand LLC Transaction Receipt
To : <kelvingraddy31@gmail.com >




General Information

Merchant Account: Silverstrand LLC
Date/Time: 03/05/2019 4:13:17 PM MST



Transaction Information

Transaction Amount : $9,994.00
Transaction ID : 4566797363
Authorization Code : 09552Z
Transaction Type : Card Sale
Response : Approved
AVS Results: Address match only
CSC Results : CVV2/CVC2 Match



Customer Billing Information

First Name : Kelvin
Last Name : Graddy
Address :
City:
State :
Zip Code : 30046,
Country: US
Phone:
Email : kelvingraddy31@gmail.com



Customer Shipping Information

First Name:
Last Name:

                                                           1
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       EXHIBIT “N”
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                      ProSource




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Enrollment Agreement
This enrollment agreement is between Pro Source Tax liens or its nominee ("PSTL" or "We")
and Kelvin Graddy & Kavelle Fields                           ("YOU") and is dated 3/15/2019



   1. PURCHASEANDENROLLMENTPACKAGE
        a. You have selected enrollment in the following program(s):
                  i!f    Jump to Action! Custom Investor Blueprint

                  ~      Premier 1-on-1 Tax Lien Coaching   d...Q__ weeks/or sessions)
                  ~      Premier 1-on-1 Real Estate Coaching   (1_4__ weeks/or sessions)
                  ~ Assigned Senior Portfolio Advisor (Life Time Access)

                  ~      Diamond Reserved Inventory (Life Time Access)

                  iJ!f   Lifetime membership and access to Pro Source Tax Liens

                  ft     Investment Tracking Software

                  J/     Accessto Client Success Team (Life Time Access)

                  rJ/    Access to Reserved Inventory (Life Time Access)

                  D      Reserved Spot at 4-Day Real Estate Summit

                  D Reserved Spot at Tax Lien Buying Tour

                  D             Tax Lien Portfolio Credit

                  ~ Inventory Manager (Life Time Access)

                  D Asset Protection Bootcamp

                  D      Advanced Wholesale Bootcamp

                  D      Property Edge Pro Software




     TOTAL PURCHASE PRICE $21,000.00




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                II.     Acknowledgments. Because you have been accepted into our program , you
                acknowledge the following :


                         •    Any communications with PSTL or its affiliates may be monitored or recorded . To the
                              best of your knowledge, there are no circumstances that would inhibit or prevent you
                              from participating in this program. You understand and agree that PSTL or its
                              affiliates may contact you via phone, email, or text messaging . If you do not want to
                              receive any of these forms of communication , you must send your request in writing
                              to support@taxlienoffice.com .
                         •    You understand the financial commitment you are making today by entering into this
                              enrollment agreement and confirm those obligations .
                         •    You were comfortable with your conversations with PSTL and agree that you are vol-
                              untarily entering into this agreement.
                         •    You understand that this is an educational coaching program and not a specific busi-
                              ness opportunity of any kind .
                         •    You understand that you will be offered additional services as part of the program that
                              you can accept or deny at your own will.
                         •    You agree that no claims offuture earnings have been presented to you by any repre-
                              sentative of PSTL, and that we do not represent you will earn any specific amount of
                              money.
                                    ~
                Ill. Verification of Information. By initialing below, you verify that the following account information
                we have on file for you is accurate:
                Kelvin Graddy & Kavelle Fields                 1530 River Main Ct, Lawrenceville, GA 30046

                404-503-8089                                   kelvingraddy31@gmail.com
                  .k£

                IV. Right of Rescission

                a.   Your investment today is being purchased under and is governed by the laws of the State of
                     Utah . In addition to any right to otherwise revoke an offer, you the purchaser may cancel
                     this sale up to midnight of the third business day after the receipt of the merchandise or
                     premium, whichever is later. All requests to rescind must be made in writing to one of the
                     following:


                             Mail: Pro Source Tax Liens
                             2912 W Executive Pkwy, Ste 120
                             Lehi, UT 84043
                             Email: lacie@taxlienoffice.com

                b.   Due to the investments of time, resources , services, and products that we will make on your
                     behalf to help you succeed and that cannot be recouped by PSTL, all cancellation requests
                     made after this three-day period will not be eligible for a refund of any kind whatsoever.


                c.   You understand and agree that the value you will derive from our products and/or services will
                     be a function of the level of effort you put forth, your level of comprehension, market conditions,
                     individual monetary investments, business experience, expertise, and your level of desire and
                     willingness to take action on the information provided . We have not, cannot and will not make
                     any guarantee of success, income , profit, or revenue of any kind , whether explicit or implied.
                     You acknowledge that you have not relied on any such representation or guarantee in entering
                     into this Agreement.




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      a.   Use of Products


     All material you receive from PSTL is proprietary to PSTL and/or the affiliates it works with to fulfill
     the education, resources, services, and products included in your package. You are purchasing
     these products and/or services for your own use and not for distributions or resale, which is ex-
     pressly prohibited .




     b.    Payment Terms


     You agree to pay PSTL according to the information outlined under this section titled, "Payment
     Terms". Your payment to PSTL today will be made as follows :



     Payment type:

     '6credit Card D ACH

     Card Type: ~V~i~s~a~-                                   Name on Card : Kelvin      Graddy
     Last 4 Digits: _2_2_0_9_ _ _ _ _ _ _ _ _ _ Amount to be processed:$ $6,000.00

     ~Credit Card D ACH
     Card Type: Mastercard                                    Name on Card:   Kelvin Graddy
     Last 4 Digits: _0_3_9_3
                          _ _ _ _ _ _ _ _ _ _ Amount to be processed:$ $7,500.00

     tZJ' Credit Card   D ACH

     Card Type: Mastercard                                   Name on Card:    Kelvin Graddy
     Last4 Digits :_2_3_1_1_ _ _ _ _ _ _ _ _ _ Amountto be processed: $ $7,500.00

     Bank: - - - - -- - - - - - - - - - - Name on Account: _ _ _ _ _ _ _ __

     Last 4 Digits:_ _ _ __ _ _ _ _ __ _ __ Amount to be processed :$_ _ _ _ _ __

     In the event that any balance remains unpaid and requires financing:

     Financed Amount: $_ _ _ _ __

     Note when paying by credit card: because of our accounting procedures, your credit card statements may

     show multiple transactions.




                                                              Date: 3/15/2019




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      Rights and Responsibilities.


     a.   In the event of a claim or dispute, you will first negotiate with us in good faith . If a resolution can-
          not be achieved , you agree that any court proceedings will take place in Utah County, State of
          Utah and you agree to jurisdiction of that State. This Agreement is governed by the laws of the
          State of Utah without regard to principles of conflicts of law.

     b.   As a user of our programs and materials, you will be invited to provide success stories, testi-
          monials or other opinions about your experiences. You agree to be honest, truthful and com-
          plete in your statements and representations of success you provide. By providing such opin-
          ions, you hereby grant PSTL and its affiliates the right to use your testimonials and opinions, or
          any segment thereof, in whole or in part (with minor editions for clarity if necessary), for promo-
          tional purposes without compensation to you . Your authorization to use success stories and
          testimonials includes your permission to use such statements and information in all mediums
          including newsletters, web pages, and promotional materials. This authorization includes the
          right for PSTL to use your name, voice, image, film , video, audio recordings or statements, or
          any derivative work, in all media , and you waive any right to inspect or approve such use. PSTL
          may contact you at a later date for additional information and clarification regarding your
          experiences and successes.


     c.   We invest substantial amounts of time and funds in the research and development of our
          technologies, educational materials, systems, and coaches, which are for the use and benefit of
          its students. PSTL may suggest third-party products or services creates a relationship be-tween
          you and the third-party provider, and PSTL disclaims any responsibility for the purchase or the
          relationship, even if PSTL receives value for suggesting such third-party prod-ucts or services .


     d.   We value your privacy. Any personally identifiable or financial information you provide us will
          only be used for the purposes for which it was obtained.




     V.   Program Terms and Conditions


     a.   You were brought aboard because you committed to the following key commitments:

                   •    You will commit 3-5 hours per week to this program , and use the coaching hotline
                        as directed by your Senior Portfolio Advisor.
                   •    You will have scheduled appointments with your Senior Portfolio Advisor. Any
                        rescheduling of your appointments will be mutually agreed upon by you and your
                        coach. Please provide a minimum of twenty-four (24) hours' notice of any need to
                        reschedule.
                   •    You will take action on principles you learn , including doing all assignments, and
                        report back to your coach as directed.


     b.   Helping you succeed is our top priority. Our program is educational in nature. We cannot guar-
          antee or represent that you will earn any specific amount of money. If we have not met or ex-
          ceeded your expectations in the program, we will continue to work with you at our own expense
          until those expectations are met.


     c.   Your education will include both one-on-one telephone education sessions along with online
          recorded education sessions . One-on-one education sessions with your Senior Portfolio Adviser
          will typically be scheduled at least once a week. Your trainer will call you for your one-on-one
          session at the times agreed to and scheduled by you . If you ever need to reschedule a one-on-
          one




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          personal education session , please do so at least 48 hours in advance. To reschedule a
          ses-sion , please call the scheduling department (at our education office) at 1-801-855-5771 .
          Because the Senior Portfolio Adviser's time is valuable, attempting to reschedule a personal
          one-on-one session within the 48-hour period , or missing a scheduled session , may result in
          a lost session.

     d.   If this enrollment package includes a tax lien portfolio credit, this credit shall only be valid to-
          wards the purchase of tax liens and tax deeds from REI Holdings, LLC. This credit is non-re-
          fundable and will expire if a tax lien or tax deed portfolio is not purchased within ninety (90) days
          from the date of execution of this Agreement.

     e.   If you have any general questions, please contact student care by calling 1-801-855-5771.




     This enrollment agreement is governed by the laws of the state of Utah. By signing below, the
     user indicates that they agree to the terms of this agreement, specifically the payment terms and
     cancelation I refund policy. Note that your digital signature is equivalent to a handwritten signature
     (as provided in the Federal E-Sign Act, and the Utah Electronic Signature Act).




                                                          Date:   _3_/_15_/_2_0_1_9_ _ _ __




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       EXHIBIT “O”
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                                          Tax Lien Assignment Agreement
     This Agreement (the "Agreement") is made and entered by and between REI Holdings or its affiliates and subsidiaries
     ("Assignor") and 4K COIN LLC ("Assignee"), for and in consideration of the mutual covenants herein contained and
     other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged.
   1. Payment of Purchase Price : Assignee hereby agrees to purchase, and Assignor agrees to assign the "Tax Liens" (as
        identified in the attached Exhibit "A"). for "Purchase Price" equal to $2,244.84 for the tax lien(s). The full Purchase
        Price is to be paid in full in good funds within three (3) business days of the date of this Agreement. Upon receipt of
        the full Purchase Price in good funds, Assignor shall transfer and assign to Assignee any and all of Assignor's right,
        interests in and to, including without limitation, any and all redemption proceeds, recoveries, real property interests,
        rights relating thereto or resulting therefrom the "Tax Liens ." After that three-day period all sales are final and will not
        be cancelled, voided, or refunded . If Assignee fails to make the payment required in Section 1 of this Agreement,
        Assignor shall terminate any and all of Assignor's obligations, including, but without limitation, transfer or assignment
        of the Tax Liens, which shall remain Assignor's property. In the event it is determined that the interest in a Tax Lien
        cannot be assigned to Assignee, Assignor reserves the right to replace said Tax Lien with another of reasonably
        equivalent value, with the difference in value to be paid by the appropriate Party.
  2. The Assignee acknowledges that Assignor has not authorized any employee, agent, representative, broker, third party
       or other party to make, and to the extent so made, specifically negate and disclaim, any representations, warranties,
        promises, covenants, agreements or guarantees of any kind or character whatsoever, whether expressed or implied,
       oral or written, past, present or future, or as to, concerning, or with respect to the Tax Liens. Assignor further
       specifically makes no representation or warranty to Assignee or any of Assignee's successors and assigns as to the
       collectability of any Ta x Lien. Assignee acknowledges and agrees that (I) it is solely responsible for determining the
       advisability and suitability of and entering into any transaction and hereby assumes all risks related thereto, and (II)
       Assignor assumes no responsibility for such decisions or determinations or the results, returns or losses related to any
       investment decision made or transaction entered into by Assignee . As an independent, self-directed party, Assignee
       assumes full responsibility for entering into each and every transaction and Assignee represents that it has conducted
       its own due diligence, evaluations, analyses, assessments and decisions related to the Ta x Liens or the real property
       encumbered by the Tax Liens hereto prior to entering into this Agreement. Assignee acknowledges and agrees that
       Assignor shall not have any liability whatsoever for the results or returns of any of the foregoing or any losses incurred
       by Assignee related thereto . The Assignee acknowledges and agrees that the tax liens are being sold "as is", "where
       is" "with all faults", and without any representation or warranty of any kind or nature, express, implied, or limited ,
       and without any recourse against Assignor. Assignee is solely responsible for taking necessary and required action to
       perfect Assignee's Tax Liens and/or to seek redemption thereof. Assignee is solely responsible for any and all fees
       charged by the municipality that issued Assignee's Tax Liens. In any instance where an attorney a foreclosure action
       has been or is filed against the property subject to a Tax Lien, Assignee agrees and acknowledges that Assignee is
       solely responsible to pay all legal costs and attorney's fees associated therewith and incurred after the date of this
      Agreement and to hold Assignor harmless from the same . Assignee understands and acknowledges that
      Assignee may take title to property, whether .before or after the Tux Lien is transferred into Assignee's
       name and such property may be in need of repair to comply with local laws, codes and ordinances.
      Assignee is solely responsible to make any repairs required by the municipalities in which the property
·      is situated. Assignor makes no representation or warranty regarding the condition of such property.
  3. If you are not satisfied with your purchase of the tax liens or tax deeds outlined in this contract, REI Holdings will
       purchase your portfolio back from you under the following conditions: (1) If the ta x deed and/or tax lien have been
      transferred into your name, we require that they be transferred back to REI Holdings' name before a refund can be
       issued; (2) All refund requests must be made in writing to support@re i-holdings.com within thirty (30) days of your
      execution of the contract, after which all sales are final; and (3) All buy-backs of tax liens and ta x deeds are subject to
      a fifteen percent (15%) restocking fee . In the event that it is determined after your purchase that the rights to a ta x
      lien you have purchased cannot be or was not properly transferred to you then you are entitled to a refund as
      follows : (i) if such a determination is made within one (1) year following your purchase, you are only entitled to a
      complete refund of your purchase price and all fees associated with the deficient tax lien; (ii) if such a determination is
      made more than one (1) year following your purchase, you are entitled to your purchase price and all fees associated
      with the deficient tax lien, plus interest on the refund amount in the amount of the Federal postjudgment interest
      rate, however in no case no more than five percent (5%) per annum, beginning one (1) year from the date of your
      purchase of the deficient tax lien.
  4. Assignee acknowledges that (i) there is presently no public market for tax liens; (ii) investment in tax liens and
      transactions involves a degree of risk; (iii) Assignee's financial condition is such that it can handle the risks associated
      with such an investment. In the ev.enL of___g dis(Jute, the Parties submit to the ·urisdiction of the State of Utah, waiving
      any jurisdiction in the State in which the property subject to the Tax Liens iSTOC:ated, and                e venue of any
      groceedings shaJLb_e_lltfil]_ County2t;?te of lJtah . The parties agree that Utah law shall govern this Agreement without
      regard for the principle of conflicts of law. The prevailing Party shall be entitled to recovery of its costs and reasonable
      attorney's fees .
  5. Assignee agrees to the terms and conditions of the website www.rei-ho ldings.com ("Website"). which are incorporated
      into this Agreement by reference in their entirety. In the event of a direct conflict between this Agreement and the
      terms and conditions of the Website, this Agreement shall control.
     Assignee:                                                     Assignor:
     4K COIN LLC                                                   REI Holdings, LLC
     1530 RIVER MAIN CT                                            2912 W Executive Parkway
     LAWRENCEVILLE, GA 30046                                       Suite 120, Lehi UT 84663
     IN WITNESS WHEREOF, the parties have caused their authorized agents to execute this Agreement, effective as of

     03/29/2019
     Assignee:                                                     Assignor:




     Kelvin Graddy
                                                                   d~
                                                                   Edward Stewart
                                                                   Manager

                  For list of tax lien certificate(s}, please see attached certificate list (Exhibit A).
      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 109 of 234

                              Exhibit A: Tax Lien Schedule
 PARCEL ID     PROPERTY          COUNTY         CERTIFICATE      FACE             REDEMPTIVE     INTEREST
  NUMBER         TYPE                              YEAR         AMOUNT              VALUE          RATE

402119109002     Vacant          Charlotte       2013-06-01      $322 . 81            $668 .01    18.00%
               Residentia I       County

402124232006    Vacant           Charlotte       2013-06-01      $357.63              $739.39     18.00%
               Residential        County

402203101003     Vacant          Charlotte       2013-06-01      $375 .00             $775 .00    18.00%
               Residential        County




                        DESCRIPTION                                     AMOUNT

                        PURCHASE PRICE FOR TAX LIENS                    $2,182.40

                                             TRANSACTION FEES

                        MUNICIPAL TRANSFER FEES                               $6.75

                        SERVICING FEE                                        $32.74

                        ADMINISTRATION FEE                                   $22.95

                        CREDIT                                                $0.00

                                                              TOTAL     $2,244.84
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 110 of 234




        EXHIBIT “P”
Bill history - Real Estate Account
                         Case      at 21019 HILLSBOROUGH
                               1:21-cv-00639-SDG         BLVD... 1https://charlotte.county-taxes.com/public/real_estate/parcels/4022031
                                                      Document        Filed 02/12/21 Page 111 of 234                                    ...




                (''":·.-~ CharCotte County '{ax__ Co[fector
                 ~         ·         ~·       'Vicl(je L. r?olls, C<FC
                      ~     .... ~



                                      Accuracy of the information provided on this web site is not guaranteed for legal purposes . Changes may occur daily
                                      and to get the most current information, please contact The Tax Collecto~s Office.

                                      *N OTE* An additional 2.5% convenience fee or a minimum transaction fee of $2.50 will be Incurred for Visa,
                                      MasterCard, Discover, and American Express.




                 Bill History- Real Estate Account At 21019 HILLSBOROUGH BLVD, PORT                                                                                  Print this pa ge ]
                 CHARLOTTE
                Real Estate Account #402203101003                                                                     ~ Parcel details     ,:; Latest bill   ,j.i Full bill history

                 Litl Get Bills by Email


                 Pay all: $4,840.58

                Amounts as of 0410512019

                 Biii                                     Balance                                  Status                                 Action
                  -      2018 Annual Bill                  $349.10
                 """                                                                                                                           Pay this bill: $349.10

                                                                                                                                          ~ Print (PDF)

                  -      2017 Annual Bill                  $465.48
                 l..:J
                                                                                                                                               Pay this bill: $465.48

                                                                                                                                          ~ Print {PDF)

                         Issued certificate #3914    Face $394.19                  06/01/2018    Certificate issued
                                                        Rate 18%
                                                                                   05/01/2018    Advertisement file created

                 i:; 2016 Annual Bill                      $495.72
                                                                                                                                               Pay this bill: $495.72

                                                                                                                                          ~ Print {PDF)

                         Issued certificate #3898    Face $381.59                  06/01/2017    Certificate issued
                                                      Rate 14.75%
                                                                                   05/02/2017    Advertisement file created

                 -       2015 Annual Bill                  $581 .30
                 '""'                                                                                                                          Pay this bill: $581.30

                                                                                                                                          ~ Print (PDF)

                         Issued certificate #3930    Face $377.08                  06/01/2016    Certificate issued
                                                        Rate 18%
                                                                                   05/02/2016   Advertisement file created

                 -       2014 Annual Bill                  $642.71
                 """                                                                                                                           Pay this bill: $642.71

                                                                                                                                          ~ Print {PDF)

                         Issued certificate #3635    Face $373.29                  06/01/2015   Certificate issued
                                                        Rate 18%
                                                                                   04/29/2015   Advertisement file created

                 -       2013 Annual Bill                  $684.36
                 """                                                                                                                           Pay this bill: $684.36

                                                                                                                                          ~ Print (PDF)

                         Issued certificate #3665    Face $359.74                  06/01/2014   Certificate issued
                                                        Rate 18%                   05/01/2014 Advertisement file created

                 Total Balance                           $4,840.58
                                                                                                                                             Pay all: $4,840.58




1of4                                                                                                                                                                               4/5/2019, 4:52 AM
 Bill history- Real Estate Account at 21019 HILLSBOROUGH BLVD ...
                           Case 1:21-cv-00639-SDG Document 1https ://charlotte.county-taxes.com/public/real_
                                                               Filed    02/12/21 Page 112 of 234estate/parcels/4022031 ...

                  Bill                                      Balance                                Status                            Action
                  c;i 2012 Annual Bill                      $780.63
                                                                                                                                          Pay this bill: $780.63

                                                                                                                                     ~ Print {PDF)
                          Issued certificate #3828     Face $375.00                06/01/2013   Certificate issued
                                                          Rate 18%
                                                                                   05/01/2013   Advertisement file created

                  c;i 2011 Annual Bill                      $841.28
                                                                                                                                          Pay this bill: $841 .28

                                                                                                                                     ~ Print {PDF)

                          Issued certificate #4093     Face $371.95                05/31/2012   Certificate issued
                                                          Rate 18%
                                                                                   05/01/2012   Advertisement file created

                  GJ     2010 Annual Bill                     $0.00                                                                  ~ Print {PDF)

                         Expired certificate #4037     Face $405.13                05/31/2011   Certificate issued
                                                          Rate 18%
                                                                                   05/03/2011   Advertisement file created

                  c:;;   2009 Annual Bill                     $0.00                                                                  ~ Print {PDF)
                         Expired certificate #4064     Face $495.67               06/01/2010    Certificate issued
                                                          Rate 18%
                                                                                  05/01/2010    Advertisement file created

                 .:; 2008 Annual Bill                         $0.00                                                                  ~ Print {PDF)

                         Expired certificate #4001     Face $502. 06              06/01/2009    Certificate issued
                                                          Rate 18%
                                                                                  05/01/2009    Advertisement file created

                 ._:; 2007 Annual Biii                                            10/22/2008    Paid $651.33 Receipt #2008-7001329   ~ Print {PDF)

                 LJ      Tax Deed Application #81027                              10/22/2008    Deed sale
                                                                                  04/30/2008    Deed applied

                 .:; 2006 Annual Bill                                             10/22/2008    Paid $689.38 Receipt #2008-7001329   ~ Print {PDF)

                 LJ Tax Deed Application #81027                                   10/22/2008    Deed sale
                                                                                  04/30/2008    Deed applied

                 .:; 2005 Annual Bill                         $0.00               10/22/2008    Paid $627.97 Receipt #2008-7001329   ~ Print {PDF)

                 LJ      Tax Deed Application #81027                              10/22/2008    Deed sale
                                                                                  04/30/2008    Deed applied

                 ..::;i 2004 Annual Bill                                          07/11/2005    Paid $259.36 Receipt #2004-7030352   ~ Print {PDF)

                 LJ      Tax Deed Application #50211                              09/13/2005    Deed sale
                                                                                  06/23/2005    Deed applied

                 l::;,   2003 Annual Bill                                         07/11/2005    Paid $188.07 Receipt #2004-7030352   ~ Print {PDF)

                 L_J     Tax Deed Application #50211                              09/13/2005    Deed sale
                                                                                  06/23/2005    Deed applied

                 .:; 2002 Annual Bill                                             07/11/2005    Paid $248.47 Receipt #2004-7030352   ~ Print {PDF)

                LJ       Tax Deed Application #50211                              09/13/2005    Deed sale
                                                                                  06/23/2005    Deed applied

                 ..::;i 2001 Annual Bill                      $0.00               11/26/2001    Paid $145.29 Receipt #2001-9134761   ~ Print {PDF)

                 GJ      2000 Annual Bill                     $0.00                12/04/2000   Paid $126.14 Receipt #2000-9055477   ~ Print {PDF)
                                                                       Effective 11130/2000

                 .:; 1999 Annual Bill                                             07/11/2005    Paid $330.72 Receipt #2004-7030352   ~ Print {PDF)

                LJ       Tax Deed Application #50211                              09/13/2005    Deed sale
                                                                                  06/23/2005    Deed applied

                .:; 1998 Annual Bill                                              07/11/2005    Paid $317.77 Receipt #2004-7030352   ~ Print {PDF)

                LJ       Tax Deed Application #50211                              09/13/2005    Deed sale
                                                                                  06/23/2005    Deed applied

                Total Balance                            $4,840.58
                                                                                                                                       Pay all: $4,840.58




2 of4                                                                                                                                                               4/5/2019, 4:52 AM
 Bill history - Real Estate Account
                         Case       at 21019 HILLSBOROUGH
                                1:21-cv-00639-SDG         BLVD... 1https
                                                       Document          ://charlotte.county-taxes.com/public/real_
                                                                       Filed   02/12/21 Page 113 of 234estate/parcels/4022031...

                    Bill                                  Balance                           Status                             Action
                    .:; 1997 Annual Biii                     $0.00          07111 /2005   Paid $485.97 Receipt #2004-7030352   ~ Print (PDF)

                    L.J    Tax Deed Application #50211                      09/13/2005    Deed sale
                                                                            06/23/2005    Deed applied
                   Total Balance                         $4,840.58
                                                                                                                                 Pay all: $4,840.58




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3 of 4                                                                                                                                                4/5/2019, 4:52 AM
Bill history - Real Estate Account at 12101 KELLER AVE, PORT ...                                          https://charlotte.county-taxes.com/public/real_ estate/parcels/4021191 ...
                            Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 114 of 234




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                                          MasterCard, Discover, and American Express.




                Bill Histo            -      Real Estate Account At 12101 KELLER AVE PORT CHARLOTTE
                Real Estate Account #402119109002                                                    ~ Parcel details        .:; Latest bill    .._!-J Full bill history


                 L4' Get Bills by Email


                 Pay all: $4,381.01

                Amounts as of 04105'2019

                 Biii                                         Balance                                  Status                                  Action

                  -       2018 Annual Bill                     $319.21
                 ..:.
                                                                                                                                                     Pay this bill: $319.21

                                                                                                                                               ~ Print (PDF)

                  -       2017 Annual Biii                     $447.98
                 '""'                                                                                                                                Pay this bill: $447.98

                                                                                                                                               ~ Print (PDF)

                          Issued certificate #2786       Face $399.76                  06/01 /2018   Certificate issued
                                                            Rate 18%                                 Advertisement file created
                                                                                       05/01/2018

                  -       2016 Annual Biii                     $463.59
                 c.:;:,
                                                                                                                                                    Pay this bill: $463.59

                                                                                                                                               ~ Print (PDF)

                          Issued certificate #2674       Face $356.54                  06/01/2017    Certificate issued
                                                          Rate 14.75%
                                                                                       05/02/2017    Advertisement file created

                  -       2015 Annual Biii                    $550.89
                 '""'                                                                                                                               Pay this bill: $550.89

                                                                                                                                               ~ Print (PDF)

                          Issued certificate #2662       Face $492.89                  06/01/2016    Certificate issued
                                                            Rate 18%
                                                                                       05/02/2016    Advertisement file created

                  - 2014 Annual Biii                          $572.46
                 ...::.
                                                                                                                                                    Pay this bill: $572.46

                                                                                                                                               ~ Print (PDF)

                          Issued certificate #2413       Face $332.09                  06/01/2015    Certificate issued
                                                            Rate 18%
                                                                                       04/29/2015    Advertisement file created

                  -       2013 Annual Biii                    $623.81
                 c ::J
                                                                                                                                                    Pay this bill: $623.81

                                                                                                                                               ~ Print (PDF)

                          Issued certificate #2362      Face $327.62                   06/01/2014    Certificate issued
                                                           Rate 18%
                                                                                       05/01/2014    Advertisement file created

                Total Balance                               $4,381.01
                                                                                                                                                 Pay all: $4,381.01




1of3                                                                                                                                                                          4/5/2019, 4:50 AM
Bill history - Real Estate Account at 12101 KELLER AVE, PORT ...                                      https://charlotte.county-taxes.com/public/real_estate/parcels/4021I91 ...
                             Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 115 of 234

                    Bill                                    Balance                                Status                              Jlction

                    GI     2012 Annual Bill                 $672.85
                                                                                                                                            Pay this bill: $672.85

                                                                                                                                       ~ Print (PDF)
                           Issued certificate #2391    Face $322.81                06/01 /2013   Certificate issued
                                                          Rate 18%
                                                                                   05/01/2013    Advertisement file created

                    G      2011 Annual Bill                 $730.22
                                                                                                                                            Pay this bill: $730.22

                                                                                                                                       ~ Print (PDF)

                           Issued certificate #2645    Face $322.48               05/31/2012     Certificate issued
                                                          Rate 18%
                                                                                  05/01/2012     Advertisement file created

                    G      2010 Annual Bill                    $0.00                                                                   ~ Print (PDF)

                           Expired certificate #2674   Face $321 .51               05/3 1/2011   Certificate issued
                                                          Rate 18%
                                                                                   05/03/2011    Advertisement file created

                   Q       2009 Annual Bill                    $0.00                                                                   ~ Print (PDF)

                           Expired certificate #2701   Face $320.88               06/01/2010     Certificate issued
                                                          Rate 18%
                                                                                  05/01/2010     Advertisement file created

                   G       2008 Annual Bill                   $0.00               05/26/2009     Paid $321 .06 Receipt #2008-7022817   ~ Print (PDF)

                   G       2007 Annual Bill                   $0.00               02/11/2008     Paid $327.43 Receipt #2007-9091455    ~ Print (PDF)

                   GJ      2006 Annual Bill                   $0.00                11/09/2006    Paid $350.33 Receipt #2006-9012270    ~ Print (PDF)

                   Q       2005 Annual Bill                   $0.00               11 /21/2005    Paid $222.46 Receipt #2005-9028302    ~ Print (PDF)

                   GJ      2004 Annual Bill                   $0.00               12/21/2004     Paid $120. 11 Receipt #2004-9084413   ~ Print (PDF)

                   GJ      2003 Annual Bill                   $0.00               02/21/2007     Paid $150.01 Recelpt#2006-2017284     ~ Print (PDF)

                           Redeemed certificate #5200"ace $126.38                 02/21/2007     Certificate redeemed
                                                         Rate5%
                                                                                  06/01/2004     Certificate issued
                                                                                  05/01/2004     Advertisement file created

                   GJ      2002 Annual Biii                   $0.00               02/25/2003     Paid $86.38 Receipt #2002-2017610     ~ Print (PDF)

                   Q       2001 Annual Bill                   $0.00               11/30/2001     Paid $99.39 Receipt #2001-2008562     l2j Print (PDF)
                   G       2000 Annual Bill                   $0.00                04/02/2001    Paid $106.50 Receipt #2000-9089924    l2j Print (PDF)
                                                                       Effective 0313112001
                   Total Balance                          $4,381 .01
                                                                                                                                         Pay all: $4,381.01




                 lv1sAI




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2 of3                                                                                                                                                                41512019, 4:50 AM
Bill history - Real Estate Account at 3112 BRECKINRIDGE ST, PO ...                                     https://charlotte.county-taxes.com/public/real_estate/parcels/4021242 ...
                          Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 116 of 234


                {'"~·-~ Charfotte County rr'ax., Co[fector
                ~                   j          rc/icl(je L. Potts, C(FC
                      ~o4~



                                        Accuracy of the information provided on this web s~e is not guaranteed for legal purposes . Changes may occur daily
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                                        MasterCard, Discover, and American Express.




                Bill Histo          -      Real Estate Account At 3112 BRECKINRIDGE ST PORT CHARLOTTE
                Real Estate Account #402124232006                           ~ Parcel details - Latest bill J.l Full bill history
                                                                                                                          L..::;




                '-"" Get Bills by Email


                 Pay all: $4,699.62

                Amounts as of 0410512019

                 Biii                                              Balance                              Status                             Action
                  -     2018 Annual Biii                            $341 .09
                 """'                                                                                                                             Pay this bill: $341.09

                                                                                                                                           ~ Print {PDF)

                 .::; 2017 Annual Biii                              $456.93
                                                                                                                                                  Pay this bill: $456.93

                                                                                                                                           ~ Print {PDF)

                        Issued certificate #3017              Face $386.85           06/01/2018   Certificate issued
                                                                 Rate 18%
                                                                                     05/01/2018   Advertisement file created

                 G      2016 Annual Bill                           $489.20
                                                                                                                                                  Pay this bill: $489.20

                                                                                                                                           '!j   Print {PDF)

                        Issued certificate #2924              Face $376.51           06/01/2017   Certificate issued
                                                               Rate 14.75%
                                                                                     05/02/2017   Advertisement file created

                 .::; 2015 Annual Biii                             $563.35
                                                                                                                                                  Pay this bill: $563.35

                                                                                                                                           ~ Print {PDF)

                        Issued certificate #2923              Face $365.31          06/01/2016    Certificate issued
                                                                 Rate 18%
                                                                                    05/02/2016    Advertisement file created

                 G      2014 Annual Bill                           $618.35
                                                                                                                                                 Pay this bill: $618.35

                                                                                                                                           ~ Print {PDF)

                        Issued certificate #2670             Face $359.00           06/01/2015    Certificate issued
                                                                Rate 18%
                                                                                    04/29/2015    Advertisement file created

                 .::; 2013 Annual Biii                             $675.01
                                                                                                                                                 Pay this bill: $675.01

                                                                                                                                          ~ Print {PDF)

                        Issued certificate #2620             Face $354.78           06/01/2014    Certificate issued
                                                                Rate 18%
                                                                                    05/01/2014 Advertisement file created

                Total Balance                                    $4,699.62
                                                                                                                                              Pay all: $4,699.62




1 of4                                                                                                                                                                      4/5/2019, 4:51 AM
 Bill history - Real Estate Account at 3112 BRECKINRIDGE ST, PO ...                          https://charlotte.county-taxes.com/public/real_ estate/parcels/4021242 ...
                              Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 117 of 234

                     Bill                                     Balance                          Status                        Action

                     GJ     2012 Annual Bill                   $744.76
                                                                                                                                    Pay this bill: $744.76

                                                                                                                             l2j   Print (PDF)

                            Issued certificate #2687      Face $357.63    06/01 /2013    Certificate issued
                                                             Rate 18%
                                                                          05/01 /2013    Advertisement file created

                !    GJ     2011 Annual Bill                  $810.93
                                                                                                                                   Pay this bill: $810.93

                                                                                                                             ~ Print (PDF)

                            Issued certificate #2927     Face $358.43     05/31 /2012    Certificate issued
                                                            Rate 18%
                                                                          05/01/2012     Advertisement file created

                     GJ     2010 Annual Bill                     $0.00                                                       ~ Print (PDF)

                            Expired certificate #2916    Face $368.76     05/31/2011     Certificate issued
                                                            Rate 18%
                                                                          05/03/2011    Advertisement file created

                     Q      2009 Annual Bill                    $0.00                                                        ~ Print (PDF)

                            Expired certificate #2939    Face $467.57    06/01/2010     Certificate issued
                                                            Rate 18%
                                                                         05/01 /2010    Advertisement file created

                     GJ     2008 Annual Bill                    $0.00                                                        ~ Print (PDF)

                            Expired certificate #2866    Face $595.45    06/01 /2009    Certificate issued
                                                            Rate 18%
                                                                         05/01 /2009    Advertisement file created

                     GJ     2007 Annual Bill                    $0.00    05/17/2010     Paid $774.39 Receipt #200~7016774    ~ Print (PDF)

                            Redeemed certificate #2914   Face $571.11    05/17/2010     Certificate redeemed
                                                         Rate 17.25%
                                                                         06/01 /2008    Certificate issued
                                                                         05/01/2008     Advertisement file created

                     GJ     2006 Annual Bill                    $0.00    03/27/2009     Paid $566.38 Receipt #2008-7018893   ~ Print (PDF)

                            Redeemed certificate #2324   Face $533.46    03/27/2009     Certificate redeemed
                                                          Rate 0.25%
                                                                         06/01 /2007    Certificate issued
                                                                         05/01 /2007    Advertisement file created

                                                                $0.00    10/18/2006     Paid $398.76 Receipt #2006-7000358   ~ Print (PDF)
                            Redeemed certificate #1659   Face $373.82    10/1 8/2006    Certificate redeemed
                                                          Rate0.25%
                                                                         06/01/2006     Certificate issued
                                                                         05/01/2006     Advertisement file created

                    GJ    2004 Annual Bill                      $0.00    07/18/2005     Paid $221.48 Recelpt#2004-7030589    ~ Print (PDF)
                          Redeemed certificate #1605     Face $204.98    07/18/2005     Certificate redeemed
                                                          Rate 0.25%
                                                                         06/01/2005     Certificate issued
                                                                         05/01 /2005    Advertisement file created

                    G     2003 Annual Bill                      $0.00    06/17/2004     Paid $188.10 Receipt #2003-7038451   ~ Print (PDF)
                          Redeemed certificate #2255     Face $173.19    06/17/2004     Certificate redeemed
                                                          Rate 0.25%
                                                                         06/01 /2004    Certificate issued
                                                                         05/01 /2004    Advertisement file created

                    GJ    2002 Annual Bill                      $0.00    06/17/2004     Paid $195.98 Receipt #2003-7038451   ~ Print (PDF)
                          Redeemed certificate #3181     Face $158.77    06/17/2004     Certificate redeemed
                                                            Rate 18%
                                                                         06/01/2003     Certificate issued
                                                                         05/01/2003     Advertisement file created

                    Q     2001 Annual Bill                      $0.00    06/17/2004     Paid $220.10 Receipt #2003-7038451   ~ Print (PDF)

                          Redeemed certificate #3259     Face $183.56    06/17/2004     Certificate redeemed
                                                            Rate 18%
                                                                         06/01/2002     Certificate issued
                                                                         05/01 /2002    Advertisement file created

                    GJ    2000 Annual Bill                      $0.00    06/17/2004     Paid $208.48 Receipt #2003-7038451   ~ Print (PDF)
                    Total Balance                           $4,699.62
                                                                                                                               Pay all: $4,699.62




2 of4                                                                                                                                                        4/5/2019, 4:51 AM
Bill history - Real Estate Account at 3112 BRECKINRIDGE ST, PO .. .                             https ://charlotte.county-taxes.com/public/real_ estate/parcels/4021242 ...
                            Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 118 of 234

                    Biii                                        Balance                          Status                   Action
                           Redeemed certificate #3123       Face $173.59      06/17/2004    Certificate redeemed
                                                               Rate 18%
                                                                              06/01 /2001 Certificate issued
                                                                              05/01 /2001   Advertisement file created
                    Total Balance                              $4,699.62
                                                                                                                             Pay all: $4,699.62




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3 of4                                                                                                                                                 4/5/2019, 4:51 AM
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 119 of 234




       EXHIBIT “Q”
                  Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 120 of 234




----------Forwarded message---------
From : Karla Trejo (Student Success) <support@studentsuccess.zendesk.com>
Date: Wed, Jun 19, 2019, 4:54 PM
Subject: [Request received] Account setup for TDA's
To: kelvin <kelvingraddy31@gmail.com>




Your request (65957) has been 1·eceived and is being reviewed by our support staff.


To add addit ion al comme nts, reply to th is emai l.




              Karla Trejo (Student Success)



              Hello l<elvin,


              It was great speaking with you! Here are the links to create your accounts to file TDA's on your
              liens. Please remember when you schedule an appointment with me please have your ACH
              information on hand.


              To filed TDA's for Charlotte County liens:
              https: I I lienhu b.com I user I register


              To filed TDA's for Polk County liens:
              https:I / www.realtda.com/index.cfm?zmethod = reqister


             Speak to you soon 1


              Any questions or concerns please schedule an appointment with me : Click here to schedule an
              appointment


              Any questions or concerns please contact me:


                                                                   1
                Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 121 of 234



              Client Success: 844-406-7434
              Emai I: Karla. trejo@taxlienoffice.com
              Click here to schedule an appointment

              Thank you,

              Karla

              Client Success
             Ta x Lien Transfers
              2912 Exe cutive Parkway Suite 120
              Lehi, UT 84043

             Any questions or concerns please contact me :

             Client Success : 844-406-7434

             Emai I: Karla.trejo@taxlienoffice.com




This email i 0 a sei-v1ce from Student Success. Delivered by Zendesk




                                                                       2
                 Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 122 of 234



Erin




CONFIDENTIAL NOTICE: This message is intended only for the individual or entity to which it is addressed, and may
contain information that is privileged, confidential, or exempt from disclosure under applicable law. If the reader of this
message is not the

intended recipient, or the employee or agent responsible for delivering the message to the intended recipient, you are
hereby notified that any dissemination, distribution, or copying of this communication is strictly prohibited.




Kavelle Fields
The KD9 Group LLC
kavellefieldsl@gmail .com
678-622-2625




                                                             3
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 123 of 234




       EXHIBIT “R”
Gm ail - Charlotte County Tax Collector: Payment Confirmation                         https://mail .google.com/mail/u/O?ik=f61 e3411 26&view=pt&se ...
                        Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 124 of 234



         M Gmail                                                                                        kelvin graddy <kelvingraddy31@gmail.com>



         Charlotte County Tax Collector: Payment Confirmation
         no-reply@payment-express.net <no-reply@payment-express.net>                                                    Tue, Jun 25, 2019 at 4:40 PM
         To: kelvingraddy31@gmail.com


           Thank you for your payment.

                                                                      Vickie L. Potts
                                                              Charlotte County Tax Collector
                                                       18500 Murdock Circle, Port Charlotte, FL 33948



            Confirmation# 28181273848                                          Items Paid

            Transaction Details                                                 Items
            Payment Date: 6/25/2019 4:40 PM EDT                                          Item                   Description          Amount
             Transaction#: 75C79D3C-9789-11 E9-9E60-4DD443567BA8               Tax Deed Application       DeedExpress Payment        $ 7,217.40
                 Recipient: Charlotte County Deeds and Liens
                  Location: DeedExpress                                        Payments
             Received Via: Online                                              Payment                      Account                     Paid
                                                                               e-check    UNITED COMMUNITY BANK,INC ***9479 $ 7,217.40
                                                                               Total Charged:                                        $ 7,217.40
            Paid By
            4KCoin LLC
            kelvingraddy31@gmai l. com


          Your payment still needs to be cleared by your bank. Your bank should inform us of an unsuccessful e-check within three business days.

          For more information on payments handled by the tax collector, please visit our web site at http://www.cctaxcol.com/.




1of1                                                                                                                                    1/1 5/2020, 3:33 PM
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 125 of 234




        EXHIBIT “S”
               Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 126 of 234




----------Forwarded message---------
From: Karla Trejo <karla .trejo@ta xlienoffice.com>
Date : Fri, Oct 11, 2019, 12:40 PM
Subject : Re: TDA process
To : kelvin graddy <kelvingraddy31@gmail.com>



Good Morning Kelvin,

Thank you for reaching out! The county will be the one getting in contact with you once the properties are
ready to be put up for auction . If you would like to know where you currently stand please contact: 941-743-
1350

If you have any questions or concerns feel free to contact me.

Thank you,

To book an appointment with me please go
to : https://outlook.office365.com/owa/calendar/StudentSuccess@zulumarketing.com/bookings/

Karla
Client Success Advocate
Tax Lien Buyers Club
844-406-7 434

From: kelvin graddy <kelvingraddy31@gmail.com>
Sent: Friday, October 11, 2019 3:51 AM
To: Karla Trejo <karla .trejo@taxlienoffice .com>
Subject: TDA process


Hey Karla,

I just wanted check with you on the status of the 2 TDA that were filled in FL
CONFIDENTIAL NOTICE: This message is intended only for the individual or entity to which it is addressed, and may
contain information that is privileged, confidential, or exempt from disclosure under applicable law. If the reader of this
message is not the intended recipient, or the employee or agent responsible for delivering the message to the intended
recipient, you are hereby notified that any dissemination, distribution, or copying of this communication is strictly
prohibited .
CONFIDENTIAL NOTICE: This message is intended only for the individual or entity to which it is addressed, and may
contain information that is privileged, confidential, or exempt from disclosure under applicable law. If the reader of this
message is not the intended recipient, or the employee or agent responsible for delivering the message to the intended
                                                             1



                                                                                                                              I
              Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 127 of 234
recipient, you are hereby notified that any dissemination, distribution, or copying of this communication is strictly
prohibited .




                                                            2
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 128 of 234




       EXHIBIT “T”
              Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 129 of 234




---------- Forwarded message---------
From: Erin Bates <erin .bates@ta xlienoffice .com>
Date: Fri, Nov 8, 2019 at 4:43 PM
Subject: TurnKey Properties
To : kelvin graddy <kelvingraddy31@gmail.com>, kavellefieldsl@gmail.com <kavellefieldsl@gmail.com>




Hello Kelvin and Kavelle,




                                                        1
             Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 130 of 234



It was nice catching up with you.




Here are all the documents we'd provide you for the turnkey properties. I've attached 2 for you to review.




Purchase price of Stockton Ave $72,810




Purchase price for $2208 3rd st NE $63,408




Have a great weekend




                                                      2
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 131 of 234




       EXHIBIT “U”
             Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 132 of 234
                                           ROGER D. EATON
                             CHARLOTTE COUNTY CLERK OF THE CIRCUIT COURT
                                          350 E. MARJ ON AVE
                                     PUNTA GORDA, FLORIDA 33950

                                                      APPLICANT BILL


01114/2020

4K COIN LLC
1530 RIVER MAIN COURT
LAWRENCEVILLE, GA 30046



RE: TAX DEED APPLICATION

SEE ATTACHED SUPPLEMENT FOR LIST OF CERTIFICATES



We received your application for Tax Deed from the Tax Col lector's Office. Therefore it will be necessary for
you to send a cashier's check or personal check in the amount of547.20 payable to: CLERK OF THE
CIRCUIT COURT by January 27, 2020.



These Fees are separate from what you have already paid the Tax Collector.


You can mail this to: Clerk of Circuit Com1, Attn.: Tax Deed Department, 350 East Marion Avenue, Punta
Gorda, FL 33950.



If you have any questions, please do not hesitate to contact my office at (941) 637-2349.




Sincerely,


Roger D. Eaton
Clerk of the Circuit Court




By:


Lori Lagios-Tuck, Deputy Clerk
                     Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 133 of 234
                                          Roger D. Eaton Charlotte County Clerk of the Courts Applicant Bill

Holder:        4K COIN LLC                                                                                         No. of Certificates: 2

Sale Date:                Apr- 14-2020

                Case            Sheriff        Postage           Clerk               Recording           Auction
                                                                                                                             Advertising
Tax Cert No.    Number          Fee            Fee               Fee                 Fee                 Fee                                Total

2687-20 13      19-2036         $0.00          $53.65            $60.00              $10.00              $59.00              $59.40         $242.05

3828-201 3      19-2037         $80.00         $36.75            $60.00              $10.00              $59.00              $59.40         $305.15


                                $80.00         $90.40            $120.00             $20.00              $118.00             $118.80        $547.20
                       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 134 of 234
                                                  ROGER D. EATON
                                    CHARLOTTE COUNTY CLERK OF THE CIRCUIT COURT
                                                 350 E. MARION AVE
                                            PUNTA GORDA, FLORIDA 33950



    Receipt #:             2020000348                         Name: 4KCOINLLC
                                                                        1530 RIVER MAIN COURT
    Cashier Date:          January 21 , 2020
                                                                        LAWRENCEVILLE, GA 30046
    Cashier By:            lorit
                                                     Payment For: Applicant Bill

                                                               Fees


                 Certificate                                                          Recording
File Number      Number               Clerk     Advertising   Sheriff       Postage   Fee          Auction          Sub Tota l


19-2036       2687-2013               $ 60.00   $ 59.40                     $ 53.65   $ 10.00      $ 59.00          $242.05

19-2037       3828-20 13              $ 60.00   $ 59.40       $ 80.00      $ 36 .75   $ 10.00      $ 59.00          $305 . 15

I   Payment Information

CASHIERS CHEC            $547 .20
                                                                                            Grand Total Payments:   547.20
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 135 of 234




       EXHIBIT “V”
            Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 136 of 234
                                     ROGER D. EATON
                    CHARLOTTE COUNTY CLERK OF THE CIRCUIT COURT
                                    350 E. MARION AVE
                                PUNTA GORDA, FLORIDA 33950

                             NOTICE OF APPLICATION FOR TAX DEED 19-2036
                                           SEC. 197.512 F.S.

NOTICE IS HEREBY GIVEN, that 4K COIN LLC the holder of the following certificate has filed the said certificate for a
tax deed to be issued thereon. The certificate number and year of issuance, the description of the property, and the names in
which it was assessed are as follows:

 Certificate No.:2687-2013             Year of Issuance: Jun-01-2013       Tax ID:   402124232006

Description of Property:
PCH 031 2686 0006 PORT CHARLOTTE SEC 31BLK2686 LT 6


Name in which assessed:
      GASSER, MARIA T.; LAINO, JAMES
All of said property being in the County of Charlotte, State of Florida. Unless the said certificate sha ll be redeemed
according to the law, the property described in such certificate shall be so ld to the highest bidder at
www.charlotte.realforeclose.com in accordance with Chapter 45, Florida Statutes at 9:00 A.M., or thereafter on 14th day of
April , 2020.

Dated this 23rd day of January, 2020

Roger D. Eaton
Clerk of the Circuit Court




By:
            Lori Lagios-Tuck, Deputy Clerk




PUBLISH: 02/10/2020, 02/l 7/2020, 02/24/2020, 03/02/2020
BASE BID AMOUNT: 5,245.79
REDEMPTION AMOUNT: $5 ,252.04
P.O. NO.: 1902036




                                                      WARNING!
THERE ARE UNPAID TAXES ON THE PROPERTY WHICH YOU OWN OR HAVE A LEGAL INTEREST THE PROPERTY WILL BE SOLD AT
PUBLIC AUCTION ON Apr-I4-2020 UNLESS BACK TAXES ARE PAID. WHEN REDEEMING PROPERTY PLEASE BE ADV ISED THAT WE
CANNOT ACCEPT PERSONAL CHECKS. PLEASE REM IT A MONEY OR.DER OR CASHIER'S CHECK FOR TOTAL AMOUNT TO BE
REDEEMED.
MAKE PAYABLE TO:    CHARLOTTE COUNTY TAX COLLECTOR
MAIL TO             DELINQUENT TAX DEPARTMENT
                    I8500 MURDOCK CIRCLE
                    PORT CHARLOTTE. FL 33948-I075

FOR FURTHER INFORMATION CONCERNING THE SALE, PLEASE CONTACT THE TAX COLLECTOR AT 94I-743- 1350 ; QUESTIONS
REGARDING DETA ILS ON TI-IE SALE CONTACT THE CLERK OF COURT AT 94 I-637-2349.
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 137 of 234




      EXHIBIT “W”
            Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 138 of 234
                                      ROGER D. EATON
                        CHARLOTTE COUNTY CLERK OF THE CIRCUIT COURT
                                     350 E. MARION AVE
                                PUNTA GORDA, FLORIDA 33950

                             NOTICE OF APPLICATION FOR TAX DEED 19-2037
                                           SEC. 197.512 F.S.

NOTICE IS HEREBY GIVEN, that 4K COIN LLC the holder of the following certificate has filed the said certificate for a
tax deed to be issued thereon. The certificate number and year of issuance, the description of the property, and the names in
which it was assessed are as follows:

 Certificate No.:3828-2013             Year oflssuance: Jun-01-2013       Tax ID:    402203101003

Description of Prope1ty:
PCH 034 0870 0028 PORT CHARLOTTE SEC 34 BLK 870 LT28


Name in which assessed:
      CORFU HOMES, INC., A FLORIDA CORPORATION; CORFU HOMES INC
All of sa id property being in the County of Charlotte, State of Florida. Unless the said certificate shall be redeemed
according to the law, the prope1ty described in such certificate shall be sold to the highest bidder at
www.charlotte.realforeclose.com in accordance with Chapter 45, Florida Statutes at 9:00 A.M., or thereafter on 14th day of
April, 2020.

Dated this 23rd day of January, 2020

Roger D. Eaton
Clerk of the Circuit Court




By:
            Lori Lagios-Tuck, Deputy Clerk




PUBLISH: 02/10/2020, 02117/2020, 02/24/2020, 03/02/2020
BASE BID AMOUNT: 5,448.58
REDEMPTION AMOUNT: $5,454.83
P.O. NO.: 1902037




                                                      WARNING!
THERE ARE UNPAID TAXES ON THE PROPERTY WHICH YOU OWN OR HAVE A LEGAL INTEREST THE PROPERTY WILL BE SOLD AT
PUBLIC AUCT ION ON Apr-14-2020 UNLESS BACK TAXES ARE PAID. WHEN REDEEMING PROPERTY PLEASE BE ADV ISED THAT WE
CANNOT ACCEPT PERSONAL CHECKS. PLEASE REMIT A MONEY ORDER OR CAS HI ER'S CHECK FOR TOTAL AMOUNT TO BE
REDEEMED.
MAKE PAYABLE TO:     CHARLOTTE COUNTY TAX COLLECTOR
MAIL TO              DELINQUENT TAX DEPARTMENT
                     18 500 MURDOCK CIRCLE
                     PORT CHARLOTTE FL 33948-1075

FOR FURTHER INFORMATION CONCERN ING THE SALE, PLEASE CONTACT THE TAX COLLECTOR AT 94 1-743-1 350 ; QUESTIONS
REGARDING DETAJLS ON THE SALE CONTACT THE CLERK OF COURT AT 94 1-637-2349.
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 139 of 234




       EXHIBIT “X”
                 Case 1:21-cv-00639-SDG ROGER
                                        DocumentD. 1EATON
                                                      Filed 02/12/21 Page 140 of 234
                       CHARLOTTE COUNTY CLERK OF THE CIRCUIT COURT
                                       350 E. MARION AVE
                                   PUNTA GORDA, FLORIDA 33950



Receipt #:             2020000936               Name: 4KCOINLLC
                                                          1530 RIVER MAIN COURT
Cashier Date:          May 11, 2020
                                                          LAWRENCEVILLE, GA 30046
Cashier By:            veronicat
                                        Payment For:      Struck to Applicant


Clerk TDA#:            19-2036             Tax Certificate#:    2687-2013
Parcel ID:             402124232006       Certificate Holder:   4K COIN LLC
Sale Date:             April 14, 2020


Clerk TDA#:            19-2037             Tax Certificate#:    3828-2013
                                                                                          L
Parcel ID:             402203101003       Certificate Holder:   4K COIN LLC
Sale Date:             April 14, 2020


 Payment Information

CHECK             $851.75
                                                                                Grand Total Payments:   851.75
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 141 of 234




       EXHIBIT “Y”
                   Case
Prepared By & Return
Veronica C Ton-es
                     to :             1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 142 of 234                                              \
Tax Deeds #83
350 East Marion Avenue                                                    Tax Deed File No.       19-2036
Punta Gorda, FL 33950                                                     Property Identification No.     402124232006



                                                                          TAX DEED
State of Florida
County Of Charlotte

     The following Tax Sale Certificate Numbered 2687-2013 issued on 1st day of June, 2013, was filed in the office of the Tax
Collector of this County and application made for the issuance of a tax deed, the applicant having paid or redeemed all other taxes or
tax sale ce1tificates on the land described as required by law to be paid or redeemed, and the costs and expenses of this sale, and due
notice of sale having been published as required by law, and no person entitled to do so having appeared to redeem said land; such
land was sold on the 14th day of April, 2020, offered for sale as required by law for cash to the highest bidder and was sold to:
4K COIN LLC

ADDRESS
1530 RIVER MAIN COURT
LAWRENCEVILLE, GA 30046

being the highest bidder and having paid the sum of the bid as required by the Laws of Florida.

NOW, on 14th day of April, 2020, in the County of Charlotte, State of Florida, in consideration of the sum of 5,589.22 five thousand
five hundred eighty-nine dollars and twenty-two cents only being the amount paid pursuant to the Laws of Florida does hereby sell
the following lands, including any hereditaments, buildings, fixtures and improvements of any kind and description, situated in the
County and State aforesaid and described as follows:
     PCH 031 2686 0006 PORT CHARLOTTE SEC 31 BLK 2686 LT 6
Original Owners of Record :
GASSER, MARIA T.
LAINO, JAMES
                                                                                            Roger D. Eaton
                                                                                            Clerk of the Circuit Court




State of Florida
County Of Charlotte

     On the I Ith day of May, 2020, before me Lori Lagios-Tuck personally appeared Veronica C Torres a Deputy Clerk for Clerk
of the Circuit Comt in and for the State and this County known to me to be the person described in, and who executed the foregoing
instrument, and acknowledged the execution of this instrument to be his/her own free act and deed for the use and purposes therein
mentioned, who is personally known to me and who did not take an oath.
Witness my hand and office seal date aforesaid.
                                                                                    Notary Public State of Florida
                                                                                      ""   •    {>     -    e-:-'
                                                                                      ml!H& <M ~ -            I 1.<C   16
             .-;,~;W~~~,::.,          LORI LAGIOS-TUCI<
                                                                                    Lori Lagios-Tuck
           /~··· J1.'I:'\ MY COMMISSION# GG 356476                                             CHARLOTTE COUl'HY CLERK OF CIRCUI T COURT
           ~!).~ .~} EXPIRES: September 23, 2023                                               OR BOOK 4573 PAGE 1366 PAGE 1 OF 4
            ··-~~f.R·~f:\?~~--' Bonded Thru Notary PtJblic UndetWTilers                         11".ISTR # 2810464 Doc Type TXD
                                                                                               Recorded 5/11 /2020 at 10 10 AM
                                                                                               Rec. Fee RECORDING $35 50 D DOCT AX PD $39 20
                                                                                               Cashier By: VERrn lCAT
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 143 of 234




       EXHIBIT “Z”
                   Case
Prepared By & Return to:                 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 144 of 234
Veronica C Torres
Tax Deeds #83
350 East Marion Avenue                                                     Tax Deed File No.       19-2037
Punta Gorda, FL 33950                                                      Property Identification No.     40220310 I 003




                                                                          TAX DEED
State of Florida
County Of Charlotte

     The following Tax Sale Certificate Numbered 3828-2013 issued on !st day of June, 2013, was filed in the office of the Tax
Collector of this County and application made for the issuance of a tax deed, the applicant having paid or redeemed all other taxes or
tax sale certificates on the land described as required by law to be paid or redeemed, and the costs and expenses of this sale, and due
notice of sale having been published as required by law, and no person entitled to do so having appeared to redeem said land ; such
land was sold on the 14th day of April, 2020, offered for sale as required by law for cash to the highest bidder and was sold to:
4K COIN LLC

ADDRESS
1530 RIVER MAIN COURT
LAWRENCEVILLE, GA 30046

being the highest bidder and having paid the sum of the bid as required by the Laws of Florida.

NOW, on 14th day of April, 2020, in the County of Charlotte, State of Florida, in consideration of the sum of 5,805.40 five thousand
eight hundred five dollars and forty cents only being the amount paid pursuant to the Laws of Florida does hereby sell the following
lands, including any hereditaments, buildings, fixtures and improvements of any kind and description, situated in the County and
State aforesaid and described as follows :
     PCH 034 0870 0028 PORT CHARLOTTE SEC 34 BLK 870 LT 28
Original Owners of Record:
CORFU HOMES, INC. , A FLORIDA CORPORATION
CORFU HOMES INC
                                                                                             Roger D. Eaton
                                                                                             Clerk of the Circuit Couri




 Theresa Anderson"'                                   '

State of Florida
County Of Charlotte

     On the I Ith day of May, 2020, before me Lori Lagios-Tuck personally appeared Veronica C Torres a Deputy Clerk for Clerk
of the Circuit Court in and for the State and this County known to me to be the person described in, and who executed the foregoing
instrument, and acknowledged the execution of this instrument to be his/her own free act and deed for the use and purposes therein
mentioned, who is personally known to me and who did not take an oath.
Witness my hand and office seal date aforesaid .
                                                                                     Notary Public State of Florida




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                               ·- );_!
                                              LoRi LAGIOS-TUCI<
                                          MY COMMISSION # GG 356476
                                          EXPIRES: Septernb~r 23, 2023
                                                                             l
                                         Bonded Thru Notary Public Underwnters
                                                                                     Lori Lagios-Tuck
                                                                                              CHARLOTTE COUN TY CLERK OF CIRCUIT COURT
                                                                                              OR BOOK 4573 PAGE 1370 PAGE 1 OF 4
                                                                                               INSTR# 2810465 Doc Type TXD
                                                                                               Recorded 5/11 /2020 at 10 11 AM
                         ........                                                              Rec. Fee RECORDl\\\G $3550 D DOCTAX PD $41 .30
                                                                                               Cashier By VERO\'~ \CAT
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 145 of 234




    EXHIBIT “AA”
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 146 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 T(770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7019 2970 0002 1071 4828
Return Receipt Requested

Carnegie Academy, LLC
Attn: NCS Partners, LLC
1881 W Traverse Parkway
Suite E 245
Lehi, Utah, 84043

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
               and Corrupt Organizations Act, Violations of Georgia Fair Business Practices
               Act; Notice of Intent to File Suit pursuant to O.C.G.A. § 10-1-339; Notice of
               Legal Claims, Including Breach of Contract, Fraud, Unjust Enrichment,
               Piercing the Corporate Veil, Punitive Damages, Treble Damages and
               Reasonable Attorney's Fees

To whom it may concern:

        Please be advised that I serve as legal counsel to Kelvin Graddy, Kavelle Fields, 4K Coin,
LLC, KVG Investments LLC, and The KD9 Group, LLC, ("Mr. Graddy") regarding the above
referenced matter. The purpose of this correspondence is to provide you the opportunity to avoid
legal action against Carnegie Academy , LLC ("ProSource") and its owners in their individual
capacities by resolving the above referenced matter inrn1ediately.

        This letter is being sent to you pursuant to O.C.G.A. § 10-1-399 and is in the nature of a
demand for purposes of settlement and compromise only. It shall not be admissible for any purpose
other than establishing notice in the event that we are unable to resolve the case. Please find
attached a copy of the complaint my client intends to file should this demand be rejected or ignored.
If you wish to see the exhibits to the complaint, we will provide upon request.

       On or about January 29, 2019 , Mr. Graddy and his business partner Kevelle Fields attended
free one-day tax lien seminar held by ProSource where they agreed to purchase a three-day Tax
Lien Investing Education Course (the " Workshop") being held at the Atlanta Marriot Perimeter
Center Hotel from February 8, 2019 to February 10, 2019. At this seminar, ProSource
representatives put Mr. Graddy into contact with its affiliate Sprout IRA and he signed an




                             WEENER NATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 147 of 234
Carnegie Academy, LLC
December 1, 2020
Page 2

agreement with Sprout IRA to create and register KVG Investments LLC as a self-directed IRA
retirement account also to be used for purchasing tax liens.

        At the February Workshop, ProSource representatives offered Mr. Graddy and Ms. Fields
the opportunity to purchase one of its packages for additional training, products, and services.
ProSource representatives stated that ProSource would help them obtain a loan/and or financing
with 0% interest for a year or longer that would in effect allow them to pay for the price of the
package as well as future tax liens to sell before any interest accrued. Acting upon a good faith
belief based on ProSource representatives' fraudulent representations, Mr. Graddy and his partner
agreed to purchase the Diamond Executive Package ("DEP Agreement") for a sum of$39,994.00.
Mr. Graddy paid $30,000 upfront, split between two of his personal credit cards with the remaining
balance to be charged later by a ProSource affiliate, Silverstrand LLC. Along with the purchase of
the DEP Agreement, ProSource provided Mr. Graddy with a Commitment Guarantee, with no
expiration date, expressly providing that ProSource would "continue to help [Mr. Graddy] until
[he has] earned at least 100% of [his] investment in [your] program."

        Following the Workshop, ProS.ource's affiliate Seed Consulting, LLC, d/b/a/ Seed Capital
Corp., (hereinafter "Seed Capital") contacted Mr. Graddy under the misrepresentation that Seed
would help him finance ProSource's training cost by providing him with cash credit lines. Seed
Capital opened numerous credit card accounts on Mr. Graddy's behalf to finance the payments for
ProSource's DEP Agreement and future tax lien purchases, for which Seed Capital charged Mr.
Graddy $2,997.00 on February 22, 2019.

        From March 27, 2019 through March 30, 2019, Mr. Graddy attended a ProSource seminar
in Orlando, Florida, where ProSource had various speakers make presentations about investing in
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 148 of 234
Carnegie Academy, LLC
December 1, 2020
Page 3

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demands reimbursement for all legal fees incurred to date in the amount of $12,650.00.

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      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 149 of 234
Carnegie Academy, LLC
December 1, 2020
Page 4

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including, but not limited to, breach of contract, breach of implied good faith and fair dealing,
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Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 150 of 234
                                                                                          5887 GLEN RIDGE DRIVE NE
                                                                                                          SUITE 275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                  l (770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7019 2970 00021071 4736
Return Receipt Requested

Mr. Edward Stewart
2349 Conunerce Street
Alpharetta, GA, 30009

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
               and Corrupt Organizations Act, Violations of Georgia Fair Business Practices
               Act; Notice of Intent to File Suit pursuant to O.C.G.A. § 10-1-339; Notice of
               Legal Claims, Including Breach of Contract, Fraud, Unjust Enrichment,
               Piercing the Corporate Veil, Punitive Damages, Treble Damages and
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Dear Mr. Stewart

        Please be advised that I serve as legal counsel to Kelvin Graddy, Kavelle Fields, 4K Coin,
LLC, KVG Investments LLC, and The KD9 Group, LLC, ("Mr. Graddy") regarding the above
referenced matter. The purpose of this correspondence is to provide you the opportunity to avoid
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                             WEENER NATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 151 of 234
Mr. Edward Stewart
December 1, 2020·
Page 2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 152 of 234
Mr. Edward Stewart
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                                            ~- -
                                             ~~ B. Phillips
Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 154 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE 275
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                                                                                                 l (770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp .com

                                        . December 1, 2020



Via Certified Mail No.: 7020 2450 000189570934
Return Receipt Requested

Mr. Joshua Carr
602 N 800 E
Apt 201
Provo, Utah, 84606

        Re:      Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 155 of 234
Mr. Joshua Carr
December 1, 2020
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Mr. Joshua Carr
December l, 2020
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Enclosures

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 158 of 234
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                                                                                                     WWNLLPC OM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



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Keystone Investment Group, LLC
Attn: Edward Stewart
2349 Commerce Street
Alpharetta, GA, 30024

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Keystone Investment Group, LLC
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 160 of 234
Keystone Investment Group, LLC
December 1, 2020
Page3

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Keystone Investment Group, LLC
December 1, 2020
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Enclosures
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cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 162 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE 275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                  T(770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189570958
Return Receipt Requested

ManMadeLLC
Attn: Silverstrand, LLC
1180 S 400 E
Salt Lake City, Utah, 84111

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 163 of 234
ManMadeLLC
December 1, 2020
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Man Made LLC.
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Enclosures

cc: .   Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 166 of 234
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                                                                                                    WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189570965
Return Receipt Requested

NEFF Companies, Inc.
Attn: Sprout RA Services, LLC
2912 Executive Parkway, Suite 120
Lehi , Utah, 84043

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NEFF Companies, Inc.
December l, 2020 ·
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NEFF Companies, Inc.
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 171 of 234
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Page 2

        At the February Workshop, ProSource representatives offered Mr. Graddy and Ms. Fields
the opportunity to purchase one of its packages for additional training, products, and services.
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      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 172 of 234
REI Holdings, LLC
December 1, 2020
Page 3

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agreements it entered into with Mr. Graddy and/or his various Limited Liability Companies. The
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Business Practices Act, as well as both Georgia's and the Federal Racketeer Influenced and
Corrupt Organizations Act, each of which has caused Mr. Graddy to suffer substantial financial
injuries.

        Based on the above, my clients are entitled to damages. In a good faith effort to resolve
this matter short of litigation, my client proposes the following: reimbursement of the full amounts
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Dollars and 43/100 ($4,385.43) from the credit card interest and fees.

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practices and general indifference to my client's good faith efforts to resolve these matters short
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demands reimbursement for all legal fees incurred to date in the amount of $12,650.00.

       Per O.C.G.A. § 10-1-399, you have thirty (30) days from your receipt of this
correspondence to pay the total amount of Ninety-Eight Thousand Eight Hundred Ninety-Five and·
10/100 ($98,895.10). I have enclosed my law firm's wiring instructions to facilitate the payment.

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      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 173 of 234
REI Holdings, LLC
December 1, 2020
Page 4

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                                              WEENER NATHAN PHILLIPS, LLP




Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 174 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE 275
                                                                                           ATLANTA, GEORGIA 30328
                                                                                                 l (770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 0001 8957 0989
Return Receipt Requested

Seed Consulting, LLC
Attn: Marquis Aurbach Coffing
10001 Park Run Drive
Las Vegas, Nevada, 89145

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
               and Corrupt Organizations Act, Violations of Georgia Fair Business Practices
               Act; Notice of Intent to File Suit pursuant to O.C.G.A. § 10-1-339; Notice of
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To whom it may concern:

        Please be advised that I serve as legal counsel to Kelvin Graddy, Kavelle Fields, 4K Coin,
LLC, KVG Investments LLC, and The KD9 Group, LLC, ("Mr. Graddy") regarding the above
referenced matter. The purpose of this correspondence is to provide you the opportunity to avoid
legal action against Carnegie Academy, LLC ("ProSource") and its owners in their individual
capacities by resolving the above referenced matter immediately.

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demand for purposes of settlement and compromise only. It shall not be admissible for any purpose
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attached a copy of the complaint my client intends to file should this demand be rejected or ignored.
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 175 of 234
Seed Consulting; LLC
December 1, 2020
Page2

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Seed Consulting, LLC
December 1, 2020
Page 3

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Seed Consulting, LLC
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Enclosures

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 178 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
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                                                                                                 T(770] 392-9004
                                                                                                 F (770] 522-9004
                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 0001 8957 0996
Return Receipt Requested

Silverstrand, LLC
Attn: Edward Stewart
1880 S 400 E
Salt Lake City, Utah, 84111

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
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Silverstrand, LLC
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Silverstrand, LLC
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                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 0001 8957 1009
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Attn: Registered Agents Inc.
401 Ryland Street, Suite 200-A
Reno, Nevada, 89502

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                             WEENER NATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 183 of 234
Slickrock LLC
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Page 2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 184 of 234
Slickrock LLC
December 1, 2020
Page3

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      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 185 of 234
Slickrock LLC
December 1, 2020
Page 4

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                                              Devin B. Phillips

Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 186 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE 275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 T(770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189571016
Return Receipt Requested

Sprout Financial LLC
Attn: Sprout RA Services LLC
2912 Executive Parkway, Suite 120
Lehi, Utah, 84043

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
               and Corrupt Organizations Act, Violations of Georgia Fair Business Practices
               Act; Notice of Intent to File Suit pursuant to O.C.G.A. § 10-1-339; Notice of
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To whom it may concern:

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 187 of 234
Sprout Financial LLC
December 1, 2020
Page2

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Sprout Financial•LLC
December 1, 2020
Page 3

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Sprout Financial LLC
December 1, 2020
Page 4

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Enclosures

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 190 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 l (770) 392-9004
                                                                                                 F (770) 522-9004
                                                                                                     WWNLLPC OM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189571023
Return Receipt Requested

Sprout CF Fund, Inc.
Attn: Shumway Van LLC
8 E Broadway ST# 550
Salt Lake City, Utah, 84111

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations ofFederal Racketeer Influenced
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 191 of 234
Sprout CF Fund, Inc.
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Sprout CF Fund, Inc.
December l, 2020
Page 3

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                             WEENER NATHAN PHILLIPS
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Sptout Investment·Partners, LLC
December 1, 2020
Page 2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 196 of 234
Sprout Investment Partners, LLC
December 1, 2020
Page 3

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      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 197 of 234
Sprout Investment Pminers, LLC
December 1, 2020
Page 4

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                                               WEr
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                                                   rATHAN
                                                     :    PHILLIPS, LLP
                                            r-) ,
                                              V1 \
                                              Devm B. PhHlips
                                                                  L-
Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 198 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 l [770) 382-9004
                                                                                                 F [770) 522-9004
                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450000189571047
Return Receipt Requested

Sprout IRA, LLC
Attn: Sprout RA Services, LLC
2912 Executive Parkway, Suite 120
Lehi, Utah 84043

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 199 of 234
Sprout IRA, LLC
December 1, 2020
Page2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 200 of 234
Sprout IRA, LLC
December 1, 2020
Page3

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Sprout IRA, LLC
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                                                            A THAN PHILLIPS, LLP


                                                              ~-----
                                              Devin B. Phi1Jips

Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 202 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                  T(770) 382-8004
                                                                                                 F (770) 522-8004
                                                                                                     WWNLLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                        · December 1, 2020



Via Certified Mail No.: 7020 2450 000189571054
Return Receipt Requested

Sprout Residential Fund, LLC
Attn: Shumway Van LLC
8 E Broadway St #550
Salt Lake City, Utah 84111

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
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Sprout Residential Fund, LLC
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Sprout Residential Fund, LLC
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        I trust that the foregoing is clear; however, should you have any questions do not hesitate
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                                              Best Regards,

                                              WEENER          THAN PHILLIPS, LLP

                                            y,_
Enclosures

cc:    Client.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 206 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 l [770) 382-8004
                                                                                                 F[770) 522-8004
                                                                                                     WWN LLPCOM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189571061
Rettirn Receipt Requested

Superstar LLC
Attn: Josh Carr
1155 Park Meadows Drive
Mapleton, Utah, 84664

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
               LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
               and Corrupt Organizations Act; Violations of Georgia Racketeer Influenced
               and Corrupt Organizations Act, Violations of Georgia Fair Business Practices
               Act; Notice of Intent to File Suit pursuant to O.C.G.A. § 10-1-339; Notice of
               Legal Claims, Including Breach of Contract, Fraud, Unjust Enrichment,
               Piercing the Corporate Veil, Punitive Damages, Treble Damages and
               Reasonable Attorney's Fees

To whom it may concern:

        Please be advised that I serve as legal counsel to Kelvin Graddy, Kavelle Fields, 4K Coin,
LLC, KVG Investments LLC, and The KD9 Group, LLC, ("Mr. Graddy") regarding the above
referenced matter. The purpose of this conespondence is to provide you the opp011unity to avoid
legal action against Carnegie Academy, LLC ("ProSource") and its owners in their individual
capacities by resolving the above referenced matter i1mnediately.

        This letter is being sent to you pursuant to O.C.G.A. § 10-1-399 and is in the nature of a
demand for purposes of settlement and compromise only. It shall not be admissible for any purpose
other than establishing notice in the event that we are unable to resolve the case. Please find
attached a copy of the complaint my client intends to file should this demand be rejected or ignored.
If you wish to see the exhibits to the complaint, we will provide upon request.

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                             WEENER NATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 207 of 234
Superstar LLC
December 1, 2020
Page 2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 208 of 234
Superstar LLC
December 1, 2020
Page 3

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Joshua Carr, Edward Stewart, and Tonya Neff have knowingly engaged in a criminal scheme
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this matter short oflitigation, my client proposes the following: reimbursement of the full amounts
of the Diamond Executive Package, Tax Lien Investing Program, and Tax Lien Assignment, and
subsequent tax liens purchased, and in the amount of Eighty-One Thousand Eight Hundred Fifty-
Nine and 67 /100 {$81,859 .67) as well as the additional Four Thousand Three Hundred Eighty Five
Dollars and 43/100 ($4,385.43) from the credit card interest and fees.

        In addition to the above demand, the above-mentioned parties deceptive and fraudulent
practices and general indifference to my client's good faith efforts to resolve these matters short
of incurring legal charges have forced my client to hire legal counsel; therefore, Mr. Graddy also
demands reimbursement for all legal fees incurred to date in the amount of $12,650.00.

       Per O.C.G.A. § 10-1-399, you have thirty (30) days from your receipt of this
correspondence to pay the total amount of Ninety-Eight Thousand Eight Hundred Ninety-Five and
10/100 ($98,895.10). I have enclosed my law firm's wiring instructions to facilitate the payment.

        This matter can be quickly and amicably resolved. However, should you fail to comply
with my client's reasonable demands~ my client will not hesitate to file a lawsuit for claims
including, but not limited to, breach of contract, breach of implied good faith and fair dealing,
      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 209 of 234
Superstar LLC
December 1, 2020
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 210 of 234
                                                                                          5887GLENRIDGE DRI VE NE
                                                                                                         SUITE 275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 T [770) 392-90 04
                                                                                                 F (770) 522-90 04
                                                                                                     WWNLLP.COM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 000189571078
Return Receipt Requested

Ms. Tonya Neff
3291 W Millville Street
South Jordan, Utah 84095

        Re:      Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
                 LLC, and The KD9 Group, LLC; Violations of Federal Racketeer Influenced
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                             WEENERNATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 211 of 234
Ms. Tonya Neff
December 1, 2020
Page 2

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 212 of 234
Ms. Tonya Neff
December 1, 2020
Page 3

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Ms. Tonya Neff
December 1, 2020
Page 4

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                                            vi\_\.~
                                                  -·
                                             Devin B. Phillips

Enclosures

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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 214 of 234
                                                                                          5887 GLENRIDGE DRIVE NE
                                                                                                         SUITE 275
                                                                                           ATLANTA, GEORGIA30328
                                                                                                 T[770) 392-9004
                                                                                                 F [770) 522-9004
                                                                                                     WWNLLPC OM
Devin B. Phillips                                                            dphillips@wnpllp.com

                                         December 1, 2020



Via Certified Mail No.: 7020 2450 0001 8957 1085
Return Receipt Requested

Zulu Marketing, LLC
Attn: Silverstrand, LLC
1180 S 400 E
Salt Lake City, Utah, 84111

        Re:    Notice of Representation of Kelvin Graddy, 4K Coin LLC, KVG Investments
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       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 215 of 234
Zulu Marketing, LLC
December l,2020·
Page 2

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Zulu Marketing, LLC
December 1, 2020
Page3

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       Per O.CG.A. § 10-1-399, you have thirty (30) days from your receipt of this
correspondence to pay the total amount of Ninety-Eight Thousand Eight Hundred Ninety-Five and
10/100 ($98,895.10). I have enclosed my law firm's wiring instructions to facilitate the payment.

        This matter can be quickly and amicably resolved. However, should you fail to comply
with my client's reasonable demands, my client will not hesitate to file a lawsuit for claims
including, but not• limited to, breach of contract, breach of implied good faith and fair dealing,
      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 217 of 234
Zulu Marketing, LLC
December 1, 2020
Page 4

fraud, punitive damages in an amount no less than $250,000; treble damages for violations of the
Georgia Fair Business Practices Act, violations of Georgia's and Federal Racketeer Influenced and
Corrupt Organizations Act, unjust emichment, and iny attorney ' s fees . Additionally, as Joshua
Carr, Edward Stewart, and Tonya Neff, should have known or knowingly participated in the
deceptive and fraudulent scheme, and disregarded their respective corporate entities and are
utilizing the entities to evade their contractual responsibilities, Mr. Graddy will ask the court to
pierce the corporate veil against all defendants.

        I trust that the foregoing is clear; however, should you have any questions do not hesitate
to contact me.

                                              Best Regards,

                                            ~R t HAN PHILLIPS, LLP

                                                              !

                                              Devin B. Phillips

Enclosures

cc:    Client.
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     EXHIBIT “BB”
                     Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 219 of 234




                                        MARQVIS AURBACH
                                           COFFING
                                                                                            DIRECT LINE: (702) 942-2 ! 36
                                                                                            DIRf'CT FAX: (702) 382-58 l 6
                                                                                            EMAIL: TCOFFING@\'iACLAW.COVI


ALBFRT Ci. MARQli!S
I'llILLIP S. AURBAC'H
                          December 17, 2020
AVECE M. ll!GBEF
TERRY A. COF-TING
SCOTT A. MARQUIS
JACK CHEN MIN JUAN        Via Email (dphillips@wnpllp.com)
CRAIG R. ANDERSO"i
TERRY A. MOORE
GERALDINE TOMIC'll
NICHOLAS D. CROSBY
TYE S. HANSITN
                          Devin B. Phillips, Esq.
DAVIDG. ALLEMAN           5887 Glenridge Drive NE, Ste. 275
CODY S. MOLNTEER
CHAD F. CLEMENT
                          Atlanta, GA 30328
C1m1sTIAN T. BALDt:cc1

JARLD M. MOSER
                          Re:     Kelvin Graddy, et al.
MICHAEi. D. MAUPIN                Our Client: Seed Consulting, LLC
KATlll.EE"i A. WILDE
JACKIE V. NICHOLS
                                  OurFileNo.13781-34
RACHELS. TYGRET
JORDAN B. PEEi.
.IAMLS A. BECKSTROM
                          Dear Mr. Phillips:
COLLIN M . .IA YNE
ALEXA\JDER K. CAI.AWAY            Please be advised that I represent Seed Consulting, LLC in relationship to a
SUSAN E. G!Ll.ESPll'
                          letter you wrote regarding your client Kelvin Graddy.                 I believe your
JOHi\ M. SACCO [RET. J    correspondence misstates the facts and refers to Seed as an affiliate of ProSource.
LANCE C. EARL
WILL.IAVI P. WRIGHT       Seed is an independent organization with no formal affiliation with any of the
BRIAN R. HARDY            parties you identify as defendants. In fact, your letter has scant facts relating to the
JEl'NIFER L. MICllECL.I
OF COUNSEL                conduct of Seed versus the conduct of ProSource and the other defendants you
                          name. My client provided a service for a fee that was undeniably accepted by your
                          clients. As part and parcel of the agreement between the parties, your clients
                          executed a contract with Seed that clearly calls for Nevada choice of law and
                          venue.

                                Absent additional facts, Seed wholeheartedly denies any allegation of any
                          wrongdoing your client may assert.

                                 Aside from the lack of liability, I should advise you that Seed will be
                          ceasing operations in the very near future. Additionally, you should be aware of
                          other lawsuits have been filed against Seed in Washington and in Nevada
                          purporting to be class actions. All of this is in the wake of the FTC's crackdown
                          on the educational seminar business space. I believe Seed would be successful in
                          defending not only the facts you allege but in the other pending lawsuits.
                          However, that will be a moot point if Seed is simply no longer in existence.




              10001 Park Run Drive • Las Vegas, NV 89145 • Phone 702.382.0711 • Fax 702.382.5816 • maclaw.com
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Devin B. Phillips, Esq.
December 17, 2020
Page 2



        Based upon the foregoing, Seed respectfully denies the allegations and the thrust of your
demand of your letter of December 1, 2020. Should you wish to discuss further, please do not
hesitate to call.

                                             Sincerely,




TAC:sm
cc: client (via email)
MACl3781-0!04232314 I 12/17/2020 1:23 PM
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    EXHIBIT “CC”
        Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 222 of 234


             MOFFITT LAW, LLC
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                 770 E. Main St., Box 378, Lehi, UT 84043 • (801) 613-2684 - jmoffitt@moffittlaw-utah.com
                                         Licensed to Practice in Utah and Georgia




                                               December 23 , 2020
Devin B. Phillips, Esq.
Weener Nathan Phillips, LLP
5887 Glenridge Dr. NE, Suite 275
Atlanta, GA 30328

ALSO SENT VIA EMAIL dphillips@wnpllp.com

        RE: Kelvin Graddy, Kavelle Fields, et al.

FOR SETTLEMENT DISCUSSIONS ONLY; NOT ADMISSIBLE AS EVIDENCE
Dear Mr. Philips:

         This letter is in response to your demand that was received on December 10, 2020. For
the purposes of this response and in an effort to resolve this matter without litigation, I represent
all parties identified in your draft complaint except Seed Consulting, LLC. for reasons discussed
below.

         Your letter and the accompanying draft complaint are filled with egregiously false
accusations and allegations leading to an outrageous demand. It is clear that your clients have
failed to inform you of all facts surrounding their purchases. Moreover, attempting to drag in
unrelated entities and individuals, such as Tonya Neff and various clothing companies, that have
nothing to do with Carnegie Academy ("Carnegie"), ProSource or REI Holdings, LLC ("REI"),
ostensibly in an effort to create leverage for settlement, goes beyond zealously advocating for
your client and is a violation of the Georgia Bar' s Lawyer' s Creed to offer fairness, integrity and
civility to opposing parties.
        First, Carnegie, ProSource and REI take customer complaints seriously. They strive to
provide excellent customer service and quality products. They also make it clear that the
programs and products they offer are not meant to be a "get-rich-quick" scheme and that work
must be done on the part of the customer in addition to any training that is provided to them.
They have hundreds, if not thousands, of successful customers that have done well with tax lien
and real property investments. When customers are dissatisfied, my clients will examine the facts
and determine where the problem lies and will work with customers to remedy the situation in a
manner that is fair under the circumstances. Not once in the first 15 months of their professional
relationship, did your clients ever request any sort of refund for any of the products or services
provided. Your claims that they are conducting an operation designed to defraud unsuspecting
victims are baseless and without legal or factual merit. None of these entities promises that
money will be made or the timing thereof. In fact, presenters and representatives at events are
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 223 of 234


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                                        Licensed to Practice in Utah and Georgia



instructed NOT to make such claims. If you have anything to the contrary in writing, please send
it for my review.
        Second, with respect to the services your clients purchased, Mr. Graddy purchased a Self-
Directed IRA limited liability package from Sprout IRA, LLC on January 29, 2019. He received
everything associated with purchase, evidenced in part by the existence of KVG Investments,
LLC. Not once has he complained about his purchase. None of your clients ever purchased
services from Sprout Financial, LLC, Sprout CF Fund, Inc. , or Sprout Residential Fund, LLC
(each entirely different entities, with different ownership and product/service offerings),

        Mr. Graddy and Ms. Fields purchased the Diamond Executive Package from ProSource
on or about February 10, 2019. Pursuant to this contract, they purchased the following products
and services:

       L       Six-Week Quick Start Webinar Course
       u.      Three-Day Advanced Tax Lien Tour
       m.      Two-Day Tax Lien Mastery Training
       iv.     Four-Day Real Estate Summit
       v.      Two-Day Wholesale Mastery Bootcamp
       VL      Two-Day Commercial, Cash Flow, and Multi-Unit Bootcamp
       VIL     One-Day Asset Protection Bootcamp
       vnL     Tax Lien & Real Estate Software - Property Edge Pro
       ix.     On-Demand Online Tax Lien Training
       x.      Turnkey Cash Flow Club Membership
       XL      Access to tax Lien & Real Estate Hotline
         The Webinar courses were completed by March 27, 2019. Your clients attended the Tax
Lien Tour in April 2019, for which Mr. Graddy gave a completely positive review (enclosed
herewith). According to our records one or both also attended the Wholesale Master Bootcamp
and the Commercial Cash Flow and Multi-Unit Bootcamp in early 2020. Due to COVID-19,
many live events that were scheduled for 2020 could not be held and customers, such as your
clients, were sent recordings of previously held events so they could still receive the information
they had purchased. If and when live events can be restarted, these customers will be invited to
attend.
       Additionally, your clients certainly had access to the software and the hotline.
ProSource's records show Mr. Graddy called the hotline on November 18, 2019 to discuss with a
ProSource representative a turnkey property he had found through the Property Edge Pro
Software.
        On or about March 15, 2019, Mr. Graddy and Ms. Fields purchased additional services to
obtain one-on-one mentoring sessions in tax lien and real estate, as well as access to tax lien and
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                                         Licensed to Practice in Utah and Georgia


property inventory. Between March 20, 2019, and November 8, 2019, they completed six (6) of
the ten (10) tax lien coaching sessions with Ms. Erin Bates. Similarly, between April 25, 2019
and September 30, 2109, they completed all 14 real estate coaching sessions with Mr. Karl
Benson. Following their last completed coaching session with Ms. Bates, your clients did not
reach out to her to schedule further appointments. She is ready, willing and able to complete the
remaining four (4) sessions with your clients.

        Third, your clients certainly had access to the tax lien and real property inventory. On at
least one occasion, he reached out to Ms. Bates to discuss turnkey properties and she presented
them with two properties she believed they may want to consider.

         They also purchased five (5) tax liens from REI Holdings, LLC. Through 4K Coin, LLC,
they purchased three tax liens in Charlotte County, Florida. Through KVG Investments, LLC,
they purchased 2 liens in Polk County, Florida. Contrary to your assertions that these tax liens
were "false,'' 4K Coin, LLC successfully foreclosed on two of the tax liens in Charlotte County
and now owns the land that it is free to develop. According to public information sources, homes
in this area are typically worth $200,000 - $300,000, depending on size and finish qualities. The
Polk County liens are still active and do not expire until 2024.

        Customers are expected to use the principles taught to them to do their own due diligence
on tax liens. Indeed, in their contracts, they represent that they have done such due diligence and
they are solely responsible for their purchases. If your clients were not satisfied with their
purchase, they could have canceled within the first three (3) days to receive a full refund and
within the first thirty (30) days to receive a partial refund.
        REI' s inventory, both tax liens and real property, constantly changes as inventory
portfolios are purchased and sold. Quite often, several customers attending events, especially
tour events, show interest in the same properties and tax liens and the most desirable inventory is
quickly sold. Neither Carnegie, ProSource, nor REI can control which customers buy which tax
liens or properties. Nevertheless, REI currently has hundreds of thousands of dollars ' worth of
inventory to select from. Your clients have the opportunity to continue to make purchases that he
believes will be of benefit to him.
       Fourth, if your clients have been unable to reach ProSource, it is not because ProSource
has ignored him. Our records show that Mr. Graddy spoke with one employee as recently as
April 2020. They also would have had the personal cell numbers of his coaches. Moreover, they
have the number for the ProSource "hotline" which is still in use by ProSource. If Mr. Graddy or
Ms Fields contacted ProSource and their calls or emails were not returned, it was simply a
miscommunication, very likely due to the effects COVID-19 have had on many small businesses
around the county, not a grand scheme to deprive your clients of the services ProSource
provides.
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        Fifth, pursuant to the contracts your clients signed, any action based on the purchase of
tax liens from REI or the Sprout IRA, LLC purchase must be filed in the State of Utah.
Similarly, any action based on the ProSource Diamond Elite Package must be brought as
arbitration and held in the State of Utah. Actions based on any of the contracts signed are
governed by the laws of the State of Utah.

         Sixth, Seed Consulting, LLC ("Seed") is a third-party vendor that sold its own products
and services at ProSource events. Seed does not have, nor has it ever had any common
ownership or management with REI, Carnegie, ProSource, any of the Sprout entities. Neither
those entities, nor anyone associated with any of those entities (or any of the other persons or
entities which you identified in your draft complaint) received any sort of compensation from
Seed for appearing at or selling its products at ProSource events. Seed has its own employees,
presenters, and contractors. It uses its own contracts with customers. Any monies financed to
customers are paid back directly to Seed. My clients have no control whether or not customers
engage with Seed or how any funds they obtain through Seed are used. Any claims your clients
may have against Seed must be dealt with separately.


        ProSource is happy to continue supporting your clients in their efforts to succeed in
purchasing tax liens and real property. It will honor its commitment to do so. Again, Ms. Bates
stands by ready to continue with their one-on-one coaching sessions. If they prefer a different
mentor, ProSource can reassign them to someone else. If your clients have specific questions
about events he attended or received recordings of, ProSource can have the appropriate person
contact him to answer such questions. They can always call the hotline numbers at: 844-311-
5553 (Real Estate support) and 844-474-4282 (Tax Lien support). Again, when live events are
continued, your clients will be invited to attend even though they already received the recordings
of the events.

        If your client does not want to continue with the ProSource programs, my clients are
willing to consider reasonable refund possibilities. Under the circumstances, based on the
services that have been provided and the fact that your clients have successfully obtained
properties through tax lien foreclosure, my clients do not believe your demand is reasonable.
        If your client chooses to go down the path of litigation, the complaint, as presently
constituted, will be met with a motion to dismiss the entire action for violation of the jurisdiction
and venue clauses, as well as dismissing the parties that have nothing to do with the transactions
that occurred, and dismissing any action based off Georgia law and not Utah law, which governs.
Furthermore, as appropriate, I will seek our attorney's fees and costs pursuant to OCGA 9-15-14
(or related statutes), for filing in the State of Georgia, naming the irrelevant parties and for any
other allegations or causes of action that are frivolous.
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                                        Licensed to Practice in Utah and Georgia



       While my clients prefer to resolve this matter amicably, they will pursue all available
remedies available to them in law and equity to protect their interests. Please let me know if you
would like to discuss a resolution to this matter. Thank you and I look forward to hearing from
you.

                                                                 Sincer~,          ~ .


                                                        Q anMoffit
Encl.
:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 227

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    EXHIBIT “DD”
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 229 of 234
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                                                                                                          SUITE275
                                                                                            ATLANTA, GEORGIA30328
                                                                                                  l (770) 392-9004
                                                                                                  F (770) 522-8004
                                                                                                      WWNLLPCOM
Devin B. Phillips                                                             dphillips@wnpllp.com

                                          January 25 , 2021



Via Certified Mail No.: 7020 2450 000189571160
Return Receipt Requested; and
Electronic Mail: jmoffit@;noffittlaw-utah.com

Johnathan C. Moffitt, Esq.
770 E. Main St., Box 378
Lehi, UT 83043

        Re:     Response to December 23, 2020 RE: Kelvin Graddy, Kavelle, Fields, et al.

Dear Mr. Moffitt:

        As you are aware, the undersigned serves as counsel to Kelvin Graddy and Kevelle Fields.
I am in receipt of your December 23 , 2020 response that you sent on behalf of your clients.

                    Named Pmiies and Applicability of Section 1962 of RICO

        In your response you indicated that neither Mr. Graddy or Ms. Fields purchased Services
from Sprout Financial, LLC, Sprout CF Fund, Inc. , or Sprout Residential Fund, LLC, and claim
that each are entirely different entities, with different ownership and product/service offerings.
You also state the complaint is an attempt to drag in unrelated entities and individuals "in an effort
to create leverage for settlement." From our research into the matter, there are facts that support
the named Defendants developed and implemented a fraudulent scheme to sell flawed and
defective products and services to unsuspecting and credulous consumers. The named Defendants,
including Sprout Financial, LLC, Sprout CF Fund, Inc., Sprout Residential Fund, LLC, Tonya
Neff, Silverstrand, LLC, and Seed Consulting, LLC, acted in concert, in dependent roles, outside
any typical business relationship and with a common purpose to defraud innocent, unsuspecting
consumers.

         The Defendants employed and organized ent1t1es and individuals to execute their
preplanned scheme to convince clients to purchase multiple levels of increasingly expensive
seminars, trainings, and related products under the guise of becoming successful real estate
investors. The Defendants and their co-conspirators used the mail and/or wires to develop,
promote, sell, and implement the real estate and tax lien scheme, which was known to be flawed.
The named Defendants, acting dependently and in conce1i within a network of associated limited
liability companies, corporations, and individuals engaged in a well-orchestrated scheme to
defraud and injure Mr. Graddy, Ms. Fields and other Georgia consumers.




                             WEENERNATHAN PHILLIPS
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 230 of 234
Johnathan C. Moffitt, Esq.
January 25, 2021
Page 2

         18 U.S.C. § 1965(d) authorizes national service of process, including sununons, and thus
personal jurisdiction over any RICO defendant if served in a judicial district in which the defendant
"resides, is found, has an agent, or transacts his affairs. " Venue for these defendants must be
satisfied by the requirements of the general venue statute, 28 U.S .C. § 1391 , or 18 U.S.C. §
1965(a). Once a RICO defendant is within a court ' s jurisdiction and venue, § 1965(b) allows a
court to serve process on, and be a proper venue for, any other RICO defendant if the charges
against the additional defendants are c01mected to the case against the first defendant and the case
against the first defendant cannot be fully adjudicated without the presence of the additional
defendants.

        As you noted, Carnegie Academy ("Carnegie"), ProSource, and REI Holdings, LLC
("REI") purposefully availed themselves to the laws and benefits of Georgia and therefore pursuant
to the RICO statute, the additional co-defendants c01mected to the case and necessary for the full
adjudication of this matter may be brought before the Georgia court.

               Applicability of the Georgia Long Arm-Statute O.C.G.A. § 9-10-91 .

         Georgia' s long-arm statute, O.C.G.A. § 9-10-91 , allows a plaintiff to obtain personal
jurisdiction in Georgia over a non-resident defendant that lacks a permanent Georgia presence.
The long-arm statute applies where the plaintiff can show that his claim relates directly to the
defendant' s transaction of business with Georgia or where the defendant conm1its a tortious injury
in Georgia caused by an act or omission out-side of Georgia if the to1i-feasor regularly does or
solicits business, or engages in any other persistent course of conduct, or derives substantial
revenue from goods used or consumed or services rendered in Georgia. The defendants have
directed their activities at residents of Georgia, including Mr. Graddy and Ms. Fields, as well as
other Georgia consumers, and the injuries suffered by Mr. Graddy and Ms. Fields arise out of and
relate to your clients ' activities.

                                      Products and Services

        A factual dispute exists as to which of the advertised products and services of the Diamond
Executive Package that Mr. Graddy and Ms. Fields received, most notably, the Tax Lien & Real
Estate Software: TaxLienCloud.com & Property Edge Pro , which was adve1iised as providing
access to tax liens and turnkey properties, but merely list available properties and nothing else.
Additionally, Mr. Graddy and Ms. Fields no longer have access to these programs, as well as to
the Tax Lien & Real Estate Hotline as their phone calls and emails no longer will go through,
despite being advertised as coming with two (2) years of live support. Indeed, the numbers you
provided in your letter, 844-311-5553 (Real Estate support) and 844-474-4282 (Tax Lien support)
contacts an eye care business while the other plays a prerecorded general response indicating that
no support is available at this time, to leave contact information and someone will be in contact,
respectively.

       Mr. Graddy and Ms. Fields did not receive the full benefit of the lien coaching sessions
before Ms. Bates became umesponsive to phone calls and her email came back as undeliverable.
       Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 231 of 234
Jolmathan C. Moffitt, Esq.
January 25 , 2021
Page 3

My clients also did not receive the full benefit of the real estate coaching sessions with Karl Benson
before Mr. Benson dropped out of contact and became unreachable.

        Carnegie, Prosource, and REI may claim that they take customer complaints very serious
and strive to provide excellent customer service and quality products, it would appear that each
provide a partial benefit to their consumers, providing some of the promised services, training, and
products before disappearing leaving their customers holding high amounts of credit card debt
without the supp01i network they were promised, breaching their "Commitment Guarantee" to
work with and help Mr. Graddy and Ms. Fields "until [they] have earned at least 1OQ% of [their]
investment" in the program.

                                Tax Liens and Foreclosed Properties

        In addition to the failure to provide the fully training, products and other services, the
Defendants have engaged in deceptive and fraudulent practices as demonstrated by the sale of the
tax liens to Mr. Graddy and Ms. Fields LLC ' s 4K Coin, LLC, and KVG Investments, LLC,
primarily the two (2) liens in Polk County, Florida.

       First and foremost, your clients made representations to Mr. Graddy and Ms. Fields that if
they were unsatisfied with the purchase of the tax liens, the liens would be purchased back for the
full amount paid.

        Additionally, while 4K Coin, LLC successfully foreclosed on two of the tax liens in
Charlotte County, pursuant to Fla Stat. §§ 95 .191 , 95 .192, the properties are unmarketable for four .
years. In order for the properties to be sold in the future, Mr. Graddy and Ms. Fields must continue
to not only pay the interest on the credit cards used to purchase the liens, despite the statements
made at the seminars and during the provided training that the prope1iies could be sold before any
interest accrued, Mr. Graddy and Ms. Fields are now required to pay the prope1iy taxes until the
properties become marketable, effectively rendering the prope1iies worthless.

              Arbitration Agreements, Choice of Law, and Forum Selection Clauses

         We have amended our Complaint to solely pursue the statutory claims available to my
clients. Such claims are not governed by the contractual agreements between the parties. The
racketeering activity occurred in the State of Georgia. If we are not able to resolve this matter in
sh01i order, we will move forward with filing the Complaint in the State of Georgia.

                                               Conclusion

          With the · above said, your letter indicates that your clients prefer to resolve this matter
amicably, a sentiment that Mr. Graddy and Ms. Fields share. Mr. and Graddy and Ms. Fields have
made their demand clear, but I caimot advise them to negotiate against themselves. My clients are
willing to fo1~bear filing the Complaint until Monday, February 1, 2021 at 5 :00 PM Eastern Time.
Should your clients ignore this opportunity to resolve the case or if the offer does not reflect my
clients ' actual damages, my clients have authorized me to file suit.
      Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 232 of 234
Johnathan C. Moffitt, Esq.
January 25 , 2021
Page 4

       I trust the foregoing is clear, should you have any questions do not hesitate to contact me.

                                             Best Regards,

                                             WEENER NATHAN PHILLIPSLLP


                                          ~'
                                             Devin B. Phillips

cc:    Clients.
Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 233 of 234




     EXHIBIT “EE”
                Case 1:21-cv-00639-SDG Document 1 Filed 02/12/21 Page 234 of 234




From: jmoffitt@moffittlaw‐utah.com <jmoffitt@moffittlaw‐utah.com>
Sent: Wednesday, January 27, 2021 12:44 PM
To: Devin Phillips <dphillips@wnpllp.com>
Subject: RE: Kelvin Graddy, Kavelle Fields, et al.

Mr. Phillips:

Thank you for your response. I would like to ask for an extension for the time to respond, as my clients are working to
compile some information that I feel would be dispositive to the potential claims your clients intend to assert and would
help provide a better perspective for any settlement discussions. Would you be amenable to extending your deadline
until 5:00 p.m. eastern time on Monday, February 8, 2021? Please let me know as soon as possible. Thank you.

Best Regards,

Jonathan Moffitt
770 East Main Street #378
Lehi UT 84043
801-613-2684



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